Case 1:22-cv-01097-JPH-MG   Document 1   Filed 05/27/22   Page 1 of 208 PageID #: 1




                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF INDIANA
                        INDIANAPOLIS DIVISION

  KAYLYN APPLEGATE, ROBIN BANKS,
  KRISTINA BARGA, CINDY BISHOP,
  DONNA JO BOWLES, JOSIE BROWN,
  DONNA BRYANT, MOLLY BUEHLER,
  ROBIN BURNS, SAMANTHA CASSIDY,
  ROBERT CLEMENTS, JENNIFER
  COLLINS, RHONDA DAVIS, CHAD
  DENNEY, PATRICIA DRONE-
  MCCULLOUGH, ERIKA FOWLER,
  PATRICK FOWLER, DR. JOSHUA
  FREDERICK, RICHARD FULKERSON,
  MARZENA GASLAWSKI, DONNA
  GRANT, TRACEY HARBAUGH, BRENDA
  HARTMAN, KAREN HERSH, GARY
  HIGGINBOTHAM, MATT HORNE,
  SARAH HORNER, BRANDY KEHRT,
  HEATHER KING, MADISON KUHN,
  MICHELLE LANDIS, CECILIA LESCH,
  TERESA LESCH, JENNIFER MAUPIN,
  JOSHUA MILLER, TIFFANY MILLER,
  BETHANY MONTE, MONICA NALLEY,
  STEVEN OHLHEISER, SUSANA          Cause No. 1:22-cv-1097
  OSBORNE, CHRIS PARR, JEMAEL
  PARTLOW, AMANDA PISANO, ASHLEY
  PLOUGHE, BARBARA PLUHAR,
  MONICA POOLE, LEISA RANDALL,
  TERESA RIDLEN, BONNIE RIPBERGER,
  ROCHELLE ROTT, ROBERT RUNGE,
  TINA SNEED, DANIELLA STAFFORD,
  LISA STULTS, KERI STULTZ, DELLA
  TAYLOR, AMANDA THIERGARTNER,
  MILICA VRANIC, LISA WEBB, ALAYNAH
  WEISEND, VICTORIA WILLOUR, JODI
  WOLFENBARGER, ANDREW
  ZENTHOFER, AND JUSTON
  ZENTHOFER on behalf of Themselves
  and all those similarly situated,

             Plaintiffs,
Case 1:22-cv-01097-JPH-MG         Document 1        Filed 05/27/22   Page 2 of 208 PageID #: 2




         vs.

  ST. VINCENT HEALTH, INC.,
  ST. JOSEPH HOSPITAL & HEALTH
  CENTER, INC., ST. MARY’S HEALTH,
  INC., ST. MARY’S MEDICAL GROUP,
  LLC, ST. MARY’S WARRICK HOSPITAL,
  INC., ST. VINCENT ANDERSON
  REGIONAL HOSPITAL, INC.,
  ST. VINCENT CARMEL HOSPITAL, INC.,
  ST. VINCENT DUNN HOSPITAL, INC.,
  ST. VINCENT FISHERS HOSPITAL, INC.,
  ST. VINCENT HEART CENTER OF
  INDIANA, LLC, ST. VINCENT HOSPITAL
  AND HEALTH CARE CENTER, INC.,
  ST. VINCENT HOSPITAL AND HEALTH
  CARE CENTER, INC. D/B/A WILLIAM K.
  NASSER, MD, HEALTHCARE
  EDUCATION AND SIMULATION
  CENTER, ST. VINCENT HOSPITAL AND
  HEALTH CARE CENTER, INC. D/B/A
  ASCENSION HEALTH ST. VINCENT
  STRESS CENTER, ST. VINCENT
  HOSPITAL AND HEALTH CARE
  CENTER, INC. D/B/A ASCENSION
  HEALTH ST. VINCENT WOMEN’S
  HEALTH BOUTIQUE, ST. VINCENT
  MEDICAL GROUP, INC., ST. VINCENT
  SETON SPECIALTY HOSPITAL, INC.,
  ST. VINCENT WILLIAMSPORT
  HOSPITAL, INC., ASCENSION HEALTH,
  INC., ASCENSION HEALTH-IS, INC.,
  ASCENSION HEALTH MINISTRY
  SERVICE CENTER, LLC; AND MEDXCEL
  FACILITIES MANAGEMENT, LLC.

                Defendants.

                CLASS ACTION COMPLAINT FOR DAMAGES AND
                        DEMAND FOR JURY TRIAL 1


 1 As this is a related case, Plaintiffs are utilizing many of the same Exhibits previously

 submitted in Paul Halczenko, et al. v. Ascension Health, Inc., and St. Vincent Hospital and


                                                2
Case 1:22-cv-01097-JPH-MG        Document 1       Filed 05/27/22   Page 3 of 208 PageID #: 3




   “Title VII does not contemplate asking employees to sacrifice their jobs to observe
                               their religious practices.”

     Adeyeye v. Heartland Sweeteners, LLC, 721 F.3d 444, 456 (7th Cir. 2013)

                                    INTRODUCTION

        1.     This is a class action brought under Title VII of the Civil Rights Act of

 1964, (Pub. L. 88-352), codified at 42 U.S.C. § 2000e et seq. (“Title VII”) to remedy a

 pattern of religious discrimination by the nation’s second largest hospital operator,

 Ascension Health, Inc. (“Ascension Health”) against employees who requested

 religious accommodations from Ascension Health’s mandate that its employees and

 the employees of Ascension Health’s affiliates receive the COVID-19 vaccine.

        2.     Like many hospital operators, Ascension Health announced in

 July 2021 that it intended to implement a COVID-19 vaccination mandate for its

 employees.

        3.     Unlike other hospital operators, however, and contrary to its

 obligations under Title VII, Ascension Health established a religious exemption




 Health Care Center, Inc., d/b/a Ascension Health St. Vincent Hospital, Cause No. 1:21-cv-
 2816-JPH-MG, specifically those exhibits identified in the Appendix of Exhibits [Dkt. 9 at
 2-8], Supplemental Appendix of Exhibits [Dkt. 38 at 1-3], and the Second Supplemental
 Appendix of Exhibits [Dkt. 48 at 1-2]. Moreover, Plaintiffs have utilized the same
 numbering convention of those Exhibits found in the Appendix of Exhibits [Dkt. 9 at 2-8],
 Supplemental Appendix of Exhibits [Dkt. 38 at 1-3]-, and the Second Supplemental
 Appendix of Exhibits [Dkt. 48 at 1-2]. For any new Exhibits, Plaintiffs have continued with
 the numbering sequence of those Exhibits found in the Second Supplemental Appendix of
 Exhibits [Dkt. 48 at 2], commencing with Exhibit 121.

 Plaintiffs’ Exhibits referenced in this Complaint are submitted in the contemporaneously
 filed Appendix and cited to herein as Appendix Number and Page Number (App. # at
 _____).


                                              3
Case 1:22-cv-01097-JPH-MG        Document 1       Filed 05/27/22   Page 4 of 208 PageID #: 4




 review process which failed to individually and properly assess each application for

 religious exemption.

       4.        Instead, Ascension Health established a coercive process calculated to

 force healthcare workers and staff to abandon their religious objections to the

 COVID-19 vaccination and receive the vaccination against their will.

       5.        Ascension Health’s pressure tactics involved delaying final decisions on

 requests for religious exemptions and denying applications for exemption within

 time frames that gave applicants little time after denial to consider options other

 than vaccination, among other things.

       6.        Ascension Health’s review process ran many employees to within a

 week or two of Ascension Health’s arbitrary deadline for vaccination before

 informing them their application for religious exemption had been finally and

 conclusively denied.

       7.        In early November when Ascension Health informed most employees

 requesting religious exemptions that their requests for exemptions from Ascension

 Health’s vaccine mandate were finally denied, that they would be suspended

 without pay on November 12, 2021, and would be considered to have “voluntarily

 resigned” (i.e., they would be terminated) on January 4, 2022, if still unvaccinated

 by that date.

       8.        Ascension Health’s actions were calculated to, and did, put enormous

 pressure on thousands of healthcare workers to abandon their sincerely held

 religious beliefs and receive a COVID-19 vaccine.




                                              4
Case 1:22-cv-01097-JPH-MG        Document 1        Filed 05/27/22   Page 5 of 208 PageID #: 5




        9.     In many of these cases, Ascension Health’s sole explanation for its

 denial of religious exemptions was a single sentence emailed to each requester:

        10.    Due to the nature of your role, approving this accommodation poses

 undue hardship to the organization due to increased risk to the workplace and

 patient safety. 2

        11.    This robotic explanation given by Ascension Health to applicants for

 religious exemption was pretextual and symptomatic of Ascension Health’s failure

 to consider reasonable accommodations or to properly assess and establish “undue

 hardship” violated Title VII.

        12.    Interestingly, even employees in fully remote positions were simply

 informed:

               Your Religious Exemption for Covid Vaccine has been denied.
               Your exemption request will be reported to Associate and
               Occupational Health as denied, and you will be expected to
               comply with the vaccination requirement by November 12, 2021. 3

        13.    Ascension Health’s actions left Plaintiffs with the extremely difficult

 (and what many would ultimately learn had been a contrived, false, and




 2 See, e.g., 9.28.2021 Email from Service Desk <ascensionprod@service-now.com to

 KJBlanto@ascension.org; Amanda.Thiergartner@ascension.org, Subject: Religious
 Exemption for COVID Vaccine Submitted (App. 122 at 1) (Indiana). (See also Picchiottino
 Decl. ¶ 36, (App. 81 at 8) (Wisconsin); Brezillac Aff. ¶ 36, (App. 77 at 7) (Oklahoma);
 “Catholic Hospital Rejects 650 Workers’ Religious Exemptions from the COVID Vaccine
 Mandate,” Christianity Daily (Oct. 13, 2021) (App. 25 at 1-9) (reflecting Michigan
 associates were given the same justification for denials of their exemptions as associates in
 Indiana, Oklahoma and Wisconsin).
 3 See, e.g., 11.2. 2021 and 11.9.2021 Emails from Service Desk <ascensionprod@service-

 now.com to stuart.cryder@ascension.org, Brenda.Hartman@ascension.org, Subject: The
 Religious Exemption for COVID Vaccine request is denied for Hartman, Brenda Kay
 Submitted (App. 123 at 1 and App. 124 at 1) (Indiana).


                                               5
Case 1:22-cv-01097-JPH-MG        Document 1       Filed 05/27/22   Page 6 of 208 PageID #: 6




 duplicitous) choice of either taking the COVID-19 vaccine, at the expense of their

 religious beliefs or losing their livelihoods.

        14.    In doing so, Ascension Health violated Title VII by, among other

 things: failing to provide reasonable accommodations, refusing to follow federal law

 in assessing religious exemptions, and suspending without pay thousands of

 employees whose religious convictions would not permit them to receive the

 COVID-19 vaccines.

        15.    On November 12, 2021, Plaintiffs and numerous similarly situated

 St. Vincent Health, Inc. (“St. Vincent Health”) employees and other Ascension

 Health healthcare workers and staff were suspended without pay in violation of

 Title VII merely for exercising their Title VII right to seek religious exemptions to

 Ascension Health’s vaccine mandate. All employees denied religious exemptions and

 suspended were told they would be terminated on January 4, 2022, if they did not

 submit to vaccination before then.

        16.    Ascension Health’s and St. Vincent Health’s violations of Title VII

 caused healthcare workers and staff to face the stressful and discouraging prospect

 of immediate loss of income just before the holiday season and imminent loss of

 employment at the outset of the new year.

        17.    Ascension Health maintained its illegal, coercive, suspension without

 pay program for more than a month from November 12, 2021, through at least

 December 17, 2021, during which time Plaintiffs and other St. Vincent Health and




                                              6
Case 1:22-cv-01097-JPH-MG      Document 1       Filed 05/27/22   Page 7 of 208 PageID #: 7




 Ascension Health healthcare workers and staff who had sought religious

 exemptions were not permitted to work and were not paid.

       18.    During this time, Ascension Health faced legal pushback as hundreds

 of healthcare workers filed Equal Employment Opportunity Commission (EEOC)

 charges of religious discrimination against Ascension Health and St. Vincent

 Health. Also, during November a number of lawsuits were filed against Ascension

 Health around the country, including the lawsuit filed in Dr. Paul Halczenko, et al.

 v. Ascension Health, Inc., and St. Vincent Hospital and Health Care Center, Inc.,

 d/b/a Ascension Health St. Vincent Hospital, Cause No. 1:21-cv-2816-JPH-MG.

       19.    Overreaching vaccine mandates such as Ascension Health’s mandate

 also induced legislative initiatives in several states which sought to equip

 employees with additional protections against discriminatory conduct.

       20.    Additionally, Ascension Health and St. Vincent Health faced shortages

 of healthcare workers and staff in many locations as Ascension Health’s and

 St. Vincent Health’s failure to follow federal employment law and their arbitrary

 suspensions of employees seeking religious exemptions resulted in putting patients

 at risk and diminishing the quality of healthcare Ascension Health was able to

 provide.

       21.    Ascension Health and St. Vincent’s religious exemption process created

 a crisis of conscience causing those denied exemptions to unfairly and improperly

 choose between following their faith and losing their job.




                                            7
Case 1:22-cv-01097-JPH-MG       Document 1       Filed 05/27/22   Page 8 of 208 PageID #: 8




       22.    Under pressure of loss of income and impending loss of his job,

 Plaintiff Patrick Fowler, who had sought religious exemption relented and received

 the vaccination against his conscience. Similarly, Plaintiff Robert Runge, who had

 sought religious exemption relented and received the first dose of the vaccination

 against his conscience.

       23.    However, Ascension Health’s unlawful actions and pressure tactics

 were ultimately not enough to force a sufficient number of those with religious

 objections to Ascension Health’s vaccine mandate to capitulate and be vaccinated

 against their religious beliefs.

       24.    Consequently, Ascension Health recognized that it would need to

 reverse course on its widespread and unlawful refusal to properly assess religious

 exemption requests and its suspensions of many employees who had sought them.

       25.    Beginning on or about December 17, 2021, Ascension Health and

 St. Vincent Health began informing many previously suspended unvaccinated

 employees whose religious exemptions had been denied that they could return to

 work with no restrictions beyond those imposed on vaccinated employees.

       26.    Nevertheless, not all employees denied a religious exemption and

 suspended without pay were brought back in December. Some were not brought

 back until later. Still others, were never brought back.

       27.    The fact that hundreds of St. Vincent Health employees and thousands

 of previously suspended Ascension Health healthcare workers and staff were

 contacted and told that they could return to work with no additional restrictions




                                             8
Case 1:22-cv-01097-JPH-MG      Document 1       Filed 05/27/22   Page 9 of 208 PageID #: 9




 just over a month after they were suspended without pay for not being vaccinated

 demonstrates that Ascension Health’s robotic claim that these individuals were

 denied religious exemptions due to “risk” to the workplace and others was false and

 pretextual.

       28.     Ascension Health has identified no change in “risk” related factors that

 supported its decision to bring back those whose religious exemptions had

 previously been allegedly denied solely on the basis of increased risk.

       29.     Ultimately, while many Plaintiffs in this case were called back to work,

 Ascension Health has refused to issue backpay to each of these Plaintiffs, and

 others similarly situated, for the approximately six-to-fifteen week period

 (depending on each individual’s precise circumstances regarding a return to work)

 that they were suspended without pay.

       30.     Although many Plaintiffs were recalled to work, the below four (4)

 Plaintiffs with written contracts were not:

               (a)   Adult-Gerontology Acute Care Nurse Practitioner-Board
                     Certified (“AGACNP-BC”) Jennifer Maupin;

               (b)   Certified Nurse Midwife (“CNM”) Bethany Monte;

               (c)   Nurse Practitioner (“NP”) Daniella Stafford; and

               (d)   Advanced Nurse Practitioner (“ANP”) Alaynah Weisend.

       31.     AGACNP-BC Maupin, CNM Monte, NP Stafford, and ANP Weisend

 each received a letter either via certified mail or hand delivery regarding their

 employment status at St. Vincent Health.




                                            9
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22    Page 10 of 208 PageID #:
                                           10



       32.    On December 20, 2021, AGACNP-BC Maupin received a letter via

 certified mail and electronic mail from Terry Metzger, Chief Operating Officer,

 Ascension Health St. Vincent. Mr. Metzger’s letter stated that

 AGACNP-BC Maupin’s employment with St. Vincent Health was being “terminated

 effective December 20, 2021.”

       33.    Thus, St. Vincent Health and St. Vincent-Indianapolis claims it was

 entitled to place AGACNP-BC Maupin on unpaid suspension on November 12, 2021,

 but not terminate her employment until December 20, 2021, requiring

 AGACNP-BC Maupin to serve a thirty-nine (39) day period of unpaid suspension

 before terminating her employment and purporting to extend her covenant not to

 compete until one year after the December 20, 2021 termination date set forth in

 Mr. Metzger’s letter.

       34.    On January 21, 2022, CNM Monte received a letter via certified mail

 from Mr. Metzger. Mr. Metzger’s letter stated that Monte’s employment with

 St. Vincent Health was being “terminated effective January 22, 2022.”

       35.    Thus, St. Vincent Health and St. Vincent Medical Group claims it was

 entitled to place CNM Monte on unpaid suspension on November 12, 2021, but not

 terminate her employment until January 22, 2022, requiring CNM Monte to serve a

 seventy-two (72) day period of unpaid suspension before terminating her and

 purporting to extend her covenant not to compete until one year after the

 January 22, 2022 termination date set forth in Mr. Metzger’s letter.




                                          10
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22        Page 11 of 208 PageID #:
                                          11



       36.     On November 19, 2021, NP Stafford received a letter via certified mail

 and electronic email from Mr. Metzger stating that NP Stafford was in breach of her

 employment agreement with St. Vincent Health and St. Vincent Medical Group.

 Specifically, Mr. Metzger’s letter stated that NP Stafford must receive and provide

 proof of the initial dose of either the (i) Pfizer or Moderna vaccines within ten (10)

 days of the letter and the second dose within the recommended timeframe or (ii) a

 single dose of the Johnson & Johnson vaccine within ten (10) days of the letter, or

 her “employment w[ould] be terminated for cause as provided in [her] Agreement.”

       37.     On November 29, 2021, NP Stafford urged St. Vincent Health and

 St. Vincent Medical Group to reconsider her religious exemption and allow her to

 continue to serve the community.

       38.     Over two hundred days later, NP Stafford has yet to be provided any

 written response to her request to reconsider her request for religious exemption.

 On or about December 21, 2021, NP Stafford sought to ascertain information as to

 whether she would be permitted to return to work and was told in a telephone call

 to Human Resources that she was allegedly terminated on December 20, 2021.

 However, NP Stafford has received no written notice of termination. She has not

 been paid nor permitted to work though her employment contract, despite not being

 terminated.

       39.     Additionally, while ANP Weisend was temporarily recalled on

 December 26, 2021, nineteen (19) days later, on January 14, 2022, she was

 terminated. ANP Weisend was hand delivered a letter from Brad McNabb, Chief




                                            11
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22      Page 12 of 208 PageID #:
                                          12



 Operating Officer, Ascension Health Medical Group stating that “Ascension Health

 Medical Group St. Vincent Health has made the difficult decision to eliminate your

 position due to a reduction in force affecting your department. This position

 elimination within your department is expected to be permanent and will result in

 the termination of your employment.”

       40.      In Mr. McNabb’s letter, he stated that ANP Weisend’s last date of

 work would be January 21, 2022. However, her effective termination date would not

 be until eighty-three (83) days later on April 14, 2022.

       41.      Thus, St. Vincent Health and the St. Vincent Medical Group claims

 that it was entitled to place ANP Weisend on unpaid suspension twice. The first

 instance being on November 12, 2021 then again on January 21, 2022, requiring

 ANP Weisend to serve a total unpaid suspension of 183 days before terminating her

 and extending her covenant not to compete until one year after the April 14, 2022

 termination date set forth in Mr. McNabb’s letter. On information and belief, there

 was no reduction in force and this was not an accurate reason for ANP Weisend’s

 termination.

       42.      Neither St. Vincent Health nor Ascension Health has provided any

 explanation for the disparate treatment of AGACNP-BC Maupin, CNM Monte,

 NP Stafford or ANP Weisend. There is no apparent explanation for this disparate

 treatment other than retaliation against AGACNP-BC Maupin, CNM Monte,

 NP Stafford, and ANP Weisend for asserting their Title VII rights.




                                           12
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22         Page 13 of 208 PageID #:
                                          13



       43.     AGACNP-BC Maupin, CNM Monte, NP Stafford, and ANP Weisend

 have not been compensated for the wages lost during their period of unpaid

 suspension.

       44.     In each case where St. Vincent terminated an employee’s written

 contract for not submitting to Ascension Health’s demand that they be vaccinated,

 St. Vincent vindictively sought to prevent the employee from being employed

 elsewhere by seeking to enforce the employee’s covenant not to compete, despite

 having little to no legitimate business interest in enforcing the covenant not to

 compete.

       45.     On information and belief, unvaccinated individuals who sought

 religious exemptions and have been terminated by Ascension Health and

 St. Vincent Health have been replaced by vaccinated individuals.

       46.     In each case, the terminated employee was meeting the legitimate

 performance expectations of their employer and the reason for their termination

 was their application for religious exemption.

               BRIEF OVERVIEW OF PLAINTIFFS’ KEY CLAIMS
                   AND CONTENTIONS UNDER TITLE VII
       47.     The development of the COVID-19 vaccines was a groundbreaking

 scientific, medical, and logistical wonder. It is therefore a tragic irony that one of

 the groundbreaking scientific breakthroughs of all time was aggressively relied

 upon by Ascension Health–one of the nation’s largest healthcare employers–to

 justify a sweeping disregard of long-standing statutory commands regarding how




                                            13
Case 1:22-cv-01097-JPH-MG         Document 1 Filed 05/27/22         Page 14 of 208 PageID #:
                                            14



 employers are to balance health and safety concerns with the rights of their

 employees.

        48.    Simply, under Title VII if an employee seeks a religious

 accommodation American employers cannot summarily impose employer-preferred

 workplace rules which abridge an employee’s sincerely held religious beliefs without

 genuine and good-faith dialogue and consideration of proposed accommodations and

 objective evidence.

        49.    Here, Ascension Health upended Title VII’s requirements and sought

 to capitalize on the COVID-19 vaccines’ existence as justification to run rough-shod

 over its legal obligations and summarily suspend without pay, and threaten with

 termination, scores of employees.

        50.    The paucity of evidence and reasoning Ascension Health has offered to

 justify trammeling its employees’ religious rights is appalling. Ascension Health,

 like many healthcare employers, hailed its employees as “healthcare heroes” 4

 throughout the early pandemic period because they risked their lives to fill a critical

 need; yet overnight they became expendable without Ascension Health providing

 them any explanation, data or metrics that could justify such an about-face.

        51.    Ascension Health’s one-sentence justification, for most, that granting

 religious objections to the COVID-19 vaccines would create “increased risk to the

 workplace and patient safety” is pretextual, unsupported by Plaintiffs’ experiences,


 4 See, e.g., Ascension TV commercial entitled, “Healthcare Heroes,” available at:

 https://www.ispot.tv/ad/nAo4/ascension-health-healthcare-heroes; Ascension produced video
 describing its employees as “Healthcare Heroes.” available at:
 https://healthcare.ascension.org/blog/2020/04/COVID-1919-healthcare-heroes.


                                              14
Case 1:22-cv-01097-JPH-MG         Document 1 Filed 05/27/22         Page 15 of 208 PageID #:
                                            15



 and is believed to be inconsistent with Ascension Health’s own experience and

 whatever data it may have from its healthcare facilities over the course of the

 pandemic (which Ascension Health has unfortunately not shared with its

 employees).

        52.    Indeed, the pretextual nature of Ascension Health’s many religious

 exemption denials was laid bare when it recalled hundreds of unvaccinated

 employees to patient-facing positions in December 2021.

        53.    For some plaintiffs, no justification for denial of their religious

 exemption request was provided; Ascension Health merely denied it and demanded

 compliance with the vaccination requirement by November 12, 2021.

        54.    The idea that employees seeking religious accommodation may be

 suspended or terminated merely upon a claim of “increased risk” is flawed as a

 matter of law.

        55.    Title VII does not permit an employer to deny a requested

 accommodation because of “increased risk.” Rather, under Title VII the employer’s

 burden is to show “undue hardship”—and merely “increased” does not without more

 equal “undue.” See, e.g., Adeyeye v. Heartland Sweeteners, LLC, 721 F.3d 444, 455

 (7th Cir. 2013) (“Title VII requires proof . . .of hardship, and ‘undue’ hardship at

 that.”); Anderson v. Gen. Dynamics Convair Aerospace Div., 589 F.2d 397, 402 (9th

 Cir. 1978) (“Undue hardship means something greater than hardship.”). 5




 5 To be clear, Plaintiffs do not concede they posed any increased risk whatsoever.




                                              15
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22       Page 16 of 208 PageID #:
                                          16



       56.     Thus, merely incanting the abstract notion of “increased risk” is not

 equivalent to showing “undue” hardship and was therefore insufficient to satisfy

 Ascension Health’s statutory responsibility to identify undue hardship.

       57.     Ascension Health’s reliance on “increased risk” was an attempt to

 import a wholly new legal standard, not countenanced by any statute, rule,

 regulation or case, to justify summarily discharging employees seeking religious

 exemptions.

       58.     Ascension Health has not even bothered to show that accommodating

 Plaintiffs would have imposed an undue hardship.

       59.     The law sensibly imposes a qualitative/quantitative, evidence-based

 standard for assessing undue hardship. See, e.g., Nottelson v. Smith Steel Workers

 D.A.L.U. 19806, AFL-CIO, 643 F.2d 445, 452 (7th Cir. 1981) (rejecting “conjectural”

 undue hardship claim); Brown v. Gen. Motors Corp., 601 F.2d 956, 961 (8th Cir.

 1979) (speculation not sufficient to discharge burden to prove undue hardship);

 Anderson, 589 F.2d at 402 (“Undue hardship cannot be proved by assumptions nor

 by opinions based on hypothetical facts.”); Drazewski v. Waukegan Dev. Ctr., 651 F.

 Supp. 754, 758 (N.D. Ill. 1986) (speculation does not meet undue hardship

 standard).

       60.     Furthermore, Ascension Health’s own policies, practices, experience,

 publicly available government data, and other available information demonstrate

 that Ascension Health cannot even meet the exceedingly low (and unlawful) bar—

 that is the low bar of establishing increased risk—it attempted to set for itself.




                                           16
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22         Page 17 of 208 PageID #:
                                          17



       61.    Moreover, numerous additional inconsistencies suggest that Ascension

 Health’s reliance on alleged “increased risk” was pretextual and not the true reason

 for its’ initial wholesale denial of religious exemptions.

       62.    First, as explained above, Ascension Health’s and St. Vincent Health’s

 actions of calling thousands of unvaccinated employees back to work who had been

 suspended without pay for not receiving the vaccine just thirty days or so prior

 without imposing any additional restrictions on their return to work demonstrates

 that "risk” was not the true basis for the massive number of religious exemption

 denials.

       63.    Second, Ascension Health’s own documents are inconsistent with its

 claim. A Question and Answer document circulated by Ascension Health states that

 if an individual receives a religious or medical exemption, Ascension Health

 “follow[s] [its] normal accommodations process and the exempted associate [is] able

 to care for patients but . . . need[s] to wear required personal protective equipment

 (PPE) at all times while on Ascension Health property.” 6

       64.    If Ascension Health had evidence that unvaccinated individuals

 increased risk to patients sufficient to satisfy the undue hardship standard it would

 not have permitted unvaccinated employees to continue to engage in patient care.

       65.    Third, in practice Ascension Health approved medical exemptions from

 its vaccine mandate and allowed unvaccinated employees with medical exemptions

 to continue to provide patient care.


 6 See Questions and Answers about Ascension’s Associate COVID--19 Vaccination Policy

 ((Ascension Vaccination Q&A”), at 5 (added August 12, 2021) (App. 12 at 1-13).


                                            17
Case 1:22-cv-01097-JPH-MG           Document 1 Filed 05/27/22       Page 18 of 208 PageID #:
                                              18



        66.        Ascension Health’s illogical position was that those giving a secular

 (e.g., medical) reason for not being vaccinated can provide patient care but it is too

 risky for individuals with a religious reason to provide such care.

        67.        Fourth, Ascension Health had a twenty (20) month track record of

 dealing with the COVID-19 pandemic in its healthcare facilities at the time it began

 suspending employees without pay on November 12, 2021, and is believed to lack

 any data-driven, evidentiary basis for claiming that religious objectors who did not

 take the vaccines would have materially increased workplace risks.

        68.        Ascension Health has never sought to support its vaccination mandate

 through any examples of healthcare worker-to-patient transmission of the virus at

 its facilities.

        69.        Additionally, Ascension Health has never sought to support its

 vaccination mandate through any examples of how remote staff or those who

 provide telehealth or telemedicine services outside of the hospital setting transmit

 the virus and impact patients or other employees. Nor has Ascension Health

 explained how the many employees denied religious exemptions who were in non-

 patient facing positions increased risk to patients.

        70.        Many Plaintiffs report, based on their own extensive experience, that

 there have not been significant healthcare worker-to-patient transmissions of the

 SARS-CoV-2 virus within Ascension Health healthcare facilities since Ascension

 Health healthcare employees began employing rigorous mitigation measures (such




                                               18
Case 1:22-cv-01097-JPH-MG         Document 1 Filed 05/27/22           Page 19 of 208 PageID #:
                                            19



 as temperature monitoring, health assessments, masking and other measures at

 the outset of the pandemic) to prevent workplace transmission of the virus.

        71.    According to widely available scientific research these mitigation

 measures are what keep Ascension Health patients safe from transmission of the

 virus in Ascension Health facilities and are what have kept patients and healthcare

 workers safe since the outbreak of the pandemic. 7

        72.    Mitigation measures are a proven, effective, scientific, strategy that

 can ensure the protection of Ascension Health patients going forward.

        73.    Fifth, available information from the U.S. Food & Drug Administration

 (“U.S. FDA”) was inconsistent with Ascension Health’s one-sentence justification.

        74.    Except on this one point, Ascension Health, relied on the U.S. FDA’s

 guidance regarding the COVID-19 vaccines, frequently citing to FDA information

 about the vaccines on Ascension Health’s website.




 7 See collection of scientific studies cited in CMS Interim Final Rule (cited in the Federal

 Register at 86 Fed. Reg. 61,570 (Nov. 5, 2021)) submitted in Plaintiff’s Appendix as
 Exhibits 63 to 71 (App. 63 at 1-30; App. 64 at 1-2; App. 65 at 1-9; App. 66 at 1-20; App.
 67 at 1-20; App. 68 at 1-13; App. 69 at 1-4; App. 70 at 1-13; and App. 71 at 1-7)
 “Hospital-Acquired SARS CoV-2 Infection: Lessons for Public Health,” Aaron Richterman,
 M.D. et al, 324 JAMA, 2155–56 (2020) (App. 64 at 1-2) available at:
 https://jamanetwork.com/journals/jama/fullarticle/2773128; see also “Hospital-acquired
 COVID-19 tends to be picked up from other patients, not from healthcare workers,” Science
 Daily, (Aug. 24, 2021) (App. 74 at 1-3) available at:
 https://www.sciencedaily.com/releases/2021/08/210824083504.htm; “Study Shows Low Risk
 of COVID-19 Transmission in Hospital Among Patients Undergoing Surgery,” New York-
 Presbyterian Newsroom (Feb. 24, 2021) (App. 73 at 1-3) available at:
 https://www.nyp.org/news/study-shows-low-risk-of-covid-19-transmission-in-hospital-
 among-patients-undergoing-surgery; “Could We Do Better on Hospital Acquired COVID-19
 In a Future Wave?” David Oliver, 372 BMJ (Jan 13, 2021) (App. 72 at 1-2) available at:
 https://www.bmj.com/content/372/bmj.n70.


                                               19
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22         Page 20 of 208 PageID #:
                                           20



        75.    At the time of Ascension Health’s denials of religious exemptions, the

 U.S. FDA acknowledged that while it was hoped that the COVID-19 vaccines would

 reduce or prevent the transmission of the virus, “the scientific community does not

 yet know if the COVID-19 Vaccine[s] will reduce such transmission.” 8

        76.    Sixth, U.S. Centers for Disease Control and Prevention (“CDC”)

 Director, Dr. Rochelle Walensky, stated on October 8, 2021, about COVID-19

 vaccines that, “what they cannot do any more is prevent transmission.” 9

        77.    Seventh, many other healthcare providers with vaccination mandates

 did not resort to the wholesale rejection of religious exemptions. Numerous other

 Indianapolis hospitals permitted healthcare workers with religious exemptions to

 continue to provide patient care. 10

        78.    For many Plaintiffs, Ascension Health violated Title VII by

 substituting an “increased risk” standard for the statutory “undue hardship”

 standard and failed to adequately address Plaintiffs’ requested accommodations

 under the undue hardship standard.




 8 See, e.g., Pfizer-BioNTech COVID-19 Vaccine Frequently Asked Questions, Food and Drug

 Administration, available at: https://www.fda.gov/emergency-preparedness-and-
 response/coronavirus-disease-2019-covid-19/pfizer-biontech-covid-19-vaccine-frequently-
 asked-questions (App. 47 at 1-10)
 9 CDC Director, Dr. Rochelle Walensky, Oct. 8, 2021, available at:

 https://youtu.be/swlUv2SbmT8 .
 10 “Hospitals offer exemption for COVID-19 vaccine mandate. Many employees took it,”

 Rudavsky, Shari, Indianapolis Star (Oct. 13, 2021) (App. 80 at 1-3); Rentschler Aff. ¶¶ 5-8
 (App. 76 at 1) (Eskenazi Hospital Respiratory Therapist); Haerr Aff. ¶¶ 4-7 (App. 75 at 1)
 (Community North (Kokomo), direct patient care).


                                             20
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 21 of 208 PageID #:
                                         21



       79.    For the others, Ascension Health simply ignored the “undue hardship”

 standard and failed to address Plaintiffs’ requested accommodations under the

 undue hardship standard.

       80.    There is abundant evidence Ascension Health’s “increased risk”

 justification was pretextual and a cover for religious discrimination.

       81.    Moreover, many Plaintiffs, were subjected to unwelcomed harassment

 due to their request for religious exemption. For these Plaintiffs, their supposedly

 confidential religious exemption request generated ridicule by other Ascension

 Health and St. Vincent Health associates and subjected those seeking religious

 exemptions to unwelcomed harassment regarding their request. Instead of this

 ridicule being properly addressed, it was simply ignored by Ascension Health.

       82.    Plaintiffs filed their charges of discrimination with the Equal

 Employment Opportunity Commission (“EEOC”) and have received Notice of Right

 to Sue letters from the EEOC.

                             JURISDICTION & VENUE

       83.    This Court has jurisdiction over this case pursuant to 28 U.S.C. §§

 1331, 1332, 1343, 1367 and 42 U.S.C. § 2000e-5(f)(3).

       84.    The amount in controversy between Ascension Health and each

 Plaintiff exceeds the sum or value of $75,000.

       85.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)

 because a substantial part of the events complained of herein occurred in this

 District and Division.




                                           21
Case 1:22-cv-01097-JPH-MG    Document 1 Filed 05/27/22   Page 22 of 208 PageID #:
                                       22



                                   THE PARTIES

 A.    St. Vincent Health, Inc.;

       St. Joseph Hospital & Health Center, Inc.;

       St. Mary’s Health, Inc.;

       St. Mary’s Medical Group, LLC;

       St. Mary’s Warrick Hospital, Inc.;

       St. Vincent Anderson Regional Hospital, Inc.;

       St. Vincent Carmel Hospital, Inc.;

       St. Vincent Dunn Hospital, Inc.;

       St. Vincent Fishers Hospital, Inc.;

       St. Vincent Heart Center of Indiana, LLC;

       St. Vincent Hospital and Health Care Center, Inc.;

       St. Vincent Hospital and Health Care Center, Inc. d/b/a William K.
       Nasser, MD, Healthcare Education and Simulation Center;

       St. Vincent Hospital and Health Care Center, Inc. d/b/a Ascension
       Health St. Vincent Stress Center;

       St. Vincent Hospital and Health Care Center, Inc. d/b/a Ascension
       Health St. Vincent Women’s Health Boutique;

       St. Vincent Medical Group, Inc.;

       St. Vincent Seton Specialty Hospital, Inc.;

       St. Vincent Williamsport Hospital, Inc.;

       Ascension Health, Inc.;

       Ascension Health-IS, Inc.;

       Ascension Health Ministry Service Center, LLC; and

       Medxcel Facilities Management, LLC.


                                       22
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 23 of 208 PageID #:
                                         23



       86.    Plaintiffs are employed at various St. Vincent Health and Ascension

 Health locations and with various legal entities.

       87.    St. Vincent Health is an Indiana Corporation with its principal place of

 business located at 250 W. 96th Street, Suite 400, in Indianapolis, Indiana.

       88.    St. Vincent Health owns and/or operates and/or is organized to perform

 the functions and purposes of various healthcare entities, which are separately

 named as defendants and include those thirteen (13) entities referenced below in

 paragraphs 89-101.

       89.    St. Joseph Hospital & Health Center, Inc. (referred to herein as

 “St. Vincent Kokomo”) is an Indiana Corporation with its principal place of business

 located at 1907 W. Sycamore Street in Kokomo, Indiana.

       90.    St. Mary’s Health, Inc. (referred to herein as “St. Vincent Evansville”)

 is an Indiana Corporation with its principal place of business located at

 3700 Washington Avenue in Evansville, Indiana.

       91.    St. Mary’s Medical Group, LLC (referred to herein as “St. Mary’s

 Medical Group”) is a Limited Liability Corporation with its principal place of

 business located at 3700 Washington Avenue in Evansville, Indiana.

       92.    St. Mary’s Warrick Hospital, Inc. (referred to herein as “St. Vincent

 Warrick”) is an Indiana Corporation with its principal place of business located at

 1116 Millis Avenue in Boonville, Indiana.




                                          23
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 24 of 208 PageID #:
                                         24



       93.    St. Vincent Anderson Regional Hospital, Inc. (referred to herein as

 “St. Vincent Anderson”) is an Indiana Corporation with its principal place of

 business located at 2015 Jackson Street in Anderson, Indiana.

       94.    St. Vincent Carmel Hospital, Inc. (referred to herein as “St. Vincent

 Carmel”) is an Indiana Corporation with its principal place of business in Carmel,

 Indiana. St. Vincent Carmel owns and operates healthcare facilities in Indiana,

 including the St. Vincent Carmel Hospital located at 13500 N. Meridian Street in

 Carmel, Indiana and the St. Vincent Breast Center Carmel-Mammography located

 at 13420 N. Meridian Street in Carmel, Indiana.

       95.    St. Vincent Dunn Hospital, Inc. (referred to herein as “St. Vincent

 Dunn”) is an Indiana Corporation with its principal place of business located at

 1600 23rd Street in Bedford, Indiana.

       96.    St. Vincent Fishers Hospital, Inc. (referred to herein as “St. Vincent

 Fishers”) is an Indiana Corporation with its principal place of business located at

 13861 Olio Road in Fishers, Indiana.

       97.    St. Vincent Heart Center of Indiana, LLC (referred to herein as

 “St. Vincent Heart Center”) is an Indiana Limited Liability Corporation with its

 principal place of business located at 10580 N. Meridian Street in Carmel, Indiana.

       98.    St. Vincent Hospital and Health Care Center, Inc. (referred to herein

 as “St. Vincent – Indianapolis,” “St. Vincent Hospital-Indianapolis,” or “Ascension

 Health-St. Vincent-Indianapolis”) is an Indiana Corporation with its principal place

 of business in Indianapolis, Indiana. St. Vincent-Indianapolis owns and operates




                                           24
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22         Page 25 of 208 PageID #:
                                           25



 healthcare facilities in Indiana, including Ascension Health St. Vincent, the

 St. Vincent Stress Center, and the Ascension Health St. Vincent Women’s Health

 Boutique all located at 2001 W. 86th Street in Indianapolis, Indiana and the

 William K. Nasser, MD, Healthcare Education and Simulation Center (referred to

 herein as “Healthcare Education and Simulation Center”) located at 1801 W. 86th

 Street in Indianapolis, Indiana.

        99.    St. Vincent Medical Group, Inc. (referred to herein as “St. Vincent

 Medical Group” and/or “Ascension Health Medical Group St. Vincent”) is an Indiana

 Corporation with its principal place of business located at 250 W. 96th Street,

 Suite 520, in Indianapolis, Indiana.

        100.   St. Vincent Seton Specialty Hospital, Inc. (referred to herein as

 “St. Vincent Seton”) is an Indiana Corporation with its principal place of business

 located at 8071 Township Line Road, Suite 200, in Indianapolis, Indiana.

        101.   St. Vincent Williamsport Hospital, Inc. (referred to herein as

 “St. Vincent Williamsport”) is an Indiana Corporation with its principal place of

 business located at 412 N. Monroe Street in Williamsport, Indiana.

        102.   St. Vincent Health is owned by Ascension Health. 11

        103.   St. Vincent Health, and the thirteen (13) entities named above in

 paragraphs 89-101, are part of the national health care system which is sought to


 11 Unless stated otherwise, St. Vincent Kokomo, St. Vincent Evansville, St. Mary’s Medical

 Group, St. Vincent Warrick, St. Vincent Anderson, St. Vincent Carmel, St. Vincent Dunn,
 St. Vincent Fishers, St. Vincent Heart Center, St. Vincent -Indianapolis and/or St. Vincent
 Hospital-Indianapolis and/or Ascension St. Vincent-Indianapolis, St. Vincent Medical
 Group, St. Vincent Seton and St. Vincent Williamsport are intended to be included in any
 reference to St. Vincent Health.


                                             25
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 26 of 208 PageID #:
                                         26



 be controlled and directed in all aspects by Ascension Health’s corporate

 headquarters.

       104.    Ascension Health is a Missouri Corporation with its principal place of

 business located at 4600 Edmundson Road in St. Louis, Missouri. Ascension Health

 is not deemed a citizen of Indiana.

       105.    Ascension Health also owns and/or operates and/or is organized to

 carry out of the functions and purposes of various healthcare entities, including

 those separately named defendants set forth in paragraphs 106-110.

       106.    Ascension Health Ministry Service Center, LLC (“Ascension Health

 Ministry Service Center”) is an Indiana Limited Liability Corporation with its

 principal place of business located at 4040 Vincennes Drive, Building MSC, in

 Indianapolis, Indiana.

       107.    Ascension Health-IS Inc. (“Ascension Health-IS”) is a Missouri

 Corporation with its principal place of business located at 4600 Edmundson Road in

 St. Louis, Missouri. Ascension Health-IS is not deemed a citizen of Indiana.

       108.    Ascension Health Ministry Service Center and Ascension Health-IS

 are part of the national health care system which are sought to be controlled and

 directed in all aspects by Ascension Health’s corporate headquarters.

       109.    Ascension Health’s work is also carried out through a number of

 subsidiaries, including Medxcel Facilities Management, LLC (referred to herein as

 “Medxcel”).




                                           26
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22          Page 27 of 208 PageID #:
                                           27



        110.   Medxcel is a Limited Liability Corporation with its principal place of

 business located at 7702 Woodland Drive, Suite 200, in Indianapolis, Indiana.

        111.   As its subsidiary, Ascension Health directly or indirectly controls and

 directs Medxcel.

        112.   As explained herein, Ascension Health has frequently exercised

 direction and control over the activities of St. Vincent Health (including St. Vincent

 Kokomo, St. Vincent Evansville, St. Mary’s Medical Group, St. Vincent Warrick,

 St. Vincent Anderson, St. Vincent Carmel, St. Vincent Dunn, St. Vincent Fishers,

 St. Vincent Heart Center, St. Vincent -Indianapolis and/or St. Vincent Hospital-

 Indianapolis and/or Ascension Health St. Vincent-Indianapolis, St. Vincent Medical

 Group, St. Vincent Seton and St. Vincent Williamsport), Ascension Health Ministry

 Service Center, Ascension Health-IS, and Medxcel, including making final decisions

 in relation to employees who applied for religious exemptions to the Ascension

 Health vaccine mandate described below. 12

        113.   By virtue of the control exercised by Ascension Health over Ascension

 Health Entities and their employees, Ascension Health and the individual

 Ascension Health Entities may be considered employers of Plaintiffs within the

 meaning of 42 U.S.C. § 2000e(b) and Plaintiffs may be considered employees of both




 12 Unless stated otherwise, for purposes of this Complaint, “Ascension Health Entities” is

 defined to include St. Vincent Health, St. Vincent Kokomo, St. Vincent Evansville,
 St. Mary’s Medical Group, St. Vincent Warrick, St. Vincent Anderson, St. Vincent Carmel,
 St. Vincent Dunn, St. Vincent Fishers, St. Vincent Heart Center, St. Vincent -Indianapolis
 and/or St. Vincent Hospital-Indianapolis and/or Ascension St. Vincent-Indianapolis,
 St. Vincent Medical Group, St. Vincent Seton and St. Vincent Williamsport, Ascension
 Ministry Service Center, Ascension Health-IS, and Medxcel.


                                              27
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22       Page 28 of 208 PageID #:
                                          28



 Ascension Health and their individual Ascension Health Entities within the

 meaning of 42 U.S.C. § 2000e(f).

       114.    Within the meaning of 42 U.S.C. § 2000e(b) Ascension Health and the

 Ascension Health Entities acted as agents of each other in relation to the

 employment actions described in this Complaint. Ascension Health conspired with

 the Ascension Health Entities to impose Ascension Health’s vaccine mandate on

 Ascension Health Entities’ employees and to breach several written contracts of

 employment.

       115.    Within the meaning of Title VII, Ascension Health and the Ascension

 Health Entities, each separately employ more than fifteen (15+) employees at

 numerous locations. Ascension Health separately employs more than fifteen (15+)

 employees at numerous other locations, including at its corporate headquarters in

 Missouri.

       116.    Ascension Health, though its national healthcare system, controls or

 operates more than 2,600 sites of care – including 142 hospitals and more than 40

 senior living facilities – in 19 states and the District of Columbia, while providing a

 variety of services including clinical and network services, venture capital investing,

 investment management, biomedical engineering, facilities management, risk

 management, and contracting through Ascension Health’s own group purchasing

 organization. https://www.Ascension

 Health.org/About?intent_source=nav_footer&_ga=2.257679630.406585572.1634768

 682-256273680.1634270751.




                                           28
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 29 of 208 PageID #:
                                         29



       117.   Across its system Ascension Health claims to employ more than

 150,000 healthcare workers whom it refers to as “associates” and 40,000 aligned

 providers. Id.

       118.   Title VII applies to Ascension Health’s healthcare workforce including

 all “Ascension Health associates” and Ascension Health’s doctors, nurse

 practitioners, registered nurses, healthcare technicians and other healthcare

 workers and staff who may be considered “employees” of Ascension Health and or

 any Ascension Health Entity within the meaning of Title VII.

       119.   Ascension Health and the hospitals it controls or operates are required

 to comply with Title VII in administering its COVID-19 vaccination, medical and

 religious exemption processes for its employees and “associates” in its national

 healthcare system (including all doctors, nurses, healthcare technicians, and other

 healthcare workers) including Plaintiffs and the class Plaintiffs seek to represent.

 B.    The Plaintiffs

                                St. Vincent Kokomo

 Nurse Teresa Ridlen

       120.   Nurse Teresa Ridlen is an employee of Ascension Health and

 St. Vincent Health at St. Vincent Kokomo in Kokomo, Indiana. Nurse Ridlen has

 been employed by St. Vincent Kokomo since May 2014. Nurse Ridlen is a citizen

 and resident of Howard County, Indiana. Nurse Ridlen works in the Wound Care

 department where she assesses, monitors, and identifies treatment plans for

 patients with complex wounds and ostomies. As a wound care nurse, Nurse Ridlen




                                           29
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 30 of 208 PageID #:
                                         30



 works closely with treatment providers, patients, and nursing staff to ensure that

 personalized treatment plans are followed in order to prevent future infection or

 injury.

       121.   Nurse Ridlen requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       122.   Ascension Health, St. Vincent Health, and St. Vincent Kokomo denied

 Nurse Ridlen’s request for a religious exemption and she was suspended without

 pay on November 12, 2021.

       123.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Kokomo failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       124.   Ascension Health, St. Vincent Health, and St. Vincent Kokomo could

 have granted Nurse Ridlen’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       125.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Kokomo simply ignored the undue hardship standard and violated Title VII.

       126.   During Nurse Ridlen’s unjustified suspension, she experienced

 significant stress and health issues. As a single individual, Nurse Ridlen is

 responsible for all household expenses, including her mortgage, utilities, medical

 insurance coverage, and all other bills. Additionally, Nurse Ridlen was fearful that

 at her age, she would be unable to find another position. She constantly worried




                                           30
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 31 of 208 PageID #:
                                         31



 about losing her job and potentially losing her home. The fear of being homeless

 wreaked havoc on her blood pressure and contributed to elevated stress levels.

       127.   Although Nurse Ridlen was ultimately recalled, she was not paid for

 some six (6) weeks while unilaterally and arbitrarily placed on unpaid suspension

 by St. Vincent. Nurse Ridlen has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension.

 Nurse Practitioner Lisa Stults

       128.   Nurse Practitioner (“NP”) Lisa Stults is an employee of Ascension

 Health and St. Vincent Health at St. Vincent Kokomo in Kokomo, Indiana.

 NP Stults has been employed by St. Vincent Kokomo since July 2017. NP Stults is a

 citizen and resident of Marshall County, Indiana. NP Stults works for Trinity

 Behavioral at St. Vincent Kokomo where she admits, diagnoses, creates treatment

 plans and prescribes medication for chemically dependent patients, as well as helps

 patients manage their mental health (i.e., depression, anxiety etc.).

       129.   NP Stults requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       130.   Ascension Health, St. Vincent Health, and St. Vincent Kokomo denied

 NP Stults’ request for a religious exemption.

       131.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Kokomo failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”




                                           31
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 32 of 208 PageID #:
                                         32



       132.   Ascension Health, St. Vincent Health, and St. Vincent Kokomo could

 have granted NP Stults’ religious exemption without undue hardship and should

 have granted her requested religious exemption.

       133.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Kokomo simply ignored the undue hardship standard and violated Title VII.

       134.   The threat of her November 12, 2021 suspension and potential

 termination thereafter caused her severe anxiety and stress.

       135.   As a result of this anxiety and stress, which was incapacitating,

 NP Stults was placed on short term medical leave on November 4, 2021, and

 consequently lost income.

       136.   Additionally, NP Stults has still not received written confirmation that

 St. Vincent has granted her religious exemption.

                               St. Vincent Evansville

 Nurse Patricia Drone-McCullough

       137.   Nurse Patricia Drone-McCullough was an employee of Ascension

 Health and St. Vincent Health at St. Vincent Evansville in Evansville, Indiana.

 Nurse Drone-McCullough had been employed by St. Vincent Evansville since

 November 2019. Nurse Drone-McCullough is a citizen and resident of Posey County,

 Indiana. Nurse Drone-McCullough worked at St. Vincent Evansville in the Acute

 Dialysis Department where she provided bedside care for inpatient hemodialysis

 and apheresis patients. As part of her job, Nurse Drone-McCullough remains at




                                          32
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 33 of 208 PageID #:
                                         33



 bedside to troubleshoot immediate clinical needs of the patient and the dialysis

 equipment.

       138.   Nurse Drone-McCullough requested a religious exemption from

 Ascension Health’s mandate that she receive the COVID-19 vaccine.

       139.   Ascension Health, St. Vincent Health, and St. Vincent Evansville

 denied Nurse Drone-McCullough’s request for a religious exemption and she was

 suspended without pay on November 12, 2021.

       140.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Evansville failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       141.   Ascension Health, St. Vincent Health, and St. Vincent Evansville could

 have granted Nurse Drone-McCullough’s religious exemption without undue

 hardship and should have granted her requested religious exemption.

       142.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Evansville simply ignored the undue hardship standard and violated Title VII.

       143.   Nurse Drone-McCullough’s unjustified suspension without pay on

 November 12, 2021 caused her to experience stress and anxiety. Nurse Drone-

 McCullough was a single parent and sole provider for her children. The unjustified

 suspension and threatened termination of employment imposed drastic financial

 hardship upon her and her children, including the ability to assist with paying their

 college tuition, which increased her stress. Additionally, due to her unjustified

 suspension, and the lack of transparency regarding medical insurance coverage,




                                           33
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22       Page 34 of 208 PageID #:
                                          34



 Nurse Drone-McCullough and her (now) husband moved their wedding date in

 order to ease her anxiety regarding a potential lapse of medical insurance. While

 Nurse Drone-McCullough and her husband initially planned a wedding for 2023,

 they had a hurried wedding on November 21, 2021, so that both Nurse Drone-

 McCullough and her children could have affordable medical insurance. Her

 unjustified suspension and threat of termination, coupled with the need to rush her

 wedding plans, contributed to Nurse Drone-McCullough’s stress and anxiety.

       144.     Although Nurse Drone-McCullough was ultimately recalled, she was

 not paid for some five (5) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. Nurse Drone-McCullough has not been compensated for the wages lost

 by being wrongfully placed on unpaid suspension. Nevertheless, the stress from

 Ascension Health’s coerced process of forcing healthcare workers to abandon their

 religious objections and receive the vaccination against their will, resulted in

 Nurse Drone-McCullough’s constructive termination and decision not to return to

 St. Vincent.

 Nurse Donna Grant

       145.     Nurse Donna Grant is an employee of Ascension Health and

 St. Vincent Health at St. Vincent Evansville in Evansville, Indiana. Nurse Grant

 has been employed by St. Vincent Evansville since April 2020. Nurse Grant is a

 citizen and resident of Vanderburgh County, Indiana. Nurse Grant works in the

 St. Vincent Cancer Center where she interviews, assesses, and documents clinical

 data for new patients.




                                           34
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 35 of 208 PageID #:
                                         35



       146.   Nurse Grant requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       147.   Ascension Health, St. Vincent Health, and St. Vincent Evansville

 denied Nurse Grant’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       148.    However, Ascension Health, St. Vincent Health, and St. Vincent

 Evansville failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       149.   Ascension Health, St. Vincent Health, and St. Vincent Evansville could

 have granted Nurse Grant’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       150.   Nurse Grant’s unjustified suspension without pay on November 12,

 2021 and threatened termination of employment impacted her mental health.

 Nurse Grant’s income helps support her family, which includes her husband and

 two (2) children. With no source of income, Nurse Grant was unable to contribute

 financially to her family, which increased her stress.

       151.   Although Nurse Grant was ultimately recalled, she was not paid for

 approximately five (5) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. Nurse Grant has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension.




                                           35
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 36 of 208 PageID #:
                                        36



                             St. Mary’s Medical Group

 Ms. Della Taylor

       152.   Ms. Della Taylor was an employee of Ascension Health and St. Vincent

 Health at St. Mary’s Medical Group in Evansville, Indiana. Ms. Taylor had been

 employed with St. Mary’s Medical Group since March 2007. Ms. Taylor is a citizen

 and resident of Vanderburgh County, Indiana. Ms. Taylor worked as a Certified

 Medical Assistant (“CMA”) and assisted with the treatment and care ordered by

 providers. As a CMS, Ms. Taylor performed select clinical duties and performed

 intake of patients, which included, but was not limited to, preparing treatment

 rooms, conducting patient interviews, and taking vital sign measurements.

       153.   Ms. Taylor requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       154.   Ascension Health, St. Vincent Health, and St. Mary’s Medical Group

 denied Ms. Taylor’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       155.   However, Ascension Health, St. Vincent Health, and St. Mary’s

 Medical Group failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       156.   Ascension Health, St. Vincent Health, and St. Mary’s Medical Group

 could have granted Ms. Taylor’s religious exemption without undue hardship and

 should have granted her requested religious exemption.




                                          36
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 37 of 208 PageID #:
                                         37



       157.   Although Ms. Taylor was recalled by St. Vincent on January 10, 2022,

 she was soon thereafter terminated on or about January 26, 2022. Ms. Taylor’s

 unjustified suspension and termination caused her to experience substantial

 financial hardship. With no source of income, Ms. Taylor felt she had no choice but

 to withdraw funds from her retirement in order to make payments towards her

 Chapter 13 bankruptcy. Prior to her suspension, Ms. Taylor was making substantial

 efforts to repay all of her debt identified in her bankruptcy. However, after she was

 unjustly suspended, then terminated, Ms. Taylor was left with no option but to

 withdraw a substantial amount of her retirement to ensure that she could adhere to

 her repayment plan schedule. If not, Ms. Taylor understood she would be left with

 no option but to sell her home. Both the retirement withdrawal and the fear of

 losing her home continue to cause her great stress.

       158.   Ms. Taylor was not paid for some eight (8) weeks while unilaterally

 and arbitrarily placed on unpaid suspension. Ms. Taylor has not been compensated

 for the wages lost by being wrongfully placed on unpaid suspension.

       159.   Ms. Taylor was performing all reasonable requirements of her job and

 believes she was terminated because she sought a religious exemption.

       160.   Ironically, on March 7, 2022, after her termination, Ms. Taylor

 received a congratulatory fifteen (15) year pin from “President and Chief Executive

 Officer Joseph R. Impicciche, JD, MBA” congratulating her for her commitment and

 dedication, as her “contributions [we]re important to [their] national ministry–One

 Ascension Health—and to the communities we serve.”




                                           37
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22      Page 38 of 208 PageID #:
                                        38



       161.   This communication is further confirmation Ms. Taylor was

 terminated without cause.

                               St. Vincent Warrick

 Nurse Molly Buehler

       162.   Nurse Molly Buehler is an employee of Ascension Health and

 St. Vincent Health at St. Mary’s Medical Group at St. Vincent Warrick in Jasper,

 Indiana. Nurse Buehler has been employed with St. Vincent Warrick since

 November 2013. Nurse Buehler helps facilitate the Women, Infant, and Children’s

 program, which provides nutritional programming, supplemental foods and

 referrals to health and social services to eligible pregnant and postpartum women

 and children.

       163.   Nurse Buehler requested a religious exemption from Ascension

 Health’s mandate that she receive the COVID-19 vaccine.

       164.   Ascension Health, St. Vincent Health, St. Mary’s Medical Group and

 St. Vincent Warrick denied Nurse Buehler’s request for a religious exemption and

 she was suspended without pay on November 12, 2021.

       165.   However, Ascension Health, St. Vincent Health, St. Mary’s Medical

 Group and St. Vincent Warrick failed to individually evaluate and properly assess

 her request for a religious exemption and establish “undue hardship.”

       166.   Ascension Health, St. Vincent Health, St. Mary’s Medical Group and

 St. Vincent Warrick could have granted Nurse Buehler’s religious exemption




                                         38
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22       Page 39 of 208 PageID #:
                                          39



 without undue hardship and should have granted her requested religious

 exemption.

       167.    Nurse Buehler’s unjustified suspension and threatened termination

 resulted in her experiencing fear, stress, and anxiety. Nurse Buehler’s income is

 critical to the financial stability of her family, which includes her husband and

 three (3) school-aged children. As Nurse Buehler’s husband is self-employed, the

 cost of medical insurance coverage from the market is unreasonable for a family of

 five. The possibility of not having medical insurance coverage caused Nurse Buehler

 to experience a tremendous amount of stress and anxiety. If something were to

 happen to the health of one of the members of her young family, this event could

 have been financially catastrophic. Additionally, Nurse Buehler’s children attend a

 private school affiliated with their faith, for which Nurse Buehler and her husband

 are obligated to make ongoing payments for tuition. Without her income, it

 appeared very likely that she would have to withdraw her children from the private

 school, which caused her to experience additional anxiety and stress. Consequently,

 this increased anxiety and stress began to distract her from her daily life, including

 her family needs. Nurse Buehler began to experience insomnia and physical

 exhaustion.

       168.    Although Nurse Buehler was ultimately recalled, she was not paid for

 some six (6) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Nurse Buehler has not been compensated for the wages lost by being wrongfully

 placed on unpaid suspension.




                                           39
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22     Page 40 of 208 PageID #:
                                          40



                                St. Vincent Anderson

 Nurse Sarah Horner

       169.   Nurse Sarah Horner is an employee of Ascension Health, St. Vincent

 Health at St. Vincent Anderson in Anderson, Indiana. Nurse Horner has been

 employed by St. Vincent Anderson since February 2016. Nurse Horner is a citizen

 and resident of Madison County, Indiana. Nurse Horner works at the Anderson

 Center Behavioral Health location providing mental health inpatient services for

 those patients requiring crisis stabilization.

       170.   Nurse Horner requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       171.   Ascension Health, St. Vincent Health, and St. Vincent Anderson

 denied Nurse Horner’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       172.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Anderson failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       173.   Ascension Health, St. Vincent Health, and St. Vincent Anderson could

 have granted Nurse Horner’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       174.   Nurse Horner’s unjustified suspension without pay on November 12,

 2021 and threatened termination from employment caused her to experience

 significant stress, anxiety, and insomnia.




                                            40
Case 1:22-cv-01097-JPH-MG         Document 1 Filed 05/27/22    Page 41 of 208 PageID #:
                                            41



       175.    While Nurse Horner was ultimately recalled, she continues to worry

 about the stigma associated with her period of suspension which she understands

 remains in her personnel file.

       176.    Additionally, Nurse Horner was not paid for some seven (7) weeks

 while unilaterally and arbitrarily placed on unpaid suspension. Nurse Horner has

 not been compensated for the wages lost by being wrongfully placed on unpaid

 suspension.

 Ms. Monica Nalley

       177.    Ms. Monica Nalley is an employee of Ascension Health and St. Vincent

 Health at Ascension Health Medical Group in Anderson, Indiana. Ms. Nalley has

 been employed with Ascension Health Medical Group since September 2002.

 Ms. Nalley is a citizen and resident of Henry County, Indiana. Ms. Nalley provides

 administrative support for the Ascension Health Medical Group where she is

 responsible for checking patients in/out, billing and coding, and claim resolutions.

       178.    Ms. Nalley requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       179.    Ascension Health, St. Vincent Health, and St. Vincent Anderson

 denied Ms. Nalley’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       180.    However, Ascension Health, St. Vincent Health, and St. Vincent

 Anderson failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”




                                           41
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 42 of 208 PageID #:
                                         42



       181.   Ascension Health, St. Vincent Health, and St. Vincent Anderson could

 have granted Ms. Nalley’s religious exemption without undue hardship and should

 have granted her requested religious exemption.

       182.   Ms. Nalley’s unjustified suspension without pay on November 12, 2021

 and threatened termination of employment negatively impacted her mental health

 and emotional well-being. Ms. Nalley’s income helps support her family, which

 includes her husband and two (2) children. As her husband’s work slows down in

 the winter months, her family relies on her income. Without Ms. Nalley’s income,

 her family was living off their savings, which was quickly diminishing during her

 suspension. The lack of income significantly increased her stress levels.

       183.   Although Ms. Nalley was ultimately recalled, she was not paid for

 some six (6) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Ms. Nally has not been compensated for the wages lost by being wrongfully placed

 on unpaid suspension.

 Ms. Barbara Pluhar

       184.   Ms. Barbara Pluhar is an employee of Ascension Health and

 St. Vincent Health at Ascension Health Medical Group in Anderson, Indiana.

 Ms. Pluhar has been employed with Ascension Health Medical Group since

 February 2002. Ms. Pluhar is a citizen and resident of Madison County, Indiana.

 Ms. Pluhar is a Certified Clinical Medical Assistant (“CCMA”) and provides

 administrative support for Ascension Health Medical Group.




                                          42
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22      Page 43 of 208 PageID #:
                                         43



       185.   Ms. Pluhar requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       186.   Ascension Health, St. Vincent Health, and St. Vincent Anderson

 denied Ms. Pluhar’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       187.   Ascension Health, St. Vincent Health, and St. Vincent Anderson failed

 to individually evaluate and properly assess her request for a religious exemption

 and establish “undue hardship.”

       188.   Ascension Health, St. Vincent Health, and St. Vincent Anderson could

 have granted Ms. Pluhar’s religious exemption without undue hardship and should

 have granted her requested religious exemption.

       189.   During Ms. Pluhar’s unjustified suspension without pay, she

 experienced feelings of anxiety and stress, which began to manifest physically.

 Ms. Pluhar’s income helps support her family, which includes her husband.

 Concerned that she would soon be terminated, Ms. Pluhar submitted numerous job

 applications during her unjustified suspension. Many of the positions for which she

 applied would have required long commutes and paid less. Ever increasing concerns

 about driving so far for less money and the strain this would put on her family

 generated significant anxiety and stress for Ms. Pluhar.

       190.   Although Ms. Pluhar was ultimately recalled, she was not paid for

 some seven (7) weeks while unilaterally and arbitrarily placed on unpaid




                                          43
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22     Page 44 of 208 PageID #:
                                           44



 suspension. Ms. Pluhar has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension.

                                  St. Vincent Carmel

 Ms. Cindy Bishop

       191.   Ms. Cindy Bishop is an employee of Ascension Health and St. Vincent

 Health at St. Vincent Carmel in Carmel, Indiana. Ms. Bishop has been employed by

 St. Vincent Carmel since July 2019. Ms. Bishop is a citizen and resident of

 Hamilton County, Indiana. Ms. Bishop works in Imaging and serves as a radiology

 technologist performing a variety of radiographic procedures used in the diagnostic

 treatment of illness and injuries.

       192.   Ms. Bishop requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       193.   Ascension Health, St. Vincent Health, and St. Vincent Carmel denied

 Ms. Bishop’s request for a religious exemption and she was suspended without pay

 on November 12, 2021.

       194.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       195.   Ascension Health, St. Vincent Health, and St. Vincent Carmel could

 have granted Ms. Bishop’s religious exemption without undue hardship and should

 have granted her requested religious exemption.




                                           44
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22      Page 45 of 208 PageID #:
                                         45



       196.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel simply ignored the undue hardship standard and violated Title VII.

       197.   During Ms. Bishop’s unjustified suspension without pay, she

 experienced anxiety, stress, and depression due to Defendants’ actions. Ms. Bishop

 suffered from extreme stress from the loss of her income. She incurred unexpected

 debt due to her unjustified suspension. Moreover, as a newer radiology technologist,

 Ms. Bishop worried that her skillset would deteriorate during her suspension and

 could prevent her from finding a comparable job.

       198.   Although Ms. Bishop was ultimately recalled, she was not paid for

 approximately seven (7) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. Ms. Bishop has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension.

 Nurse Donna Jo Bowles

       199.   Nurse Donna Jo Bowles is an employee of Ascension Health and

 St. Vincent Health at St. Vincent Carmel in Carmel, Indiana. Nurse Bowles has

 been employed by St. Vincent since June 2007. Nurse Bowles is a citizen and

 resident of Hamilton County, Indiana. Nurse Bowles works in the Pediatrics,

 Postpartum, Nursery and Neonatal Intensive Care Unit, where she cares for

 mothers and infants post-delivery until discharge. Her care includes, but is not

 limited to, monitoring both the mother and infant, carrying out physician and

 nursing orders, and providing education to mothers.




                                           45
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22      Page 46 of 208 PageID #:
                                         46



       200.   Nurse Bowles requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       201.   Ascension Health, St. Vincent Health, and St. Vincent Carmel denied

 Nurse Bowles’ request for a religious exemption and she was suspended without

 pay on November 12, 2021.

       202.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       203.   Ascension Health, St. Vincent Health, and St. Vincent Carmel could

 have granted Nurse Bowles’ religious exemption without undue hardship and

 should have granted her requested religious exemption.

       204.   During Nurse Bowles’ period of unjustified suspension without pay,

 she experienced overwhelming feelings of sadness. She also experienced the loss of

 self-worth and began to experience paralyzing stomach discomfort, weight loss, and

 repeated nights with loss of sleep. Due to Nurse Bowles’ increased stress, her

 psoriasis, which had been in remission for more than ten (10) years, re-appeared,

 causing her additional anxiety.

       205.   Although Nurse Bowles was ultimately recalled, she was not paid for

 some three (3) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. Nurse Bowles has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension.




                                           46
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22      Page 47 of 208 PageID #:
                                         47



 Nurse Donna Bryant

       206.   Nurse Donna Bryant was an employee of Ascension Health and

 St. Vincent Health at St. Vincent Carmel in Carmel, Indiana. Nurse Bryant had

 been employed by St. Vincent since December 1985. Nurse Bryant is a citizen and

 resident of Hamilton County, Indiana. Nurse Bryant worked in Outpatient Surgery

 as a pre-operative nurse. As a pre-operative nurse, Nurse Bryant assisted patients

 in the preparation and discharge from same day surgery, which included

 performing electrocardiograms, drawing patient blood, and obtaining patient

 history.

       207.   Nurse Bryant requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       208.   Ascension Health, St. Vincent Health, and St. Vincent Carmel denied

 Nurse Bryant’s request for a religious exemption and she was suspended without

 pay on November 12, 2021.

       209.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       210.   Ascension Health, St. Vincent Health, and St. Vincent Carmel could

 have granted Nurse Bryant’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       211.   After thirty-six (36) years of employment with Ascension Health and

 St. Vincent Health, Nurse Bryant was constructively discharged. Her suspension




                                          47
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 48 of 208 PageID #:
                                         48



 without pay, threatened termination and the uncertainty it caused was nerve

 racking and an extreme source of stress for Nurse Bryant. Nurse Bryant’s husband

 is critically injured, having suffered a spinal cord injury in October 2015. As an

 incomplete quadriplegic, Nurse Bryant’s husband requires continuous care for his

 condition and symptoms. During her unjustified suspension, Nurse Bryant worried

 endlessly about her husband’s care, including the need for a new physician and

 medication or not having access to those physicians or doctors due to the lack of

 health insurance coverage. Ultimately, the stress of the situation became too great

 for her, and Nurse Bryant determined that she would have to move on and leave

 her St. Vincent employment resulting in her constructive discharge.

       212.   Nurse Bryant has not been compensated for her suspension and

 constructive discharge. Nurse Bryant has not been compensated for the wages lost

 by being wrongfully placed on unpaid suspension.

 Ms. Samantha Cassidy

       213.   Ms. Samantha Cassidy is an employee of Ascension Health and

 St. Vincent Health at St. Vincent Carmel in Carmel, Indiana. Ms. Cassidy had been

 employed by St. Vincent Carmel since May 2012. Ms. Cassidy is a citizen and

 resident of Hamilton County, Indiana. Ms. Cassidy works in the Surgery

 Department as a Certified Surgical Technologist (“CST”) and Certified Surgical

 First Assistant (“CSFA”) and she serves on the Gynecology/Genitourinary team. As

 a CST and CSFA, Ms. Cassidy works under the supervision of a surgeon to facilitate

 the safe and effective conduct of surgical procedures. She also ensures that the




                                           48
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22      Page 49 of 208 PageID #:
                                         49



 operating room environment is safe, that equipment functions properly, and that

 operative procedure is conducted under conditions that maximize patient safety.

       214.   Ms. Cassidy requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       215.   Ascension Health, St. Vincent Health, and St. Vincent Carmel denied

 Ms. Cassidy’s request for a religious exemption and she was suspended without pay

 on November 12, 2021.

       216.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       217.   Ascension Health, St. Vincent Health, and St. Vincent Carmel could

 have granted Ms. Cassidy’s religious exemption without undue hardship and should

 have granted her requested religious exemption.

       218.   Ms. Cassidy’s unjustified suspension without pay and threatened job

 loss impacted both her mental and physical health. Ms. Cassidy’s income helps

 support her family, which includes her husband and two (2) children. During her

 suspension, Ms. Cassidy worried about their ability to pay the mortgage. The

 emotional anxiety and stress from the suspension and threatened termination was

 overwhelming and resulted in many sleepless nights.

       219.   Although Ms. Cassidy was ultimately recalled, she was not paid for

 some six (6) weeks while unilaterally and arbitrarily placed on unpaid suspension.




                                          49
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22         Page 50 of 208 PageID #:
                                          50



 Ms. Cassidy has not been compensated for the wages lost by being wrongfully

 placed on unpaid suspension.

       220.    Additionally, although Ms. Cassidy was recalled, St. Vincent Carmel

 recalled to her to a different work shift, which created an additional hardship for

 her and her family. As a mother of two (2) young children, the importance of being

 home in the evenings is invaluable and was available prior to Ms. Cassidy’s

 suspension.

       221.    Ms. Cassidy sought to recover her prior shift but was not allowed to do

 so by St. Vincent Carmel.

       222.    Had Ms. Cassidy not been wrongfully suspended without pay, she

 would have retained her prior shift.

       223.    Ultimately, Ms. Cassidy was constructively discharged and required to

 give up her job due to the failure to return her to her prior shift.

       224.    Ms. Cassidy is entitled to lost wages and reinstatement due to this

 constructive discharge and the failure to pay her during the time period she was

 wrongfully suspended.

 Ms. Erika Fowler

       225.    Ms. Erika Fowler was an employee of Ascension Health and

 St. Vincent Health at St. Vincent Carmel in Carmel, Indiana. Ms. Fowler had been

 employed by St. Vincent Carmel since August 2008. Ms. Fowler is a citizen and

 resident of Boone County, Indiana. Ms. Fowler worked at St. Vincent Carmel in the

 Surgery department as a CST where she prepared surgical suites for surgery,




                                            50
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 51 of 208 PageID #:
                                         51



 provided surgeons instruments and other supplies during surgery, and assists with

 preparing, transporting, positioning, and draping patients during surgery.

 Ms. Fowler also served as the orthopedic team lead where she was responsible for

 training staff for equipment use during surgery.

       226.   Ms. Fowler requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       227.   Ascension Health, St. Vincent Health, and St. Vincent Carmel denied

 Ms. Fowler’s request for a religious exemption and she was suspended without pay

 on November 12, 2021.

       228.   Ascension Health, St. Vincent Health, and St. Vincent Carmel failed to

 individually evaluate and properly assess her request for a religious exemption and

 establish “undue hardship.”

       229.   Ascension Health, St. Vincent Health, and St. Vincent Carmel could

 have granted Ms. Fowler’s religious exemption without undue hardship and should

 have granted her requested religious exemption.

       230.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel simply ignored the undue hardship standard and violated Title VII.

       231.   Ms. Fowler was suspended without pay on November 12, 2021 and

 threatened with termination from employment. As a single mother of three (3), her

 salary supports her family. The threat of termination meant losing her ability to

 pay her mortgage, the possible loss of her home, and inability to pay for her eldest




                                           51
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22         Page 52 of 208 PageID #:
                                          52



 son’s books, computer fees, and lunch meals. The stress from her suspension and

 the threat of termination caused her to experience significant stress and anxiety.

       232.    Although Ms. Fowler was ultimately recalled, she was not paid for

 some fifteen (15) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. Ms. Fowler has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension.

       233.    Additionally, although Ms. Fowler was recalled, St. Vincent Carmel

 recalled to her to a different work shift, which created an additional hardship for

 her and her family. As a mother of three (3) young children, the importance of being

 home in the evenings is invaluable and was available prior to Ms. Fowler’s

 suspension.

       234.    Ms. Fowler persistently sought to recover her prior shift but was not

 allowed to do so by St. Vincent Carmel.

       235.    Had Ms. Fowler not been wrongfully suspended without pay, she

 would have retained her prior shift.

       236.    Ultimately, Ms. Fowler was constructively discharged and required to

 give up her job due to the failure to return her to her prior shift.

       237.    Ms. Fowler is entitled to lost wages and reinstatement due to this

 constructive discharge and the failure to pay her during the time period she was

 wrongfully suspended.




                                            52
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22      Page 53 of 208 PageID #:
                                         53



 Mr. Richard Fulkerson

       238.   Mr. Richard Fulkerson was an employee of Ascension Health and

 St. Vincent Health at St. Vincent Carmel in Carmel, Indiana. Mr. Fulkerson had

 been employed by St. Vincent since February 2006. Mr. Fulkerson is a citizen and

 resident of Delaware County, Indiana. Mr. Fulkerson worked as an inpatient

 pharmacist in the pharmacy department where he played a critical role in the

 appropriate selection, dosing, administering, and dispensing of medication.

 Additionally, Mr. Fulkerson reviewed and assessed medication orders to identify,

 prevent, and resolve potential and actual drug related problems. Further, as a

 pharmacist, Mr. Fulkerson provided drug information and education to medical

 staff and patients.

       239.   Mr. Fulkerson requested a religious exemption from Ascension

 Health’s mandate that he receive the COVID-19 vaccine.

       240.   Ascension Health, St. Vincent Health, and St. Vincent Carmel denied

 Mr. Fulkerson’s request for a religious exemption and he was suspended without

 pay on November 12, 2021.

       241.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel failed to individually evaluate and properly assess his request for a

 religious exemption and establish “undue hardship.”

       242.   St. Vincent Carmel could have granted Mr. Fulkerson’s religious

 exemption without undue hardship and should have granted his requested religious

 exemption.




                                          53
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 54 of 208 PageID #:
                                         54



       243.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel simply ignored the undue hardship standard and violated Title VII.

       244.   Mr. Fulkerson was ultimately recalled on December 17, 2021.

 However, soon afterward, Mr. Fulkerson was terminated on January 5, 2022.

 Mr. Fulkerson’s termination was due to him seeking a religious exemption.

 Mr. Fulkerson’s unjustified suspension and termination of employment has created

 substantial financial hardship on his family. While missing one (1) paycheck

 created a serious loss, missing four (4) paychecks, then being terminated has had a

 devastating impact on his family. Mr. Fulkerson is responsible for providing

 medical insurance coverage for his family. The loss of medical insurance coverage

 has required both Mr. Fulkerson and his wife to forego medical treatment and

 medication. With nearly forty (40) years as a pharmacist in Indiana, and over

 fifteen (15) years with St. Vincent Health and St. Vincent Carmel, Mr. Fulkerson is

 without work and has been unable to locate comparable work. This situation may

 force him into an early retirement. Additionally, loss of his job has caused

 Mr. Fulkerson and his wife significant stress. Their adult son has autism. As their

 son’s primary caregivers, they have created a structured environment here in

 Indiana, which helps with his condition. However, the uncertainty of

 Mr. Fulkerson’s future as a result of the termination of his employment has created

 significant concern for Mr. Fulkerson and his wife due to the lack of stability and

 structure that resulted from loss of Mr. Fulkerson’s job, may undermine their son’s

 well-being and the care that he receives.




                                             54
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22         Page 55 of 208 PageID #:
                                          55



       245.   Mr. Fulkerson was not paid for some five (5) weeks while unilaterally

 and arbitrarily placed on unpaid suspension. Mr. Fulkerson has not been

 compensated for the wages lost by being wrongfully placed on unpaid suspension.

 Nurse Marzena Gaslawski

       246.   Nurse Marzena Gaslawski is an employee of Ascension Health and

 St. Vincent Health at St. Vincent Carmel in Carmel, Indiana. Nurse Gaslawski has

 been employed by St. Vincent Carmel since September 2018. Nurse Gaslawski is a

 citizen and resident of Hamilton County, Indiana. Nurse Gaslawski works in the

 Medical Surgical department as a Charge Nurse and works with other healthcare

 professionals to treat patients with various injuries, illnesses, or disabilities to

 ensure their continued well-being.

       247.   Nurse Gaslawski requested a religious exemption from Ascension

 Health’s mandate that she receive the COVID-19 vaccine.

       248.   Ascension Health, St. Vincent Health, and St. Vincent Carmel denied

 Nurse Gaslawski’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       249.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       250.   Ascension Health, St. Vincent Health, and St. Vincent Carmel could

 have granted Ms. Gaslawski’s religious exemption without undue hardship and

 should have granted her requested religious exemption.




                                            55
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 56 of 208 PageID #:
                                         56



       251.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel simply ignored the undue hardship standard and violated Title VII.

       252.   Nurse Gaslawski’s unjustified suspension without pay on November 12,

 2021 and threatened termination of employment impacted her mental well-being

 and stress levels, resulting in increased anxiety, stress, and weight gain.

       253.   Although Nurse Gaslawski was ultimately recalled, she was not paid

 for approximately six (6) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. Nurse Gaslawski has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension.

 Ms. Karen Hersh

       254.   Ms. Karen Hersh is an employee of Ascension Health and St. Vincent

 Health at St. Vincent Carmel Breast Center–Mammography in Carmel, Indiana.

 Ms. Hersh has been employed by St. Vincent Carmel Breast Center–Mammography

 since December 2015. Ms. Hersh is a citizen and resident of Hamilton County,

 Indiana. Ms. Hersh works as a mammographer technologist and assists physicians

 in the performance of diagnostic and/or therapeutic procedures by preparing the

 patient and operating the mammographic equipment in order to obtain diagnostic

 images.

       255.   Ms. Hersh requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.




                                           56
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22      Page 57 of 208 PageID #:
                                          57



       256.     Ascension Health, St. Vincent Health, and St. Vincent Carmel Breast

 Center–Mammography denied Ms. Hersh’s request for a religious exemption and

 she was suspended without pay on November 12, 2021.

       257.     However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel Breast Center–Mammography failed to individually evaluate and properly

 assess her request for a religious exemption and establish “undue hardship.”

       258.     Ascension Health, St. Vincent Health, and St. Vincent Carmel Breast

 Center–Mammography could have granted Ms. Hersh’s religious exemption without

 undue hardship and should have granted her requested religious exemption.

       259.     However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel Breast Center–Mammography simply ignored the undue hardship standard

 and violated Title VII.

       260.     Ms. Hersh’s unjustified suspension without pay on November 12, 2021,

 and threatened termination from employment caused her to experience extreme

 stress. Due to her suspension, Ms. Hersh withdrew funds from her savings account

 to pay her mortgage. The fear of running out of money and losing her home

 contributed to her stress. This extreme stress began to impact her health and she

 experienced sleepless nights, depression, anxiety, gastrointestinal issues, and

 weight loss.

       261.     Although Ms. Hersh was ultimately recalled, she was not paid for

 approximately six (6) weeks while unilaterally and arbitrarily placed on unpaid




                                           57
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 58 of 208 PageID #:
                                         58



 suspension. Ms. Hersh has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension.

 Ms. Brandy Kehrt

       262.   Ms. Brandy Kehrt was an employee of Ascension Health and

 St. Vincent Health at St. Vincent Carmel in Carmel, Indiana. Ms. Kehrt had been

 employed by St. Vincent Carmel since February 2013. Ms. Kehrt is a citizen and

 resident of Marion County, Indiana. Ms. Kehrt worked in the Surgery Department

 as a CST, under the supervision of a surgeon to facilitate the safe and effective

 conduct of surgical procedures. As a CST, Ms. Kehrt ensured that the operating

 room environment was safe, that equipment functioned properly, and that operative

 procedures were conducted under conditions that maximized patient safety.

       263.   Ms. Kehrt requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       264.   Ascension Health, St. Vincent Health, and St. Vincent Carmel denied

 Ms. Kehrt’s request for a religious exemption and she was suspended without pay

 on November 12, 2021.

       265.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       266.   Ascension Health, St. Vincent Health, and St. Vincent Carmel could

 have granted Ms. Kehrt’s religious exemption without undue hardship and should

 have granted her requested religious exemption.




                                           58
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 59 of 208 PageID #:
                                        59



       267.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel simply ignored the undue hardship standard and violated Title VII.

       268.   Ms. Kehrt’s unjustified suspension without pay and threatened job loss

 created extreme stress and adversely impacted her mental health. During her

 suspension, Ms. Kehrt began to experience depression, headaches, and nausea. She

 cried daily and was exhausted from this emotional time period.

       269.   Although Ms. Kehrt was ultimately recalled, she was not paid for some

 four (4) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Ms. Kehrt has not been compensated for the wages lost by being wrongfully placed

 on unpaid suspension.

 Nurse Cecilia Lesch

       270.   Nurse Cecilia Lesch was an employee of Ascension Health and

 St. Vincent Health at St. Vincent Carmel in Carmel, Indiana. Nurse Lesch had been

 employed with St. Vincent Carmel since June 2020. Nurse Lesch is a citizen and

 resident of Huntington County, Indiana. Nurse Lesch worked in Perioperative

 Services, where she prepared patients for surgery and provided after care for

 patients in the acute postoperative/post-anesthesia phase, monitoring and treating

 for any complications.

       271.   Nurse Lesch requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.




                                          59
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 60 of 208 PageID #:
                                         60



       272.    Ascension Health, St. Vincent Health, and St. Vincent Carmel denied

 Nurse Lesch’s request for a religious exemption and she was suspended without pay

 on November 12, 2021.

       273.    However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       274.    Ascension Health, St. Vincent Health, and St. Vincent Carmel could

 have granted Nurse Lesch’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       275.    However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel simply ignored the undue hardship standard and violated Title VII.

       276.    Nurse Lesch’s unjustified suspension without pay created significant

 stress and impacted her mental health and finances. Newly into her career, and

 having the sole responsibility for her finances, the unjustified suspension and threat

 of termination left Nurse Lesch with no other option but to relocate to Northern

 Indiana for new employment. She left St. Vincent Carmel and was constructively

 discharged.

       277.    Nurse Lesch was not paid for some six (6) weeks while unilaterally and

 arbitrarily placed on unpaid suspension. Nurse Lesch has not been compensated for

 the wages lost by being wrongfully placed on unpaid suspension. She also has not

 been compensated for the constructive discharge and damages she suffered as a

 result including moving expenses and a reduction in wages.




                                          60
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22      Page 61 of 208 PageID #:
                                         61



 Nurse Teresa Lesch

       278.   Nurse Teresa Lesch is an employee of Ascension Health and

 St. Vincent Health at St. Vincent Carmel in Carmel, Indiana. Nurse Lesch has been

 employed with St. Vincent Carmel since March 2008. Nurse Lesch is a citizen and

 resident of Marion County, Indiana. Nurse Lesch works in the Surgery Department

 where she serves as the primary coordinator for well-coordinated patient care.

       279.   Nurse Lesch requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       280.   Ascension Health, St. Vincent Health, and St. Vincent Carmel denied

 Nurse Lesch’s request for a religious exemption and she was suspended without pay

 on November 12, 2021.

       281.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       282.   Ascension Health, St. Vincent Health, and St. Vincent Carmel could

 have granted Nurse Lesch’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       283.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel simply ignored the undue hardship standard and violated Title VII.

       284.   Nurse Lesch’s unjustified suspension without pay and threatened

 termination of her employment adversely impacted her stress levels and mental

 health significantly. Nurse Lesch’s income supports her family, including her son’s




                                          61
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22      Page 62 of 208 PageID #:
                                          62



 private education expenses. Without her income, Nurse Lesch was concerned about

 how she and her husband would be able to afford their son’s continued education.

 Additionally, after thirteen (13) years with St. Vincent Carmel, it was very stressful

 and challenging to find comparable employment. Instead of enjoying the holidays,

 Nurse Lesch spent countless hours seeking new employment. This job search

 contributed to her stress.

       285.   Although Nurse Lesch was ultimately recalled, she was not paid for

 some six (6) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Nurse Lesch has not been compensated for the wages lost by being wrongfully

 placed on unpaid suspension.

 Ms. Leisa Randall

       286.   Ms. Leisa Randall is an employee of Ascension Health and St. Vincent

 Health at St. Vincent Carmel in Carmel, Indiana. Ms. Randall has been employed

 with St. Vincent Carmel since December 2001. Ms. Randall is a citizen and resident

 of Hamilton County, Indiana. Ms. Randall works as a Unit Support

 Representative/Patient Care Technician in the Emergency Room, where she

 communicates with patients, families, physicians, and other healthcare team

 members about patient care. In addition, Ms. Randall schedules patients for

 individual appointments, assembles and maintains patient charts, coordinates and

 schedules meetings, and assists with maintaining supplies.

       287.   Ms. Randall requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.




                                           62
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22     Page 63 of 208 PageID #:
                                          63



       288.   Ascension Health, St. Vincent Health, and St. Vincent Carmel denied

 Ms. Randall’s request for a religious exemption and she was suspended without pay

 on November 12, 2021.

       289.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       290.   Ascension Health, St. Vincent Health, and St. Vincent Carmel could

 have granted Ms. Randall’s religious exemption without undue hardship and should

 have granted her requested religious exemption.

       291.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel simply ignored the undue hardship standard and violated Title VII.

       292.   Ms. Randall’s income helps support her family. Due to her suspension,

 Ms. Randall and her husband had to rely on their limited savings for basic

 necessities, including gasoline, food, and other needed items. The stress and worry

 over the loss of financial security caused Ms. Randall extreme anxiety. The severe

 stress caused by her suspension, and lack of income, impacted her health, and she

 began to experience sleepless nights and her eczema significantly worsened.

       293.   Although Ms. Randall was ultimately recalled, she was not paid for

 some six (6) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Ms. Randall has not been compensated for the wages lost by being wrongfully

 placed on unpaid suspension.




                                          63
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 64 of 208 PageID #:
                                         64



 Ms. Victoria Willour

       294.   Ms. Victoria Willour is an employee of Ascension Health and

 St. Vincent Health at St. Vincent Carmel in Carmel, Indiana. Ms. Willour is a

 citizen and resident of Hamilton County, Indiana. Ms. Willour has been employed

 by St. Vincent Carmel since May 2014. Ms. Willour works in the Mother/Baby unit

 as a Unit Services Clerk providing compassionate care to newborns and their

 families. This care may include admitting newborns, managing charts, preparing

 paternity affidavits and birth certificates, processing transfers, and answering

 telephone calls.

       295.   Ms. Willour requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       296.   Ascension Health, St. Vincent Health, and St. Vincent Carmel denied

 Ms. Willour’s request for a religious exemption and she was suspended without pay

 on November 12, 2021.

       297.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       298.   Ascension Health, St. Vincent Health, and St. Vincent Carmel could

 have granted Ms. Willour’s religious exemption without undue hardship and should

 have granted her requested religious exemption.

       299.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Carmel simply ignored the undue hardship standard and violated Title VII.




                                          64
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22       Page 65 of 208 PageID #:
                                          65



       300.     Ms. Willour was suspended without pay on November 12, 2021 and

 threatened with termination from employment. As a single parent without any

 familial support, Ms. Willour faced one of the hardest decisions of her life –

 abandoning her religious beliefs or losing her job and facing the uncertainty as to

 whether she could provide for her son. While Ms. Willour had some limited savings,

 it was not enough to cover her living expenses. She continued to borrow money and

 dug herself into a financial hole. The constant battle between choosing to follow her

 religious beliefs or succumbing to her employers’ coercive tactics so that she could

 guarantee stability for her son created significant stress, anxiety, and worry for

 Ms. Willour.

       301.     Although Ms. Willour was ultimately recalled, she was not paid for

 some five (5) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Ms. Willour has not been compensated for the wages lost by being wrongfully placed

 on unpaid suspension.

                                   St. Vincent Dunn
 Nurse Monica Poole

       302.     Nurse Monica Poole was an employee of Ascension Health and

 St. Vincent Health at St. Vincent Dunn in Bedford, Indiana. Nurse Poole had been

 employed with St. Vincent Dunn since June 2008. Nurse Poole is a citizen and

 resident of Lawrence County, Indiana. Nurse Poole worked in the Medical Surgical

 Unit and was responsible for patient care, which included, but was not limited to,

 admitting patients and assessing and reporting their conditions and concerns to




                                           65
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 66 of 208 PageID #:
                                         66



 treatment providers, discussing patient concerns and updates with family, and

 educating patients and their families about their health and continued treatment.

       303.   Nurse Poole requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       304.   Ascension Health, St. Vincent Health, and St. Vincent Dunn denied

 Nurse Poole’s request for a religious exemption and she was suspended without pay

 on November 12, 2021.

       305.   However, Ascension Health, St. Vincent Health, and St. Vincent Dunn

 failed to individually evaluate and properly assess her request for a religious

 exemption and establish “undue hardship.”

       306.   Ascension Health, St. Vincent Health, and St. Vincent Dunn could

 have granted Nurse Poole’s religious exemption without undue hardship and should

 have granted her requested religious exemption.

       307.   However, Ascension Health, St. Vincent Health, and St. Vincent Dunn

 simply ignored the undue hardship standard and violated Title VII.

       308.   During Nurse Poole’s suspension, she had no income and had to cash

 out her paid time off to pay for basic necessities. She suffered stress, worry and

 anxiety about her unjustified suspension and loss of financial security, which

 caused Nurse Poole to experience insomnia, anxiousness, and irritability. As a

 result, Nurse Poole was constructively discharged from her employment.

       309.   Although Nurse Poole was ultimately recalled, she was not paid for

 some six (6) weeks while unilaterally and arbitrarily placed on unpaid suspension.




                                           66
Case 1:22-cv-01097-JPH-MG         Document 1 Filed 05/27/22     Page 67 of 208 PageID #:
                                            67



 Nurse Poole consequently left employment with Ascension Health, St. Vincent

 Health, and St. Vincent Dunn. Nurse Poole has not been compensated for the wages

 lost by being wrongfully placed on unpaid suspension and constructively discharged.

 Nurse Keri Stultz

        310.      Nurse Keri Stultz is an employee of Ascension Health and St. Vincent

 Health at St. Vincent Dunn in Bedford, Indiana. Nurse Stultz is a citizen and

 resident of Lawrence County, Indiana. Nurse Stultz has been employed by

 St. Vincent Dunn since September 2013. Nurse Stultz works in the Case

 Management department as a Critical Access Case Manager and had previously

 served as a case manager for three (3) of the seven (7) critical access hospitals in the

 State of Indiana. As the Critical Access Case Manager, she was responsible for

 planning and coordinating care for patients from pre-admission through post-

 discharge by working collaboratively with the multidisciplinary team. Through her

 efforts, she ensured that patients were assigned the appropriate level of care,

 received appropriate services, and were transitioned to the proper post-discharge

 level of care.

        311.      Nurse Stultz requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

        312.      Ascension Health, St. Vincent Health, and St. Vincent Dunn denied

 Nurse Stultz’s request for a religious exemption and she was suspended without

 pay on November 12, 2021.




                                             67
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 68 of 208 PageID #:
                                         68



       313.   However, Ascension Health, St. Vincent Health, and St. Vincent Dunn

 failed to individually evaluate and properly assess her request for a religious

 exemption and establish “undue hardship.”

       314.   Ascension Health, St. Vincent Health, and St. Vincent Dunn could

 have granted Nurse Stultz’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       315.   However, Ascension Health, St. Vincent Health, and St. Vincent Dunn

 simply ignored the undue hardship standard and violated Title VII.

       316.   During Nurse Stultz’s unjustified suspension without pay, her family,

 which includes her husband and four (4) children, faced extreme financial hardship

 and both Nurse Stultz and her husband had to find immediate alternative and

 additional employment. Due to limited available options, Nurse Stultz accepted a

 position which required more physical labor. Unfortunately, this position

 exacerbated a prior medical condition which caused her to experience physical pain.

 Even with her temporary work, Nurse Stultz’s family had to seek out charitable

 food donations, which caused her to experience significant stress.

       317.   Although Nurse Stultz was ultimately recalled, she was demoted.

 Moreover, she was not paid for some six (6) weeks while unilaterally and arbitrarily

 placed on unpaid suspension. Nurse Stultz has not been compensated for the wages

 lost by being wrongfully placed on unpaid suspension. Nor has she been

 compensated for the diminished wages received as a result of her wrongful




                                           68
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 69 of 208 PageID #:
                                         69



 demotion which is entirely attributable to the fact that she was wrongfully denied a

 religious exemption.

                                 St. Vincent Fishers

 Mr. Patrick Fowler

       318.   Mr. Patrick Fowler is an employee of Ascension Health and St. Vincent

 Health at St. Vincent Fishers in Fishers, Indiana. Mr. Fowler has been employed by

 St. Vincent Fishers since August 2015. Mr. Fowler is a citizen and resident of

 Clinton County, Indiana. Mr. Fowler works as a Security Officer for St. Vincent

 Fishers and in that capacity, he assists, aids, and protects hospital patients and

 employees through the execution and enforcement of St. Vincent’s Health System

 and Security Program.

       319.   Mr. Fowler requested a religious exemption from Ascension Health’s

 mandate that he receive the COVID-19 vaccine.

       320.   Ascension Health, St. Vincent Health, and St. Vincent Fishers denied

 Mr. Fowler’s request for a religious exemption.

       321.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Fishers failed to individually evaluate and properly assess his request for a

 religious exemption and establish “undue hardship.”

       322.   Ascension Health, St. Vincent Health, and St. Vincent Fishers could

 have granted Mr. Fowler’s religious exemption without undue hardship and should

 have granted his requested religious exemption.




                                           69
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22         Page 70 of 208 PageID #:
                                          70



       323.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Fishers simply ignored the undue hardship standard and violated Title VII.

       324.   Consequently, facing uncertainty as to whether he could financially

 provide for his family, Mr. Fowler received the COVID-19 vaccine despite the fact

 that to do so contradicted his religious convictions. This was a gut wrenching and

 emotional decision for Mr. Fowler who ultimately felt he had to put his obligation as

 a father to provide for his family over the exercise of his religious faith.

       325.   This decision has caused him to experience extreme stress and turmoil.

 On September 16, 2021, after receiving the COVID vaccine, Mr. Fowler suffered a

 heart attack. Mr. Fowler believes that the stress, anxiety and crisis of conscience

 created by Ascension’s mandate and failure to approve his religious exemption

 caused or contributed tohis heart attack.

 Mr. Matt Horne

       326.   Mr. Matthew Horne is an employee of Ascension Health and

 St. Vincent Health at St. Vincent Fishers in Fishers, Indiana. Mr. Horne has been

 employed by St. Vincent Fishers since August 2018. Mr. Horne is a citizen and

 resident of Hamilton County, Indiana. Mr. Horne works as a Staff Chaplain in the

 Spiritual Care department where he provides religious and spiritual care and

 counsel to patients, their families, and staff.

       327.   Mr. Horne requested a religious exemption from Ascension Health’s

 mandate that he receive the COVID-19 vaccine.




                                             70
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 71 of 208 PageID #:
                                         71



       328.   Ascension Health, St. Vincent Health, and St. Vincent Fishers denied

 Mr. Horne’s request for a religious exemption and he was suspended without pay on

 November 12, 2021.

       329.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Fishers failed to individually evaluate and properly assess his request for a

 religious exemption and establish “undue hardship.”

       330.   Ascension Health, St. Vincent Health, and St. Vincent Fishers could

 have granted Mr. Horne’s religious exemption without undue hardship and should

 have granted his requested religious exemption.

       331.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Fishers simply ignored the undue hardship standard and violated Title VII.

       332.   Mr. Horne’s unjustified suspension without pay on November 12, 2021

 and threatened termination of his employment caused him to experience significant

 stress, as Mr. Horne’s income is essential to provide for his family. Due to his

 unjustified suspension, the weight of his family’s financial obligations rested solely

 on his wife’s income, which caused Mr. Horne to experience extreme stress, loss of

 purpose, loss of self-esteem, and motivation. This loss began to manifest physically

 through a loss of appetite and weight loss.

       333.   Although Mr. Horne was ultimately recalled, he was not paid for

 approximately six (6) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. Mr. Horne has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension.




                                           71
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 72 of 208 PageID #:
                                         72



 Mr. Steven Ohlheiser

        334.   Mr. Steven Ohlheiser is an employee of Ascension Health and

 St. Vincent Health at St. Vincent Fishers in Fishers, Indiana. Mr. Ohlheiser has

 been employed with St. Vincent Fishers since August 2019. Mr. Ohlheiser is a

 citizen and resident of Madison County, Indiana. Mr. Ohlheiser works as a Security

 Officer. He is responsible for providing for the safety and well-being of others and

 deterring criminal activity through implementation of the facility’s security

 measures and rules. As a security officer, Mr. Ohlheiser protects the hospital’s

 property, employees, patients, and visitors. He also provides training to other

 officers.

        335.   Mr. Ohlheiser requested a religious exemption from Ascension Health’s

 mandate that he receive the COVID-19 vaccine.

        336.   Ascension Health, St. Vincent Health, and St. Vincent Fishers denied

 Mr. Ohlheiser’s request for a religious exemption and he was suspended without

 pay on November 12, 2021.

        337.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Fishers failed to individually evaluate and properly assess his request for a

 religious exemption and establish “undue hardship.”

        338.   Ascension Health, St. Vincent Health, and St. Vincent Fishers could

 have granted Mr. Ohlheiser’s religious exemption without undue hardship and

 should have granted his requested religious exemption.




                                           72
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22      Page 73 of 208 PageID #:
                                          73



       339.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Fishers simply ignored the undue hardship standard and violated Title VII.

       340.   Mr. Ohlheiser’s unjustified suspension without pay on November 12,

 2021, and threatened termination from employment impacted his stress levels and

 mental and emotional health. As Mr. Ohlheiser’s income provides for the essential

 needs of his family, his suspension caused his family to experience a substantial

 financial hardship, which contributed to his anxiety and stress.

       341.   Although Mr. Ohlheiser was ultimately recalled, he was not paid for

 some six (6) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Mr. Ohlheiser has not been compensated for the wages lost by being wrongfully

 placed on unpaid suspension.

 Nurse Lisa Webb

       342.   Nurse Lisa Webb was an employee of Ascension Health and

 St. Vincent Health at St. Vincent Fishers in Fishers, Indiana. Nurse Webb is a

 citizen and resident of Madison County, Indiana. Nurse Webb worked as a

 registered nurse in various departments, including the Operating Room (“OR”),

 Emergency Department (“ED”), and Home Health Care. Generally, Nurse Webb

 directed patient care and monitoring in each department. While in the OR and ED,

 her duties included, but were not limited to, assisting with surgeries, providing

 wound care, and IV administration.




                                           73
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 74 of 208 PageID #:
                                         74



       343.   While employed with St. Vincent Fishers, Nurse Webb requested a

 religious exemption from Ascension Health’s mandate that she receive the

 COVID-19 vaccine.

       344.   Ascension Health, St. Vincent Health, and St. Vincent Fishers denied

 Nurse Webb’s request for a religious exemption and she was suspended without pay

 on November 12, 2021.

       345.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Fishers failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       346.   Ascension Health, St. Vincent Health, and St. Vincent Fishers could

 have granted Nurse Webb’s religious exemption without undue hardship and should

 have granted her requested religious exemption.

       347.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Fishers simply ignored the undue hardship standard and violated Title VII.

       348.   Nurse Webb’s unjustified suspension without pay on November 12,

 2021 and subsequent January 22, 2022 termination has caused Nurse Webb to

 experience significant grief. She was performing well in her job and her suspension

 and termination were solely due to the refusal to grant her a religious exemption.

 Due to her unjustified suspension and termination, she is unable to financially

 support her family. Nurse Webb is unable to pay her car payment, help buy

 groceries, or provide health insurance for her family. Her unjustified suspension

 and termination have caused her to experience physical, emotional, spiritual, and




                                          74
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22        Page 75 of 208 PageID #:
                                          75



 financial grief. Further, Nurse Webb faces concerns, stress and uncertainty as to

 whether this termination will act like a “Scarlet Letter,” making it difficult to find

 work elsewhere and impairing her successful career as a nurse.

       349.   Nurse Webb was not paid while unilaterally and arbitrarily placed on

 unpaid suspension. Nurse Webb has not been compensated for the wages lost by

 being wrongfully placed on unpaid suspension and for being wrongfully terminated.

                              St. Vincent Heart Center

 Kristina Barga

       350.   Nurse Kristina Barga is an employee of Ascension Health and

 St. Vincent Health at the St. Vincent Heart Center in Indianapolis, Indiana.

 Nurse Barga has been employed by the St. Vincent Heart Center since March 2021.

 Nurse Barga is a citizen and resident of Hamilton County, Indiana. Nurse Barga

 works in the Short Stay Unit where she serves as a primary care coordinator and

 provides well-coordinated patient care including admitting and preparing patients

 for cardiac surgeries, carrying out physician orders, and assessing and coordinating

 patient discharge planning needs.

       351.   Nurse Barga requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       352.   Ascension Health, St. Vincent Health, and the St. Vincent Heart

 Center denied Nurse Barga’s request for a religious exemption and she was

 suspended without pay on November 12, 2021.




                                            75
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22     Page 76 of 208 PageID #:
                                          76



       353.   However, Ascension Health, St. Vincent Health, and the St. Vincent

 Heart Center failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       354.   Ascension Health, St. Vincent Health, and the St. Vincent Heart

 Center could have granted Nurse Barga’s religious exemption without undue

 hardship and should have granted her requested religious exemption.

       355.   However, Ascension Health, St. Vincent Health, and the St. Vincent

 Heart Center simply ignored the undue hardship standard and violated Title VII.

       356.   During Nurse Barga’s unjustified suspension without pay, she did not

 have medical insurance coverage. Consequently, she had to cancel a series of

 physical therapy and dental appointments. Moreover, due to the lack of medical

 insurance coverage, she had to pay full cost for her seizure medication, which was

 previously covered. Both circumstances created significant stress and anxiety.

 Additionally, Nurse Barga lost countless hours of sleep due to her unjustified

 suspension, which began to impact many of her personal relationships.

       357.   Although Nurse Barga was ultimately recalled, she was not paid for

 some five (5) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Nurse Barga has not been compensated for the wages lost by being wrongfully

 placed on unpaid suspension.

 Nurse Tracey Harbaugh

       358.   Nurse Tracey Harbaugh is an employee of Ascension Health and

 St. Vincent Health at the St. Vincent Heart Center in Indianapolis, Indiana.




                                          76
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 77 of 208 PageID #:
                                         77



 Nurse Harbaugh has been employed by the St. Vincent Heart Center since

 March 2003. Nurse Harbaugh is a citizen and resident of Hamilton County,

 Indiana. Nurse Harbaugh works in the Short Stay Unit where she prepares

 patients for procedures including cardiac catheterizations, TEEs, cardioversions,

 PV surgeries, and open-heart surgery, as well as assisting recovering patients from

 these procedures and providing discharge instructions and follow-up.

       359.   Nurse Harbaugh requested a religious exemption from Ascension

 Health’s mandate that she receive the COVID-19 vaccine.

       360.   Ascension Health, St. Vincent Health, and the St. Vincent Heart

 Center denied Nurse Harbaugh’s request for a religious exemption and she was

 suspended without pay on November 12, 2021.

       361.   However, Ascension Health, St. Vincent Health, and the St. Vincent

 Heart Center failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       362.   Ascension Health, St. Vincent Health, and the St. Vincent Heart

 Center could have granted Nurse Harbaugh’s religious exemption without undue

 hardship and should have granted her requested religious exemption.

       363.   However, Ascension Health, St. Vincent Health, and the St. Vincent

 Heart Center simply ignored the undue hardship standard and violated Title VII.

       364.   During Nurse Harbaugh’s unjustified suspension without pay, she had

 to put off necessary doctor visits until her new insurance was in place. She also had

 to withdraw money from her savings account in order to make ends meet. She was




                                          77
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 78 of 208 PageID #:
                                         78



 heartbroken that after fifteen (15) years of faithful service, she was denied a

 religious exemption and had to seek employment elsewhere. St. Vincent’s disloyalty

 and lack of regard for her service caused her significant stress, anxiety,

 disappointment, emotional pain and suffering.

       365.   Although Nurse Harbaugh was ultimately recalled, she was not paid

 for at least four (4) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. Nurse Harbaugh has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension.

 Nurse Michelle Landis

       366.   Nurse Michelle Landis is an employee of Ascension Health and

 St. Vincent Health at the St. Vincent Heart Center in Indianapolis, Indiana.

 Nurse Landis has been employed with the St. Vincent Heart Center since

 January 2021. Nurse Landis is a citizen and resident of Hamilton County, Indiana.

 Nurse Landis works in the Progressive Coronary Care Unit where she provides care

 to inpatients experiencing diseases of the heart.

       367.   Nurse Landis requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       368.   Ascension Health, St. Vincent Health, and the St. Vincent Heart

 Center denied Nurse Landis’ request for a religious exemption and she was

 suspended without pay on November 12, 2021.




                                           78
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22       Page 79 of 208 PageID #:
                                          79



       369.   However, Ascension Health, St. Vincent Health, and the St. Vincent

 Heart Center failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       370.   Ascension Health, St. Vincent Health, and the St. Vincent Heart

 Center could have granted Nurse Landis’ religious exemption without undue

 hardship and should have granted her requested religious exemption.

       371.   However, Ascension Health, St. Vincent Health, and the St. Vincent

 Heart Center simply ignored the undue hardship standard and violated Title VII.

       372.   Nurse Landis’ unjustified suspension without pay and threatened

 termination of her employment caused great stress and significantly impacted her

 emotional well-being. Nurse Landis is the sole income provider for her family, as

 her husband continues to pursue his degree and cares for the home and children.

 Consequently, her income is the sole source for her family to pay for all necessities,

 including rent, utilities, medical insurance coverage, and groceries. Her unjustified

 suspension and threatened termination caused to her experience severe stress, as

 she was uncertain how she would provide for her family.

       373.   Although Nurse Landis was ultimately recalled, she was not paid for

 some six (6) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Nurse Landis has not been compensated for the wages lost by being wrongfully

 placed on unpaid suspension.




                                           79
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 80 of 208 PageID #:
                                         80



          St. Vincent-Indianapolis, St. Vincent Hospital-Indianapolis,
                  or Ascension Health-St. Vincent-Indianapolis

 Nurse Josie Brown

       374.   Nurse Josie Brown was an employee of Ascension Health and

 St. Vincent Health at St. Vincent-Indianapolis in Indianapolis, Indiana.

 Nurse Brown had been employed by St. Vincent-Indianapolis since June 2019.

 Nurse Brown is a citizen and resident of Marion County, Indiana. Nurse Brown

 worked in the Trauma Neuro Intensive Care Unit, where she provided specialized

 care for patients suffering from various injuries and/or ailments, including but not

 limited to, strokes, traumatic brain injuries, gunshot wounds, seizures, organ

 failure, broken necks, and injuries from motor vehicle accidents.

       375.   Nurse Brown requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       376.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 denied Nurse Brown’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       377.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 failed to individually evaluate and properly assess her request for a religious

 exemption and establish “undue hardship.”

       378.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 could have granted Nurse Brown’s religious exemption without undue hardship and

 should have granted her requested religious exemption.




                                           80
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 81 of 208 PageID #:
                                         81



       379.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis simply ignored the undue hardship standard and violated Title VII.

       380.   Nurse Brown was not paid for some eight (8) weeks while unilaterally

 and arbitrarily placed on unpaid suspension. Nurse Brown has not been

 compensated for the wages lost by being wrongfully placed on unpaid suspension.

       381.   As it became clear that Ascension Health’s coercive process and

 religious discrimination was forcing healthcare workers to abandon their religious

 objections and receive the vaccination against their will, Nurse Brown left her

 employment with St. Vincent-Indianapolis and was constructively discharged.

 While Nurse Brown was able to obtain new employment, her income has suffered,

 as she took a substantial pay cut. The loss of income has contributed to further

 stress and anxiety.

 Nurse Robin Burns

       382.   Nurse Robin Burns is an employee of Ascension Health and St. Vincent

 Health at St. Vincent-Indianapolis in Indianapolis, Indiana. Nurse Burns has been

 employed by St. Vincent-Indianapolis since April 1994. Nurse Burns is a citizen and

 resident of Marion County, Indiana. Nurse Burns works in the Mother/Baby Unit

 where she cares for mothers and infants post-delivery.

       383.   Nurse Burns requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.




                                          81
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 82 of 208 PageID #:
                                         82



       384.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 denied Nurse Burns’ request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       385.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       386.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 could have granted Nurse Burns’ religious exemption without undue hardship and

 should have granted her requested religious exemption.

       387.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis simply ignored the undue hardship standard and violated Title VII.

       388.   As result of Nurse Burns’ unjustified suspension without pay she

 suffered from high levels of stress. Due to her unjustified suspension, she

 experienced embarrassment, humiliation, stress, and shame, which created

 emotional turmoil and anxiety.

       389.   Although Nurse Burns was ultimately recalled, she was not paid for

 some seven (7) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. Nurse Burns has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension.

 Nurse Chad Denney

       390.   Nurse Chad Denney is an employee of Ascension Health and

 St. Vincent Health at St. Vincent-Indianapolis in Indianapolis, Indiana.




                                           82
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 83 of 208 PageID #:
                                         83



 Nurse Denney has been employed by St. Vincent-Indianapolis since May 2001.

 Nurse Denney is a citizen and resident of Boone County, Indiana. Nurse Denney

 works in the Adult Emergency Room as a Clinical Supervisor. As the Clinical

 Supervisor, Nurse Denney oversees patient care and is responsible for staffing,

 patient assignments, and communication with the providers and other nursing

 leadership.

       391.    Nurse Denney requested a religious exemption from Ascension

 Health’s mandate that he receive the COVID-19 vaccine.

       392.    Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 denied Nurse Denney’s request for a religious exemption and he was suspended

 without pay on November 12, 2021.

       393.    However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis failed to individually evaluate and properly assess his request for a

 religious exemption and establish “undue hardship.”

       394.    Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 could have granted Nurse Denney’s religious exemption without undue hardship

 and should have granted his requested religious exemption.

       395.    However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis simply ignored the undue hardship standard and violated Title VII.

       396.    As result of Nurse Denney’s unjustified suspension without pay, he

 suffered from physical and mental distress, loss of sleep, exhaustion, and anxiety.

 Additionally, he has suffered substantial financial and professional losses. While




                                          83
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 84 of 208 PageID #:
                                         84



 St. Vincent-Indianapolis ultimately granted Nurse Denney’s religious exemption on

 or about February 2, 2022, he was only given the prospect of returning to a non-

 supervisory position and only on an as needed basis. In order to provide for and

 protect his family, Nurse Denney, who is the sole provider, sought alternative

 employment due to the voluntary resignation status communicated by Ascension.

 Nurse Denney is currently working on a short-term contract with another

 healthcare provider as Ascension has not made full time work available to him. The

 contract job does not provide paid time-off. As a result, Nurse Denney has lost the

 work-life balance that money cannot replace. As stated on Ascension Health’s

 website, “…work-life balance is vital to your ability to flourish personally and

 professionally.” As a St. Vincent-Indianapolis nurse, Nurse Denney earned generous

 paid time-off that allowed him to rest and recharge with his family. He lost his

 seniority paid time off, which would have allowed him to spend over six (6) weeks

 per year with his wife and children. Nurse Denney has lost memories and

 experiences with his family that cannot be replaced or fully compensated. Due to his

 demotion, he has lost a significant amount of yearly pay.

       397.   Additionally, although Nurse Denney was ultimately recalled, he was

 not paid for some six (6) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. Moreover, as stated above, Nurse Denney was not recalled to an

 equivalent position. Nurse Denney has not been compensated for the wages lost by

 being wrongfully placed on unpaid suspension. He is losing wages every week as he




                                           84
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22       Page 85 of 208 PageID #:
                                          85



 works in a less well-paying job, waiting for St. Vincent-Indianapolis to restore him

 to his former position.

 Dr. Joshua Frederick

       398.   Joshua Frederick, M.D. served as a physician for Ascension Health and

 St. Vincent Health at St. Vincent-Indianapolis from June 2016. He is a citizen and

 resident of Boone County, Illinois. Dr. Frederick served in a variety of roles,

 including as the Chief Resident of the Internal Medicine and Family Medicine

 residency. Dr. Frederick became a part of the faculty for the Family Medicine

 residency program. Dr. Frederick also worked in the labor and delivery unit

 delivering babies and caring for newborns and postpartum mothers and as a

 hospitalist. The remainder of his time was spent in the primary care center clinic.

 As an upper-level resident, he was called in multiple times for additional shifts to

 help care for many COVID patients in the medical ICU. He also regularly took care

 of hospitalized COVID patients on the inpatient units as a resident and as faculty.

       399.   Dr. Frederick, like all physicians with St. Vincent Health and

 St. Vincent-Indianapolis, was employed at all times pursuant to a written

 employment contract for a specific term between Dr. Frederick, and St. Vincent-

 Indianapolis. Dr. Frederick’s written employment contract contains a provision at

 paragraph 8.8 stating that the provider “will not distribute this Agreement or any

 part thereof[.]

       400.   Dr. Frederick requested a religious exemption from Ascension Health’s

 mandate that he receive the COVID-19 vaccine.




                                           85
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 86 of 208 PageID #:
                                         86



       401.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 denied Dr. Frederick’s request for a religious exemption and he was to be suspended

 without pay on November 12, 2021.

       402.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis failed to individually evaluate and properly assess his request for a

 religious exemption and establish “undue hardship.”

       403.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 could have granted Dr. Frederick’s religious exemption without undue hardship and

 should have granted his requested religious exemption.

       404.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis simply ignored the undue hardship standard and violated Title VII.

       405.   Ascension Health’s and St. Vincent Health’s threatened termination of

 Dr. Frederick created severe hardship for Dr. Frederick and operated as a

 constructive discharge.

       406.   Dr. Frederick recognized that he would have to immediately resign

 from St. Vincent otherwise once he was terminated as St. Vincent told him he would

 be, he would face extreme difficulties in being re-credentialed and would find it

 difficult to find work as a physician elsewhere. St. Vincent advised him that he

 would be terminated “for cause” and Dr. Frederick recognized that a termination

 “for cause” would impair his ability to be employed elsewhere and potentially

 restrict his advancement in the profession. Furthermore, St. Vincent advised that it




                                           86
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 87 of 208 PageID #:
                                         87



 would enforce his covenant not to compete thereby barring him from employment in

 Indianapolis, Indiana.

       407.   Accordingly, Dr. Frederick was required to immediately seek work

 elsewhere and although he was able to find employment in Illinois in the Beloit

 Health System, he was unable to begin work until January 31, 2022, due to

 credentialing and transitioning issues. Therefore, the failure to grant Dr. Frederick

 a religious exemption caused him to be without income for more than two and-a-half

 months. Dr. Frederick has not been compensated for his suspension and

 constructive discharge. Dr. Frederick has not been compensated for the wages lost

 by being wrongfully placed on unpaid leave.

       408.   Dr. Frederick incurred substantial additional losses and expenses from

 his suspension and constructive discharge which he reasonably believes total more

 than $170,000.

       409.   Additionally, Dr. Frederick and his wife experienced extreme stress as

 a result of these circumstances including the need to leave the Indianapolis

 community. Dr. Frederick’s wife was nineteen weeks (19) pregnant at the time of

 his suspension and the couple lost their baby at twenty-three (23) weeks. Both

 Dr. Frederick and his wife believe the extreme stress of this situation resulted in

 the loss of their child. The mental and emotional stress and turmoil of this situation

 has been overwhelming for Dr. Frederick and his wife.




                                           87
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22      Page 88 of 208 PageID #:
                                           88



 Mr. Gary Higginbotham

       410.   Mr. Gary Higginbotham is an employee of Ascension Health and

 St. Vincent Health at St. Vincent-Indianapolis in Indianapolis, Indiana.

 Mr. Higginbotham has been employed by St. Vincent-Indianapolis since June 2012.

 Mr. Higginbotham is a citizen and resident of Hamilton County, Indiana.

 Mr. Higginbotham works as the Clinic Coordinator in the Rehabilitation Services

 department where he serves as a physical therapist providing patients with

 physical therapy and implementing care plans to improve or restore his patients’

 strength and range of motion.

       411.   Mr. Higginbotham requested a religious exemption from Ascension

 Health’s mandate that he receive the COVID-19 vaccine.

       412.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 denied Mr. Higginbotham’s request for a religious exemption and he was suspended

 without pay on November 12, 2021.

       413.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 failed to individually evaluate and properly assess his request for a religious

 exemption and establish “undue hardship.”

       414.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 could have granted Mr. Higginbotham’s religious exemption without undue

 hardship and should have granted his requested religious exemption.

       415.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis simply ignored the undue hardship standard and violated Title VII.




                                           88
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 89 of 208 PageID #:
                                         89



       416.   Mr. Higginbotham’s unjustified suspension without pay on

 November 12, 2021 and threatened termination of his employment caused him to

 experience significant stress. Mr. Higginbotham was further very concerned about

 his ability to provide for the needs of his family if terminated as Ascension Health

 and St. Vincent threatened. His family was living off of savings which was

 diminishing during the suspension. He spent many hours seeking new employment.

 Being concerned that at his age he would be unable to find another position, added

 to the stress. Normally, since paid time off is earned with each paycheck, he was

 denied those additional paid hours. Likewise, he was forced to forfeit his retirement

 deposits and matching employer contributions.

       417.   Ironically, Mr. Higginbotham was given a congratulatory plaque the

 day before his impending suspension. It states, “In appreciation of service excellence

 to Ascension St. Vincent Physical Therapy, unwavering commitment to

 compassionate patient care, exemplary teamwork and dedication to ministry, you

 have our respect, our thanks, and our hearts.”

       418.   Although Mr. Higginbotham was ultimately recalled, he was not paid

 for approximately six (6) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. Mr. Higginbotham has not been compensated for the wages lost by

 being wrongfully placed on unpaid suspension.

 Adult-Gerontology Acute Care Nurse Practitioner Board Certified
 Jennifer Maupin

       419.   Adult-Gerontology Acute Care Nurse Practitioner Board Certified

 (“AGACNP-BC”) Jennifer Maupin served as Nurse Practitioner for Ascension



                                           89
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 90 of 208 PageID #:
                                         90



 Health and St. Vincent Health at St. Vincent-Indianapolis from July 20, 2020, and

 is a citizen and resident of Marion County, Indiana.

       420.   As an adult-gerontology acute care nurse practitioner, she managed

 trauma patients at a Level 1 Trauma Center. At this Center, AGACNP-BC Maupin

 provided direct treatment and management of health conditions, including

 diagnosis and treatment, and ordering and interpreting of diagnostic studies. She

 also assisted ten (10) trauma surgeons with 24/7 in-house trauma coverage.

       421.   AGACNP-BC Maupin, like all advanced care nurse practitioners with

 St. Vincent Health and St. Vincent-Indianapolis, was at all times employed

 pursuant to a written employment contract for a specific term between

 AGACNP-BC Maupin and St. Vincent-Indianapolis. AGACNP-BC Maupin’s written

 employment contract contains a provision at paragraph 8.8 stating that the

 provider “will not distribute this Agreement or any part thereof[.]

       422.   AGACNP-BC Maupin requested a religious exemption from Ascension

 Health’s mandate that she receive the COVID-19 vaccine.

       423.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 failed to individually evaluate and properly assess her request for a religious

 exemption and establish “undue hardship.”

       424.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 denied AGACNP-BC Maupin’s request for a religious exemption and she was

 suspended without pay on November 12, 2021.




                                           90
Case 1:22-cv-01097-JPH-MG         Document 1 Filed 05/27/22      Page 91 of 208 PageID #:
                                            91



           425.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 could have granted AGACNP-BC Maupin’s religious exemption without undue

 hardship and should have granted her requested religious exemption.

           426.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis simply ignored the undue hardship standard and violated Title VII.

           427.   As previously referenced, on December 20, 2021, AGACNP-BC Maupin

 received a letter via certified mail from Mr. Metzger stating that

 AGACNP BC Maupin’s employment was being “terminated effective December 20,

 2021.”

           428.   Thus, St. Vincent Health and St. Vincent-Indianapolis claims it was

 entitled to place AGACNP-BC Maupin on unpaid suspension on November 12, 2021,

 but not terminate her employment until December 20, 2021, requiring

 AGACNP BC Maupin to serve a thirty-nine (39) day period of unpaid suspension

 before terminating her and purporting to extend her covenant not to compete until

 one year after the December 20, 2021 termination date set forth in Mr. Metzger’s

 letter.

           429.   AGACNP-BC Maupin’s suspension and termination have been both

 stressful and depressing and have negatively impacted her relationship with her

 partner and family. AGACNP-BC Maupin has experienced a substantial financial

 loss and is exploring alternative career opportunities, as her mortgage, utilities, and

 other expenses do not wait. Additionally, the emotional stress that goes with her

 termination is debilitating. For AGACNP-BC Maupin, nursing is not what she does




                                             91
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22       Page 92 of 208 PageID #:
                                          92



 for a living but is a part of her identity as a person. She has consequently lost a very

 significant aspect of her daily existence and purpose and this is disorienting and

 discouraging to her. By insisting on enforcing her covenant not to compete and

 thereby trying to keep her out of the work force, Ascension Health and St. Vincent

 have increased AGACNP-BC Maupin’s stress and sense of hopelessness.

       430.   Additionally, as a result of wrongful termination of her employment,

 AGACNP-BC Maupin has been unable to renew her Basic Life Support and

 Advanced Cardiac Life support certifications, which are maintained by use of

 equipment at the hospital. Further, the ability to obtain the continuing education

 requirements for AGACNP-BC Maupin’s credentials have been halted due to

 wrongful termination.

       431.   The non-compete and non-solicitation clause in her employment

 contract, which Ascension Health and St. Vincent insist on enforcing, is an

 impediment to her from seeking employment as a nurse practitioner within the

 surrounding area.

 Ms. Susana Osborne

       432.   Ms. Susana Osborne is an employee of Ascension Health and

 St. Vincent Health at St. Vincent-Indianapolis in Indianapolis, Indiana.

 Ms. Osborne has been employed with St. Vincent-Indianapolis since August 2004.

 Ms. Osborne is a citizen and resident of Marion County, Indiana. Ms. Osborne

 works in the Interpreting/Community Outreach department as an interpreter,

 where she assists in bridging language gaps between the provider and the patient.




                                           92
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 93 of 208 PageID #:
                                         93



 Ms. Osborne also works as the store manager at the Beds and Britches, Etc. store,

 at St. Vincent-Indianapolis which provides coupons to parents who utilize health

 care and social services.

       433.   Ms. Osborne requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       434.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 denied Ms. Osborne’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       435.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       436.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 could have granted Ms. Osborne’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       437.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis simply ignored the undue hardship standard and violated Title VII.

       438.   Ms. Osborne’s unjustified suspension without pay on November 12,

 2021 and threat of termination caused her worry and stress about her finances, as

 Ms. Osborne and her husband were forced to survive off their savings to pay for

 basic necessities.

       439.   Although Ms. Osborne was ultimately recalled, she was not paid for

 some eleven (11) weeks while unilaterally and arbitrarily placed on unpaid




                                          93
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 94 of 208 PageID #:
                                         94



 suspension. Ms. Osborne has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension.

 Ms. Jemael Partlow

       440.   Ms. Jemael Partlow was an employee of Ascension Health and

 St. Vincent Health at St. Vincent at St. Vincent-Indianapolis in Indianapolis,

 Indiana. Ms. Partlow had been employed with St. Vincent-Indianapolis since

 April 2008. Ms. Partlow is a citizen and resident of Howard County, Indiana.

 Ms. Partlow worked in the Surgery Department as a CST and prepared the sterile

 field for surgery, hands instruments to surgeons during surgery, and anticipates

 surgeon needs during procedures.

       441.   Ms. Partlow requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       442.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 denied Ms. Partlow’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       443.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       444.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 could have granted Ms. Partlow’s religious exemption without undue hardship and

 should have granted her requested religious exemption.




                                           94
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 95 of 208 PageID #:
                                         95



       445.    However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis simply ignored the undue hardship standard and violated Title VII.

       446.    Ms. Partlow’s unjustified suspension without pay on November 12,

 2021 and threatened termination of her employment resulted in her experiencing

 severe angst, stress, worry and depression. After dedicating over thirteen (13) years

 to St. Vincent-Indianapolis, Ms. Partlow felt immense feelings of hopelessness.

       447.    For months during the earlier part of the COVID-19 pandemic,

 Ms. Partlow worked long hours providing ongoing support and care for patients.

 Despite her dedication, she felt she had been discarded. As a result of her

 unjustified suspension, Ms. Partlow became increasingly depressed and worried.

 She was uncertain as to whether she would acquire a new position prior to her

 utilities being cut off and felt abandoned and unsupported. As a result, Ms. Partlow

 was constructively discharged.

       448.    Although Ms. Partlow was ultimately recalled, she was not paid for

 some six (6) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Ms. Partlow consequently left employment with Ascension Health, St. Vincent

 Health and St. Vincent-Indianapolis. Ms. Partlow has not been compensated for the

 wages lost by being wrongfully placed on unpaid suspension and constructively

 discharged.

 Nurse Amanda Pisano

       449.    Nurse Amanda Pisano is an employee of Ascension Health and

 St. Vincent Health at St. Vincent-Indianapolis in Indianapolis, Indiana.




                                          95
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 96 of 208 PageID #:
                                         96



 Nurse Pisano has been employed with St. Vincent-Indianapolis since March 2016.

 Nurse Pisano is a citizen and resident of Boone County, Indiana. Nurse Pisano

 works as a Regional Resource Float and supplements staffing throughout the

 regional network of hospitals to meet nursing shortages.

       450.   Nurse Pisano requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       451.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 failed to individually evaluate and properly assess her request for a religious

 exemption and establish “undue hardship.”

       452.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 denied Nurse Pisano’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       453.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 could have granted Nurse Pisano’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       454.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis simply ignored the undue hardship standard and violated Title VII.

       455.   Nurse Pisano’s unjustified suspension without pay on November 12,

 2021 and threatened termination of her employment caused Nurse Pisano to

 experience extreme stress. As a single parent and the only source of income in her

 household, her suspension and threatened job loss meant the inability to pay her




                                           96
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 97 of 208 PageID #:
                                         97



 mortgage, the possible loss of her home, and the inability to pay her daughter’s

 college tuition.

        456.   Although Nurse Pisano was ultimately recalled, she was not paid for

 some fifteen (15) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. Nurse Pisano has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension.

 Nurse Ashley Ploughe

        457.   Nurse Ashley Ploughe was an employee of Ascension Health and

 St. Vincent Health at St. Vincent-Indianapolis in Indianapolis, Indiana and

 St. Vincent Kokomo in Kokomo, Indiana. Nurse Ploughe had been employed with

 St. Vincent Health since January 2019. Nurse Ploughe is a citizen and resident of

 Howard County, Indiana. Nurse Ploughe worked in the Medical Oncology

 Outpatient Chemotherapy Clinic and Cancer Center, where she is responsible for

 admitting and discharging patients, obtaining patient history and performing

 assessments via observation, interviewing and examining patients, and initiating

 and discontinuing chemotherapy treatments.

        458.   Nurse Ploughe requested a religious exemption from Ascension

 Health’s mandate that she receive the COVID-19 vaccine.

        459.   Ascension Health, St. Vincent Health, St. Vincent-Indianapolis, and

 St. Vincent Kokomo denied Nurse Ploughe’s request for a religious exemption and

 she was suspended without pay on November 12, 2021.




                                           97
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22      Page 98 of 208 PageID #:
                                         98



       460.   However, Ascension Health, St. Vincent Health, St. Vincent-

 Indianapolis, and St. Vincent Kokomo failed to individually evaluate and properly

 assess her request for a religious exemption and establish “undue hardship.”

       461.   Ascension Health, St. Vincent Health, St. Vincent-Indianapolis, and

 St. Vincent Kokomo could have granted Nurse Ploughe’s religious exemption

 without undue hardship and should have granted her requested religious

 exemption.

       462.   However, Ascension Health, St. Vincent Health, St. Vincent-

 Indianapolis, and St. Vincent Kokomo simply ignored the undue hardship standard

 and violated Title VII.

       463.   Nurse Ploughe’s unjustified suspension without pay on November 12,

 2021 and threatened termination of her employment caused Nurse Ploughe to

 experience extreme stress, anxiety, and depression, which negatively impacted her

 personal relationships. In lieu of celebrating the holidays, Nurse Ploughe spent the

 holidays worried and searching for employment.

       464.   Although Nurse Ploughe was ultimately recalled, she was not paid for

 some nine (9) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Nurse Ploughe has not been compensated for the wages lost by being wrongfully

 placed on unpaid suspension. Further, Nurse Ploughe was constructively

 discharged from her position and has suffered damages as a result of her

 constructive discharge. Had she been promptly granted a religious exemption,

 Nurse Ploughe would still be employed at St. Vincent.




                                          98
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 99 of 208 PageID #:
                                         99



 Nurse Bonnie Ripberger

       465.   Nurse Bonnie Ripberger was an employee of Ascension Health and

 St. Vincent Health at St. Vincent-Indianapolis in Indianapolis, Indiana.

 Nurse Ripberger had been employed by St. Vincent-Indianapolis since

 November 2019. Nurse Ripberger is a citizen and resident of Tipton County,

 Indiana. Nurse Ripberger worked in the Outpatient Infusion and Procedure Center,

 where she provides care to those patients with compromised immune systems,

 pre/post operative care of patients receiving foot, hand, pain control, tumors/cysts

 removal procedures, performed inter-muscular and subcutaneous injections, lab

 draws, started IV’s and provided discharge instructions.

       466.   Nurse Ripberger requested a religious exemption from Ascension

 Health’s mandate that she receive the COVID-19 vaccine.

       467.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 denied Nurse Ripberger’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       468.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       469.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 could have granted Nurse Ripberger’s religious exemption without undue hardship

 and should have granted her requested religious exemption.




                                           99
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 100 of 208 PageID #:
                                        100



       470.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis simply ignored the undue hardship standard and violated Title VII.

       471.   Nurse Ripberger’s unjustified suspension without pay on November 12,

 2021 and threatened termination from employment caused her to experience

 emotional distress and many sleepless nights. Nurse Ripberger’s income helps

 support her family. Since she shares the household expenses with her husband, she

 was unable to assist financially with those expenses during her suspension.

 Consequently, Nurse Ripberger identified money saving tactics to ensure that they

 could pay for their necessities, including utilities, mortgage payments, and

 groceries. Unfortunately, other bills continued to accumulate during her

 suspension, increasing her stress.

       472.   Although Nurse Ripberger was ultimately recalled, she was not paid

 for some six (6) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. Nurse Ripberger has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension. Due to the uncertainty as to her

 employment, Nurse Ripberger was constructively discharged and had to take

 outside employment where she makes less money than at St. Vincent Health. Had

 she been promptly granted a religious exemption Nurse Ripberger would still be

 employed at St. Vincent Health.

 Nurse Rochelle Rott

       473.   Nurse Rochelle Rott is an employee of Ascension Health and

 St. Vincent Health at St. Vincent-Indianapolis in Indianapolis, Indiana. Nurse Rott




                                          100
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 101 of 208 PageID #:
                                        101



 has been employed by St. Vincent-Indianapolis since September 2020. Nurse Rott is

 a citizen and resident of Hamilton County, Indiana. Nurse Rott works as an

 Intensive Care Unit (“ICU”) Regional Resource Nurse and she supplements staffing

 throughout the regional network of hospitals to meet ICU nursing shortages.

       474.   Nurse Rott requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       475.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 denied Nurse Rott’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       476.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       477.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 could have granted Nurse Rott’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       478.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis simply ignored the undue hardship standard and violated Title VII.

       479.   Nurse Rott’s unjustified suspension without pay on November 12, 2021

 and threatened termination from employment caused Nurse Rott to suffer extreme

 stress. Nurse Rott is a single parent and obligated to make ongoing tuition

 payments to send her daughter to private school. Without any income, Nurse Rott

 feared that her daughter would have to withdraw from school. The risk of this




                                          101
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 102 of 208 PageID #:
                                         102



 potential disruption to her daughter caused Nurse Rott extreme stress and concern.

 Additionally, as the only source of income for her family, she is responsible for

 paying rent, utilities, groceries, and all other expenses. Being unable to provide for

 these necessities increased Nurse Rott’s stress, as it meant a loss of stability for her

 daughter.

       480.    Although Nurse Rott was ultimately recalled, she was not paid for

 some ten (10) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Nurse Rott has not been compensated for the wages lost by being wrongfully placed

 on unpaid suspension.

 Ms. Tina Sneed

       481.    Ms. Tina Sneed is an employee of Ascension Health and St. Vincent

 Health at St. Vincent-Indianapolis in Indianapolis, Indiana. Ms. Sneed is a citizen

 and resident of Boone County, Indiana. Ms. Sneed has been employed by

 St. Vincent-Indianapolis since September 2020. Ms. Sneed works in the Surgery

 department as a CSFA and provides direct assistance to surgeons during surgical

 procedures.

       482.    Ms. Sneed requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       483.    Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 denied Ms. Sneed’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.




                                           102
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 103 of 208 PageID #:
                                         103



       484.    However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       485.    Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 could have granted Ms. Sneed’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       486.    However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis simply ignored the undue hardship standard and violated Title VII.

       487.    After thirty-nine (39) years of dedicated service and care to her

 patients, Ms. Sneed’s unjustified suspension and threatened job loss impacted her

 stress level and her mental and physical health. The emotional anxiety and stress

 from the suspension and threatened termination was overwhelming and resulted in

 many sleepless nights.

       488.    Although Ms. Sneed was ultimately recalled, she was not paid for the

 weeks she was unilaterally and arbitrarily placed on unpaid suspension. Ms. Sneed

 has not been compensated for the wages lost by being wrongfully placed on unpaid

 suspension.

 Physician Assistant Amanda Thiergartner

       489.    Physician Assistant Certified (“PA-C”) Amanda Thiergartner has

 served as a physician assistant for Ascension Health and St. Vincent Health at

 St. Vincent-Indianapolis since February 23, 2015. She is a citizen and resident of

 Hamilton County, Indiana. As a physician assistant with the Trauma Surgery




                                           103
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 104 of 208 PageID #:
                                         104



 department, she provides emergent care to critically ill patients with traumatic

 injuries. This care includes, but is not limited to, ordering appropriate diagnostic

 studies and directly treating injuries, assisting trauma surgeons in the OR, and

 performing/facilitating life-saving interventions. PA-C Thiergartner manages care

 of all trauma patients at this Level 1 trauma center.

       490.   PA-C Thiergartner, like all physician assistants with St. Vincent

 Health and St. Vincent-Indianapolis, has been employed at all times pursuant to a

 written employment contract for a specific term between PA-C Thiergartner and

 St. Vincent-Indianapolis. PA-C Thiergartner’s written employment contract

 contains a provision at paragraph 8.8 stating that the provider “will not distribute

 this Agreement or any part thereof[.]

       491.   PA-C Thiergartner requested a religious exemption from Ascension

 Health’s mandate that she receive the COVID-19 vaccine. In addition, in

 communications with Ascension during this time she made clear that she was

 pregnant and that her pregnancy and desire not to harm her baby by taking a

 vaccine with unknown effect on developing babies supported her request for

 exemption from the COVID-19 vaccines.

       492.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 denied PA-C Thiergartner’s request for a religious exemption and she was

 suspended without pay on November 12, 2021.




                                           104
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 105 of 208 PageID #:
                                        105



       493.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       494.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 could have granted PA-C Thiergartner’s religious exemption without undue

 hardship and should have granted her requested religious exemption.

       495.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis simply ignored the undue hardship standard and violated Title VII.

       496.   PA-C Thiergartner’s unjustified suspension without pay and

 threatened job loss impacted her family financially. Due to the loss of income,

 PA-C Thiergartner experienced extreme stress that impacted her mental and

 emotional health. As a pregnant mother, this additional stress worried her

 throughout her pregnancy and detracted from, and made more difficult, the

 experience of pregnancy.

       497.   PA-C Thiergartner believes the extreme stress she experienced due to

 Ascension’s denial of her religious exemption, suspension without pay and

 threatened termination adversely impacted her pregnancy. While all ultrasounds of

 her pregnancy through early November were normal, including the 20-week

 detailed anatomy ultrasound, at some point thereafter her baby stopped growing

 normally. PA-C Thiergartner’s baby had to be emergently delivered at thirty-four

 (34) weeks in February and was only 3 pounds, 13 ounces at birth.

 PA C Thiergartner believes the extreme stress from St. Vincent’s refusal to grant




                                          105
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22     Page 106 of 208 PageID #:
                                          106



 her exemption request and its coercive efforts in relation to the exemption process

 adversely impacted her pregnancy and the development of her baby daughter.

       498.   Although PA-C Thiergartner was ultimately recalled, she was not paid

 for some six (6) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. PA-C Thiergartner has not been compensated for the wages lost by

 being wrongfully placed on unpaid suspension.

 Nurse Milica Vranic

       499.   Nurse Milica Vranic is an employee of Ascension Health and

 St. Vincent at St. Vincent-Indianapolis in Indianapolis, Indiana. Nurse Vranic has

 been employed with St. Vincent-Indianapolis since July 2021. Nurse Vranic is a

 citizen and resident of Marion County, Indiana. She works in the

 Observation/Medical Surgical unit, where she provides direct bedside care to

 patients with a variety of acute illnesses ranging from infection, altered mental

 status, diabetes, and fall-related injuries.

       500.   Nurse Vranic requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       501.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 denied Nurse Vranic’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       502.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”




                                            106
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 107 of 208 PageID #:
                                         107



       503.   Ascension Health, St. Vincent Health, and St. Vincent-Indianapolis

 could have granted Nurse Vranic’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       504.   However, Ascension Health, St. Vincent Health, and St. Vincent-

 Indianapolis simply ignored the undue hardship standard and violated Title VII.

       505.   Nurse Vranic’s unjustified suspension without pay on November 12,

 2021 and threatened termination of her employment caused Nurse Vranic to

 experience significant stress. Nurse Vranic provides medical insurance coverage for

 herself. During her suspension, she lost her medical insurance coverage and was

 unable to seek medical treatment for her yearly preventive physical. Additionally,

 she was unable to seek treatment regarding a series of symptoms involving

 shortness of breath, headaches, and skin issues. As an individual who values her

 health, this unjustified suspension and threat of termination, as well as the

 inability to properly care for health needs, created additional stress and took a

 further toll on her health. Moreover, Nurse Vranic’s family includes her twin sister

 who she supports. Due to Nurse Vranic’s unjustified suspension, her sister was

 forced to shift her focus from her coursework to working extra shifts to pay for their

 household expenses. This caused Nurse Vranic to be stressed, as her sister’s focus

 should have been on her coursework.

       506.   Although Nurse Vranic was ultimately recalled, she was not paid for

 some six (6) weeks while unilaterally and arbitrarily placed on unpaid suspension.




                                          107
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22        Page 108 of 208 PageID #:
                                          108



 Nurse Vranic has not been compensated for the wages lost by being wrongfully

 placed on unpaid suspension.

                  Healthcare Education and Simulation Center

 Nurse Rhonda Davis

       507.   Nurse Rhonda Davis was an employee of Ascension Health and

 St. Vincent Health at the Healthcare Education and Simulation Center in

 Indianapolis Indiana. Nurse Davis had been employed by the Healthcare Education

 and Simulation Center since April 2020 and was terminated on or about

 January 27, 2022. Nurse Davis is a citizen and resident of Montgomery County,

 Indiana. Nurse Davis worked as the Internal Medicine Clinic Team Lead and was

 responsible for operations, including but not limited to, clinical staff, patient care,

 and provider support procedures.

       508.   Nurse Davis requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       509.   Ascension Health, St. Vincent Health, and the Healthcare Education

 and Simulation Center denied Nurse Davis’ request for a religious exemption and

 she was suspended without pay on November 12, 2021.

       510.   However, Ascension Health, St. Vincent Health, and the Healthcare

 Education and Simulation Center failed to individually evaluate and properly

 assess her request for a religious exemption and establish “undue hardship.”

       511.   Ascension Health, St. Vincent Health, and the Healthcare Education

 and Simulation Center could have granted Nurse Davis’ religious exemption




                                            108
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 109 of 208 PageID #:
                                         109



 without undue hardship and should have granted her requested religious

 exemption.

       512.   However, Ascension Health, St. Vincent Health, and the Healthcare

 Education and Simulation Center simply ignored the undue hardship standard and

 violated Title VII.

       513.   Nurse Davis’ unjustified suspension without pay and subsequent

 termination caused her extreme stress. Nurse Davis’ salary helps provide for the

 essential needs of her family. Due to her unjustified suspension and termination,

 she has suffered a significant loss of income and been unable to support her family.

 Additionally, due to termination, Nurse Davis lost her health, dental and vision

 insurance, vacation and sick time, forfeited 401k contributions, life insurance, and

 the tenure of her position. Her family coverage for health, dental and vision is

 minimal in comparison and costs considerably more than her group health plan.

 She also has a substantially higher deductible for her family plan. These losses

 have contributed to her stress.

       514.   Nurse Davis was ultimately terminated on January 27, 2022. She did

 not receive any written notice regarding her termination. Moreover, she has not

 been paid for the ten (10) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. Nurse Davis has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension. Nurse Davis was fulfilling all legitimate

 requirements of her job and was wrongfully terminated merely because she was

 denied a religious exemption.




                                          109
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22      Page 110 of 208 PageID #:
                                         110



                              St. Vincent Stress Center

 Mr. Chris Parr

       515.   Mr. Chris Parr was an employee of Ascension Health and St. Vincent

 Health at the St. Vincent Stress Center. Mr. Parr had been employed with the

 St. Vincent Stress Center since October 2021. Mr. Parr is a citizen and resident of

 Lawrence County, Indiana. Mr. Parr worked as a Mental Health Counselor and

 conducted psychological assessments to determine the appropriate level of care

 needed for patients at the St. Vincent Stress Center. Additionally, as the COVID-19

 pandemic created unprecedent needs for mental health support, Mr. Parr provided

 telehealth for sister hospitals that required support.

       516.   Mr. Parr requested a religious exemption from Ascension Health’s

 mandate that he receive the COVID-19 vaccine.

       517.   Ascension Health, St. Vincent Health, and the St. Vincent Stress

 Center denied Mr. Parr’s request for a religious exemption and he was suspended

 without pay on November 12, 2021.

       518.   However, Ascension Health, St. Vincent Health, and the St. Vincent

 Stress Center failed to individually evaluate and properly assess his request for a

 religious exemption and establish “undue hardship.”

       519.   Ascension Health, St. Vincent Health, and the St. Vincent Stress

 Center could have granted Mr. Parr’s religious exemption without undue hardship

 and should have granted his requested religious exemption.




                                          110
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 111 of 208 PageID #:
                                         111



       520.   However, Ascension Health, St. Vincent Health, and the St. Vincent

 Stress Center simply ignored the undue hardship standard and violated Title VII.

       521.   Mr. Parr’s unjustified suspension without pay and termination has

 caused him to experience significant stress. Mr. Parr’s income helps provide for the

 essential needs of his family. Without income, Mr. Parr has faced incredible

 financial hardship and has dealt with continued angst, stress and strain resulting

 from being unable to pay his bills. Despite Mr. Parr’s willingness to provide

 continued mental health care support during the pandemic, it was demoralizing to

 be removed from his position due to his sincerely held religious beliefs.

       522.   Mr. Parr was ultimately terminated on February 3, 2022. He was not

 paid while unilaterally and arbitrarily placed on unpaid suspension. Mr. Parr has

 not been compensated for the wages lost by being wrongfully placed on unpaid

 suspension. Mr. Parr was fulfilling all legitimate requirements of his job and was

 wrongfully terminated because he was denied a religious exemption.

                       St. Vincent Medical Group and/or
                  Ascension Health Medical Group St. Vincent

 Heather King

       523.   Nurse Heather King is an employee of Ascension Health and

 St. Vincent Health for the St. Vincent Medical Group in Indianapolis, Indiana.

 Nurse King has been employed with the St. Vincent Medical Group since

 September 2021. Nurse King is a citizen and resident of Hamilton County, Indiana.

 Nurse King works in the Pastoral Spiritual Care department as a Remote Clergy




                                          111
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 112 of 208 PageID #:
                                        112



 Care Nurse Navigator and provides concierge style nursing services for the priests

 within the Archdiocese of Indianapolis.

       524.   Nurse King requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       525.   Ascension Health, St. Vincent Health, and the St. Vincent Medical

 Group failed to individually evaluate and properly assess her request for a religious

 exemption and establish “undue hardship.”

       526.   Ascension Health, St. Vincent Health, and the St. Vincent Medical

 Group denied Nurse King’s request for a religious exemption and she was

 suspended without pay on November 12, 2021.

       527.   Ascension Health, St. Vincent Health, and the St. Vincent Medical

 Group could have granted Nurse King’s religious exemption without undue

 hardship and should have granted her requested religious exemption.

       528.   However, Ascension Health, St. Vincent Health, and the St. Vincent

 Medical Group simply ignored the undue hardship standard and violated Title VII.

       529.   Nurse King’s unjustified suspension without pay and threatened

 termination of employment caused her extreme stress and impacted her mental and

 emotional well-being. Nurse King’s income helps provide for her family. Both

 Nurse King and her husband are obligated to make tuition payments to send their

 children to a Christian school so that they are educated, not just academically, but

 in their faith. During her suspension, Nurse King’s family was unable to pay tuition

 and had to request an assessment based on her reduced income. While the school




                                           112
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 113 of 208 PageID #:
                                         113



 offered to reduce their tuition, she needed to provide the school proof of her job loss.

 However, the St. Vincent Medical Group would not provide her with a termination

 letter, which caused her to experience additional stress.

       530.   Although Nurse King was ultimately recalled, she was not paid for

 some six (6) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Nurse King has not been compensated for the wages lost by being wrongfully placed

 on unpaid suspension.

 Certified Nurse Midwife Bethany Monte

       531.   Certified Nurse Midwife (“CNM”) Bethany Monte has served as a

 Certified Nurse Midwife for Ascension Health and St. Vincent Health for the

 St. Vincent Medical Group from February 12, 2018, and is a citizen and resident of

 Marion County, Indiana.

       532.   CNM Monte, like all certified nurse midwives with the St. Vincent

 Medical Group, was at all times employed pursuant to a written employment

 contract for a specific term between CNM Monte and St. Vincent Medical Group.

 CNM Monte’s written employment contract contains a provision at paragraph 8.8

 stating that the provider “will not distribute this Agreement or any part thereof[.]

       533.   As a certified nurse midwife, CNM Monte provided care, support and

 advice during pregnancy, labor, and birth. As a certified nurse midwife, she also

 addressed women’s care as a whole, including yearly exams and wellness care.

       534.   CNM Monte requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.




                                           113
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22        Page 114 of 208 PageID #:
                                        114



       535.   Ascension Health, St. Vincent Health and the St. Vincent Medical

 Group failed to individually evaluate and properly assess her request for a religious

 exemption and establish “undue hardship.”

       536.   Ascension Health, St. Vincent Health and the St. Vincent Medical

 Group denied CNM Monte’s request for a religious exemption and she was

 suspended without pay on November 12, 2021.

       537.   Ascension Health, St. Vincent Health and the St. Vincent Medical

 Group could have granted CNM Monte’s religious exemption without undue

 hardship and should have granted her requested religious exemption.

       538.   However, Ascension Health, St. Vincent Health and the St. Vincent

 Medical Group simply ignored the undue hardship standard and violated Title VII.

       539.   As previously mentioned, on January 21, 2022, CNM Monte received a

 letter via certified mail from Mr. Metzger. Mr. Metzger’s letter stated that

 CNM Monte’s employment with the St. Vincent Medical Group was being

 “terminated effective January 22, 2022.”

       540.   Thus, the St. Vincent Medical Group claims it was entitled to place

 CNM Monte on unpaid suspension on November 12, 2021, but not terminate her

 employment until January 22, 2022, requiring CNM Monte to serve a seventy-two

 (72) day period of unpaid suspension before terminating her and purporting to

 extend her covenant not to compete until one year after the January 22, 2022

 termination date set forth in Mr. Metzger’s letter.




                                            114
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 115 of 208 PageID #:
                                         115



       541.   As a result of CNM Monte’s suspension and termination, on

 information and belief, her reputation in the medical community and with her

 patients has been damaged. She was directed to leave patients that she cared for

 over the last three (3) to four (4) years. Unfortunately, St. Vincent Health and the

 St. Vincent Medical Group failed to inform her patients as to her departure and

 many assumed that she left the practice due to non-compliance with the vaccine

 mandate. Thus, St. Vincent’s conduct harmed CNM Monte’s reputation in the

 community. As she moves forward in her career, CNM Monte worries about

 restoring her professional reputation.

       542.   Additionally, CNM Monte provided medical, dental, and vision

 insurance coverage for her family, including her husband and two (2) children.

 While she has obtained insurance coverage, this increased expense has caused a

 great financial hardship on her family.

       543.   Moreover, there is a non-compete and non-solicitation clause in her

 employment contract that Ascension Health and St. Vincent have insisted on

 enforcing, which has caused her to lose patients that she provided care for prior to

 this Agreement. This loss has been debilitating to her practice and discouraging to

 her as she is unable to provide care to individuals to whom she is deeply committed.

 She has found the vindictiveness of Ascension’s and St. Vincent’s enforcement of the

 covenant not to compete particularly disheartening.

       544.   CNM Monte has not been compensated for the time period she was

 wrongfully placed on suspension. Additionally, she has lost substantial income as




                                           115
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 116 of 208 PageID #:
                                        116



 the result of the wrongful termination of her employment which came about solely

 because she was improperly denied a religious exemption.

 Nurse Practitioner Daniella Stafford

       545.   Nurse Practitioner (“NP”) Daniella Stafford served as a Family Nurse

 Practitioner for Ascension Health and St. Vincent Health for the St. Vincent

 Medical Group from June 19, 2017, and is a citizen and resident of Delaware

 County, Indiana.

       546.   As a nurse practitioner, she provided a variety of care, which included

 but was not limited to, performing preventative health assessments, screening, and

 immunizations; ordering, performing, and interpreting diagnostic studies;

 counseling and educating patients and their families; and performing minor

 procedures such as suturing or stapling lacerations.

       547.   NP Stafford, like all nurse practitioners with the St. Vincent Medical

 Group, was at all times employed pursuant to a written employment contract for a

 specific term between NP Stafford and the St. Vincent Medical Group. NP Stafford’s

 written employment contract contains a provision at paragraph 8.8 stating that the

 provider “will not distribute this Agreement or any part thereof[.]

       548.   NP Stafford requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       549.   Ascension Health, St. Vincent Health and the St. Vincent Medical

 Group denied NP Stafford’s request for a religious exemption and she was

 suspended without pay on November 12, 2021.




                                          116
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22        Page 117 of 208 PageID #:
                                        117



       550.   However, Ascension Health, St. Vincent Health and the St. Vincent

 Medical Group failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       551.   Ascension Health, St. Vincent Health and the St. Vincent Medical

 Group could have granted NP Stafford’s religious exemption without undue

 hardship and should have granted her requested religious exemption.

       552.   However, Ascension Health, St. Vincent Health and the St. Vincent

 Medical Group simply ignored the undue hardship standard and violated Title VII.

       553.   As mentioned previously, over two hundred days have lapsed since her

 suspension and NP Stafford has yet to be provided any written response to her

 request to reconsider her request for religious exemption. On or about December 21,

 2021, NP Stafford sought to ascertain information as to whether she would be

 permitted to return to work and was told in a telephone call that she was allegedly

 terminated on December 20, 2021. However, NP Stafford has still received no

 written confirmation of her employment status and never received a termination

 letter. She has been left in limbo and this has created uncertainty and stress.

       554.   The impact on NP Stafford of the conduct of Ascension Health and

 St. Vincent Health has been devastating. After working as a nurse practitioner for

 nine (9) years, learning and cultivating her skills and confidence, her position was

 abruptly taken from her without explanation. NP Stafford has experienced feelings

 of worry and despair, as her income helps support her family financially. Without




                                          117
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 118 of 208 PageID #:
                                         118



 her income, both NP Stafford and her husband have been worried about their

 mortgage, being able to make payments, or potentially losing their home.

       555.   There is also a non-compete and non-solicitation clause in her

 employment contract, which is an impediment to her seeking employment as a

 nurse practitioner within the surrounding area. While NP Stafford eventually

 obtained an offer, due to credentialing, she was unable to begin the position until at

 least May 1, 2022, which is twenty-four (24) weeks after her suspension. For a

 family with accumulating expenses, the twenty-four (24) week delay has been

 emotionally difficult and very stressful.

       556.   NP Stafford’s termination was wrongful and in violation of Title VII.

 Had she received a religious exemption, she would still be employed at St. Vincent

 Health. She is therefore entitled to receive in front pay the difference between what

 she would have made at St. Vincent and any salary she makes in her new position.

 Advanced Nurse Practitioner Alaynah Weisend

       557.   Advanced Nurse Practitioner (“ANP”) Alaynah Weisend served as an

 Advanced Nurse Practitioner for Ascension Health and St. Vincent Health for the

 St. Vincent Medical Group from October 22, 2020, and is a citizen and resident of

 Miami County, Indiana.

       558.   ANP Weisend requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.




                                             118
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22        Page 119 of 208 PageID #:
                                        119



       559.   Ascension Health, St. Vincent Health and the St. Vincent Medical

 Group denied ANP Weisend’s request for a religious exemption and she was

 suspended without pay on November 12, 2021.

       560.   However, Ascension Health, St. Vincent Health and the St. Vincent

 Medical Group failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       561.   Ascension Health, St. Vincent Health and the St. Vincent Medical

 Group could have granted ANP Weisend’s religious exemption without undue

 hardship and should have granted her requested religious exemption.

       562.   However, Ascension Health, St. Vincent Health and the St. Vincent

 Medical Group simply ignored the undue hardship standard and violated Title VII.

       563.   As an advanced nurse practitioner in the Cardiology Department, she

 provided care in a variety of ways which included, but was not limited to,

 performing preventative health assessments, screening, and immunizations; and

 ordering, performing, and interpreting diagnostic studies of its cardiology patients.

       564.   ANP Weisend, like all nurse practitioners with St. Vincent Health and

 St. Vincent Medical Group, was at all times employed pursuant to a written

 employment contract for a specific term between ANP Weisend and the St. Vincent

 Medical Group. ANP Weisend’s written employment contract contains a provision at

 paragraph 8.8 stating that the provider “will not distribute this Agreement or any

 part thereof[.]




                                          119
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22         Page 120 of 208 PageID #:
                                         120



       565.   While ANP Weisend was temporarily recalled on December 26, 2021,

 nineteen (19) days later, on January 14, 2022, she was terminated. However, her

 effective termination date would not be until eighty-three (83) days later on

 April 14, 2022. ANP Weisend received a hand delivered a letter from Mr. McNabb

 stating that “Ascension Health Medical Group St. Vincent has made the difficult

 decision to eliminate your position due to a reduction in force affecting your

 department. This position elimination within your department is expected to be

 permanent and will result in the termination of your employment.”

       566.   Thus, St. Vincent Health and the St. Vincent Medical Group claims

 that it was entitled to place ANP Weisend on suspension twice. St. Vincent Health

 and St. Vincent Medical Group required ANP Weisend to serve a forty-four (44) day

 unpaid suspension before temporarily recalling her on December 26, 2021. Nineteen

 days later, on January 21, 2022, she was terminated which extended her covenant

 not to compete until one year after the April 14, 2022 termination date set forth in

 Mr. McNabb’s letter. This conduct is wrongful and vindictive and obviously

 calculated to simply extend ANP Weisend’s non-compete and prevent her from

 being re-employed.

       567.   ANP Weisend is both mentally and emotionally drained from her

 suspension and later termination. As a single parent of three young children, ages

 twelve (12), six (6), and one (1), her position provided not only financial security for

 her family but the flexibility to be a mother and have a career. After sacrificing




                                           120
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22        Page 121 of 208 PageID #:
                                        121



 many evenings, events, and moments with her children, to lose her position due to

 her religious beliefs has been devastating.

       568.    The non-compete and non-solicitation clause in her employment

 contract, which St. Vincent has wrongfully extended, is an impediment to her

 seeking employment as a nurse practitioner within the surrounding area. As a

 single parent and mother who seeks stability for her children and cannot easily

 move to obtain alternative employment, these clauses impede her career and

 livelihood.

       569.    The suspension without pay and termination of ANP Weisend were

 wrongful and in violation of Title VII. ANP Weisend was meeting all legitimate

 expectations of her job before she was suspended. She was adversely treated solely

 because she sought a religious exemption and it was denied.

                                  St. Vincent Seton

 Jennifer Collins

       570.    Nurse Jennifer Collins is an employee of Ascension Health and

 St. Vincent Health at St. Vincent Seton in Indianapolis, Indiana. Nurse Collins has

 been employed by St. Vincent since January 1999. Nurse Collins is a citizen and

 resident of Howard County, Indiana. Nurse Collins works in the Wound Care

 Department, where she assesses, monitors, and identifies treatment plans for

 patients with complex wounds and ostomies. As a wound care nurse, Nurse Collins

 works closely with treatment providers, patients, and nursing staff to ensure that




                                          121
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 122 of 208 PageID #:
                                         122



 personalized treatment plans are followed in order to prevent future infection or

 injury.

       571.   Nurse Collins requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       572.   Ascension Health, St. Vincent Health, and St. Vincent Seton denied

 Nurse Collins’ request for a religious exemption and she was suspended without pay

 on November 12, 2021.

       573.   However, Ascension Health, St. Vincent Health, and St. Vincent Seton

 failed to individually evaluate and properly assess her request for a religious

 exemption and establish “undue hardship.”

       574.   Ascension Health, St. Vincent Health, and St. Vincent Seton could

 have granted Nurse Collins’ religious exemption without undue hardship and

 should have granted her requested religious exemption.

       575.   However, Ascension Health, St. Vincent Health, and St. Vincent Seton

 simply ignored the undue hardship standard and violated Title VII.

       576.   Nurse Collins’ unjustified suspension without pay caused her to

 experience significant stress as her salary helps provide for the essential needs of

 her family. Without her income, her family experienced a significant loss in monthly

 income.

       577.   Although Nurse Collins was ultimately recalled, she was not paid for

 some seven (7) weeks while unilaterally and arbitrarily placed on unpaid




                                          122
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22     Page 123 of 208 PageID #:
                                          123



 suspension. Nurse Collins has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension.

                               St. Vincent Williamsport
 Ms. Kaylyn Applegate

       578.   Ms. Kaylyn Applegate is an employee of Ascension Health and

 St. Vincent Health at St. Vincent Williamsport in Williamsport, Indiana.

 Ms. Applegate has been employed by St. Vincent Williamsport since

 September 2020. Ms. Applegate is a citizen and resident of Fountain County,

 Indiana. Ms. Applegate works in the Radiology Department, where she serves as a

 multi-modality technologist performing a variety of radiographic procedures used in

 the diagnostic treatment of illness and injuries.

       579.   Ms. Applegate requested a religious exemption from Ascension

 Health’s mandate that she receive the COVID-19 vaccine.

       580.   Ascension Health, St. Vincent Health, and St. Vincent Williamsport

 denied Ms. Applegate’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       581.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Williamsport failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       582.   Ascension Health, St. Vincent Health, and St. Vincent Williamsport

 could have granted Ms. Applegate’s religious exemption without undue hardship

 and should have granted her requested religious exemption.




                                            123
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22        Page 124 of 208 PageID #:
                                        124



       583.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Williamsport simply ignored the undue hardship standard and violated Title VII.

       584.   During Ms. Applegate’s unjustified suspension without pay, she

 experienced significant anxiety, stress, and depression. Ms. Applegate is a single

 parent and sole provider for her ten (10) year-old child. As a single parent, and with

 no alternative source of income, Ms. Applegate relied on credit cards while

 suspended without pay for basic necessities and household needs, which contributed

 to her anxiety and stress.

       585.   Although Ms. Applegate was ultimately recalled, she was not paid for

 approximately eight (8) weeks while unilaterally and arbitrarily placed on unpaid

 suspension. Ms. Applegate has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension.

 Nurse Madison Kuhn

       586.   Nurse Madison Kuhn is an employee of Ascension Health and

 St. Vincent Health at St. Vincent Williamsport in Williamsport, Indiana.

 Nurse Kuhn has been employed with St. Vincent Williamsport since May 2021.

 Nurse Kuhn is a citizen and resident of Tippecanoe County, Indiana. Nurse Kuhn

 works in the Emergency Department where she assesses, treats, and monitors

 emergency situations to ensure well-coordinated patient care.

       587.   Nurse Kuhn requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.




                                          124
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 125 of 208 PageID #:
                                        125



       588.   Ascension Health, St. Vincent Health, and St. Vincent Williamsport

 denied Nurse Kuhn’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       589.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Williamsport failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       590.   Ascension Health, St. Vincent Health, and St. Vincent Williamsport

 could have granted Nurse Kuhn’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       591.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Williamsport simply ignored the undue hardship standard and violated Title VII.

       592.   Nurse Kuhn’s unjustified suspension without pay on November 12,

 2021 and threatened termination of her employment created significant stress and

 anxiety. Nurse Kuhn’s income helps support her family, which includes her

 husband and newborn daughter. Due to her suspension, she was unable to

 contribute financially to family expenses. Consequently, her husband obtained a

 part-time job to make up for her lost income. While her husband planned to apply to

 paramedic school, due to her loss of income, he was unable to pursue this goal.

 Consequently, her husband worked every day between both jobs and was unable to

 spend time with their newborn child. This lost bonding time with their newborn

 child caused stress within their marriage.




                                         125
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 126 of 208 PageID #:
                                        126



       593.   Although Nurse Kuhn was ultimately recalled, she was not paid for

 some five (5) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Nurse Kuhn has not been compensated for the wages lost by being wrongfully

 placed on unpaid suspension.

 Mr. Joshua Miller

       594.   Mr. Joshua Miller is an employee of Ascension Health and St. Vincent

 Health at St. Vincent Williamsport in Williamsport, Indiana. Mr. Miller has been

 employed with St. Vincent Williamsport since August 2005. Mr. Miller is a citizen

 and resident of Vermillion County, Indiana. Mr. Miller works in the radiology

 department as an X-Ray Technician, where he performs x-rays to aid in the

 diagnosis of medical problems.

       595.   Mr. Miller requested a religious exemption from Ascension Health’s

 mandate that he receive the COVID-19 vaccine.

       596.   Ascension Health, St. Vincent Health, and St. Vincent Williamsport

 denied Mr. Miller’s request for a religious exemption and he was suspended without

 pay on November 12, 2021.

       597.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Williamsport failed to individually evaluate and properly assess his request for a

 religious exemption and establish “undue hardship.”

       598.   Ascension Health, St. Vincent Health, and St. Vincent Williamsport

 could have granted Mr. Miller’s religious exemption without undue hardship and

 should have granted his requested religious exemption.




                                          126
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 127 of 208 PageID #:
                                         127



       599.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Williamsport simply ignored the undue hardship standard and violated Title VII.

       600.   Mr. Miller’s unjustified suspension and threatened termination of

 employment significantly impacted his mental health and caused him to experience

 significant stress. Mr. Miller’s income helps support his family. Due to his

 unjustified suspension, Mr. Miller had no other option but to borrow money to pay

 his rent and other expenses, which increased his stress.

       601.   Although Mr. Miller was ultimately recalled, he was not paid for some

 six (6) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Mr. Miller has not been compensated for the wages lost by being wrongfully placed

 on unpaid suspension.

 Ms. Tiffany Miller

       602.   Ms. Tiffany Miller is an employee of Ascension Health and St. Vincent

 Health at St. Vincent Williamsport in Williamsport, Indiana. Ms. Miller has been

 employed with St. Vincent Williamsport since July 2004. Ms. Miller is a citizen and

 resident of Vermillion County, Indiana. Ms. Miller works in the Radiology

 department as a Sonographer and Radiographer.

       603.   Ms. Miller requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       604.   Ascension Health, St. Vincent Health, and St. Vincent Williamsport

 denied Ms. Miller’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.




                                          127
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 128 of 208 PageID #:
                                        128



       605.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Williamsport failed to individually evaluate and properly assess her request for a

 religious exemption and establish “undue hardship.”

       606.   Ascension Health, St. Vincent Health, and St. Vincent Williamsport

 could have granted Ms. Miller’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       607.   However, Ascension Health, St. Vincent Health, and St. Vincent

 Williamsport simply ignored the undue hardship standard and violated Title VII.

       608.   Ms. Miller’s unjustified suspension and threatened termination of her

 employment adversely impacted her mental health. Ms. Miller’s income supports

 her family of six (6). Although her husband was able to work some overtime, her

 family was only barely able to make payments to keep the household running. The

 combination of her suspension during the holidays and the inability to pay her bills

 caused Ms. Miller to experience significant stress.

       609.   Although Ms. Miller was ultimately recalled, she was not paid for some

 seven (7) weeks while unilaterally and arbitrarily placed on unpaid suspension.

 Ms. Miller has not been compensated for the wages lost by being wrongfully placed

 on unpaid suspension by St. Vincent.

                                Ascension Health-IS
 Mr. Robert Runge

       610.   Mr. Robert Runge was a remote employee of Ascension Health at

 Ascension Health-IS. Mr. Runge is a citizen and resident of Butler County, Ohio.

 Mr. Runge had been employed by Ascension Health-IS since June 2017 as an offsite


                                          128
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22      Page 129 of 208 PageID #:
                                         129



 technical engineering analyst and he was responsible for handling endpoint

 detection and threat responses for the devices of Ascension Health’s end-users.

 Mr. Runge oversaw the deployment, tuning, and maintenance of anti-malware/anti-

 virus solutions, identified and addressed endpoint issues to enhance application

 performance, and maintained the technical integrity of the Ascension Health

 enterprise environment. As a remote employee, Mr. Runge’s job did not require him

 to come into regular contact with either co-workers or patients.

       611.   Mr. Runge requested a religious exemption from Ascension Health’s

 mandate that he receive the COVID-19 vaccine.

       612.   However, Ascension Health and Ascension Health-IS failed to

 individually evaluate and properly assess his request for a religious exemption and

 establish “undue hardship.”

       613.   Ascension Health and Ascension Health-IS simply ignored the undue

 hardship standard and violated Title VII.

       614.   Consequently, Mr. Runge was improperly denied a religious

 exemption.

       615.   Mr. Runge was coerced to abandon his religious objections to the

 COVID-19 vaccination in order to maintain employment. Fearing he would be

 unable to provide for his family if he was terminated by Ascension Health,

 Mr. Runge received the first dose of the COVID-19 vaccine and soon became ill.

 Mr. Runge then requested a second religious accommodation but was denied, again.




                                          129
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 130 of 208 PageID #:
                                         130



       616.   Again, Ascension Health and Ascension Health-IS failed to

 individually evaluate and properly assess his request for a religious exemption and

 establish “undue hardship.”

       617.   Ascension Health and Ascension Health-IS could have granted

 Mr. Runge’s religious exemption without undue hardship and should have granted

 his requested religious exemption.

       618.   However, Ascension Health and Ascension Health-IS simply ignored

 the undue hardship standard and violated Title VII.

       619.    Mr. Runge consequently left employment with Ascension Health and

 Ascension Health-IS. He was constructively discharged as a result of the wrongful

 refusal to grant him a religious exemption. Mr. Runge has lost significant income

 and experienced significant stress and emotional turmoil as a result of the foregoing

 violations of Title VII and being put into a position where he had to decide between

 providing for his family or following his religious convictions.

                    Ascension Health Ministry Service Center
 Mr. Robert Clements

       620.   Mr. Robert Clements was a remote employee of Ascension Health at

 Ascension Health Ministry Service Center in Indianapolis, Indiana. Mr. Clements

 had been employed by Ascension Health Ministry Service Center since July 2018.

 Mr. Clements is a citizen and resident of Hamilton County, Indiana. Mr. Clements

 worked as a Senior Financial Analyst in the Centralized Market/Clinic Accounting

 Department, and provided financial and accounting services, including but not

 limited to, preparing monthly journal entries related to hospital and clinic


                                           130
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 131 of 208 PageID #:
                                         131



 operations, analyzing financial statements for business units and departments to

 identify year-to-year and month-to-month trends variances, and preparing reports

 related to the divesture of business units. Mr. Clements has no healthcare patient

 contact in his job as he worked remotely since March 2020.

       621.   Mr. Clements requested a religious exemption from Ascension Health’s

 mandate that he receive the COVID-19 vaccine.

       622.   Ascension Health and Ascension Health Ministry Service Center

 denied Mr. Clements’ request for a religious exemption and he was suspended

 without pay on November 12, 2021.

       623.   However, Ascension Health and Ascension Health Ministry Service

 Center failed to individually evaluate and properly assess his request for a religious

 exemption and establish “undue hardship.”

       624.   Ascension Health and Ascension Health Ministry Service Center could

 have granted Mr. Clements’ religious exemption without undue hardship and

 should have granted his requested religious exemption.

       625.   However, Ascension Health and Ascension Health Ministry Service

 Center simply ignored the undue hardship standard and violated Title VII.

       626.   Mr. Clements’ unjustified suspension without pay caused him extreme

 stress. Mr. Clements’ salary helps provide for the essential needs of his family,

 which includes, but is not limited to their mortgage, groceries, and utilities. During

 his suspension, Mr. Clements experienced daily stress and anxiety concerning his

 ability to pay these expenses. The daily strain of looking for new employment,




                                          131
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 132 of 208 PageID #:
                                        132



 coupled with the anxiety of being unable to financially provide for his family, began

 to take a toll on his mental and emotional health.

       627.   Although Mr. Clements was ultimately recalled by Ascension Health

 Ministry Service Center, due to the immense stress from loss of his income and

 potential termination and being concerned about whether he could maintain a

 religious exemption long-term with Ascension, he accepted alternative employment

 and was constructively discharged. Nevertheless, Mr. Clements was not paid for

 some four (4) weeks while unilaterally and arbitrarily placed on unpaid suspension

 by Ascension Health Ministry Service Center. Mr. Clements has not been

 compensated for the wages lost by being wrongfully placed on unpaid suspension by

 Ascension Health Ministry Service Center.

       628.   Mr. Clements’ loss of employment at Ascension constituted a

 constructive discharge and is causing him continuing damages.

 Ms. Brenda Hartman

       629.   Ms. Brenda Hartman was an employee of Ascension Health at

 Ascension Health Ministry Service Center in Indianapolis, Indiana. Ms. Hartman

 had been employed by Ascension Health Ministry Service Center since April 2011.

 Ms. Hartman is a citizen and resident of Marion County, Indiana. Ms. Hartman

 worked as a remote employee in the finance department as the manager of payroll

 initiatives and manages the Garnishment team. Additionally, Ms. Hartman served

 as the payroll system operations subject matter expert and was responsible for

 representing payroll on all internal and external projects, including mergers,




                                          132
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22      Page 133 of 208 PageID #:
                                         133



 acquisitions, divestitures, and software upgrades. Ms. Hartman did not have direct

 patient contact in her job.

       630.   Ms. Hartman requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       631.   Ascension Health and Ascension Health Ministry Service Center

 denied Ms. Hartman’s request for a religious exemption and she was suspended

 without pay on November 12, 2021.

       632.   However, Ascension Health and Ascension Health Ministry Service

 Center failed to individually evaluate and properly assess her request for a religious

 exemption and establish “undue hardship.”

       633.   Ascension Health and Ascension Health Ministry Service Center could

 have granted Ms. Hartman’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       634.   However, Ascension Health and Ascension Health Ministry Service

 Center simply ignored the undue hardship standard and violated Title VII.

       635.   Ms. Hartman is the sole provider for her household. Had she not been

 recalled, Ms. Hartman would have been unable to pay her mortgage, utilities, and

 other expenses, and her temporary loss of income caused her to experience

 significant stress.

       636.   Although Ms. Hartman was ultimately recalled by Ascension Health

 Ministry Service Center, she was not paid for approximately six (6) weeks while

 unilaterally and arbitrarily placed on unpaid suspension by Ascension Health




                                          133
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22      Page 134 of 208 PageID #:
                                        134



 Ministry Service Center. Ms. Hartman has not been compensated for the wages lost

 by being wrongfully placed on unpaid suspension by Ascension Health Ministry

 Service Center.

 Ms. Jodi Wolfenbarger

       637.   Ms. Jodi Wolfenbarger is an employee of Ascension Health at

 Ascension Health Ministry Service Center at the Health and Wellness Center in

 Bedford, Indiana. Ms. Wolfenbarger is a citizen and resident of Orange County,

 Indiana. Ms. Wolfenbarger has been employed with St. Vincent Ascension Health

 Ministry Service Center at the Health and Wellness Center since 2016 but

 originally began her employment with Ascension Health Medical Group in

 March 2005. Ms. Wolfenbarger works as a Representative-Biller.

       638.   Due to Ms. Wolfenbarger’s underlying health condition,

 Ms. Wolfenbarger initially requested a medical exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

       639.   Ascension Health and Ascension Health Ministry Service Center

 denied Ms. Wolfenbarger’s request for a medical exemption then she requested a

 religious exemption.

       640.   Ascension Health and Ascension Health Ministry Service Center

 denied Ms. Wolfenbarger’s requests for both medical and religious exemptions.

       641.   As it relates to the religious exemption, Ascension Health and

 Ascension Health Ministry Service Center failed to individually evaluate and




                                         134
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22      Page 135 of 208 PageID #:
                                         135



 properly assess her request for a religious exemption and establish “undue

 hardship.”

       642.   Ascension Health and Ascension Health Ministry Service Center could

 have granted Ms. Wolfenbarger’s religious exemption without undue hardship and

 should have granted her requested religious exemption.

       643.   However, Ascension Health and Ascension Health Ministry Service

 Center simply ignored the undue hardship standard and violated Title VII.

       644.   While Ms. Wolfenbarger has been on short term medical leave since

 November 9, 2021, the threat of the November 12, 2021 suspension and termination

 has caused her to experience great stress, anxiety and nightmares, exasperating her

 medical condition. After fifteen (15) years of dedicated service, Ms. Wolfenbarger

 faced the unimaginable possibility of being suspended without pay and terminated,

 as she continued to treat a chronic health condition.

       645.   Ms. Wolfenbarger is entitled to have her religious exemption granted

 but it has still not been granted.

                                       Medxcel

 Ms. Robin Banks

       646.   Ms. Robin Banks was an employee of Ascension Health at Medxcel in

 Indianapolis, Indiana. Ms. Banks had been employed with Medxcel since May 15,

 2016. Ms. Banks is a citizen and resident of Marion County, Indiana. Ms. Banks

 worked as a Purchasing Specialist and was responsible for executing purchase

 related tasks and duties to ensure the cost-effective procurement of goods and




                                          135
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 136 of 208 PageID #:
                                        136



 services. Ms. Banks did not have any patient contact or patient care responsibilities

 in her job.

        647.   Ms. Banks requested a religious exemption from Ascension Health’s

 mandate that she receive the COVID-19 vaccine.

        648.   Ascension Health and Medxcel denied Ms. Banks’ request for a

 religious exemption and she was suspended without pay on November 12, 2021.

        649.   However, Ascension Health and Medxcel failed to individually

 evaluate and properly assess her request for a religious exemption and establish

 “undue hardship.”

        650.   Ascension Health and Medxcel could have granted Ms. Banks’ religious

 exemption without undue hardship and should have granted her requested religious

 exemption.

        651.   However, Ascension Health and Medxcel simply ignored the undue

 hardship standard and violated Title VII.

        652.   Ms. Banks was suspended without pay on November 12, 2021 and

 terminated from employment on January 1, 2022 simply because she was

 wrongfully not granted a religious exemption. Consequently, Ms. Banks left

 Medxcel and was constructively discharged. As a result of Ms. Banks’ unjustified

 suspension and termination, Ms. Banks is without any income and has taken out

 personal loans to cover basic necessities. Ms. Banks continues to suffer from stress

 due to her unjustified suspension, termination, and loss of income.




                                          136
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 137 of 208 PageID #:
                                         137



       653.   Ms. Banks has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension by Medxcel and has also not been

 compensated for the wages lost by being constructively discharged.

 Mr. Andrew Zenthofer

       654.   Mr. Andrew Zenthofer was an employee of Ascension Health at

 Medxcel. Mr. Zenthofer had been employed by Medxcel since November 2019.

 Mr. Zenthofer is a citizen and resident of Warrick County, Indiana. Mr. Zenthofer

 worked as a Facilities Supervisor and supervised on-site associates and projects.

       655.   Mr. Zenthofer requested a religious exemption from Ascension Health’s

 mandate that he receive the COVID-19 vaccine.

       656.   Ascension Health and Medxcel denied Mr. Zenthofer’s request for a

 religious exemption and he was suspended without pay on November 12, 2021.

       657.   However, Ascension Health and Medxcel failed to individually

 evaluate and properly assess his request for a religious exemption and establish

 “undue hardship.”

       658.   Ascension Health and Medxcel could have granted Mr. Zenthofer’s

 religious exemption without undue hardship and should have granted his requested

 religious exemption.

       659.   However, Ascension Health and Medxcel simply ignored the undue

 hardship standard and violated Title VII.

       660.   Mr. Zenthofer’s unjustified suspension and constructive discharge has

 required him to spend all of his savings to pay for basic necessities. While he has




                                          137
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22        Page 138 of 208 PageID #:
                                        138



 now obtained new employment, his suspension, his recall to a lower paying position,

 and constructive termination, have caused him great stress.

       661.   Although Mr. Zenthofer was ultimately recalled by Medxcel, he was

 offered a painter position at significantly lower pay. Consequently, Mr. Zenthofer

 left Medxcel and was constructively discharged. Nonetheless, he has not been paid

 for some six (6) weeks during which he was unilaterally and arbitrarily placed on

 unpaid suspension by Medxcel. Mr. Zenthofer has also not been compensated for the

 wages lost by being constructively discharged.

 Mr. Juston Zenthofer

       662.   Mr. Juston Zenthofer was an employee of Ascension Health at

 Medxcel. Mr. J. Zenthofer had been employed by Medxcel since August 2020.

 Mr. J. Zenthofer is a citizen and resident of Vanderburgh County, Indiana.

 Mr. J. Zenthofer worked as a Facilities Technician II and performed maintenance of

 facility equipment and systems at St. Vincent Hospital-Indianapolis.

       663.   Mr. J. Zenthofer requested a religious exemption from Ascension

 Health’s mandate that he receive the COVID-19 vaccine.

       664.   Ascension Health and Medxcel denied Mr. J. Zenthofer’s request for a

 religious exemption and he was suspended without pay on November 12, 2021.

       665.   However, Ascension Health and Medxcel failed to individually

 evaluate and properly assess his request for a religious exemption and establish

 “undue hardship.”




                                         138
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 139 of 208 PageID #:
                                        139



       666.   Ascension Health and Medxcel could have granted Mr. J. Zenthofer’s

 religious exemption without undue hardship and should have granted his requested

 religious exemption.

       667.   However, Ascension Health and Medxcel simply ignored the undue

 hardship standard and violated Title VII.

       668.   Mr. Zenthofer was never recalled by Medxcel and was not paid for

 some four (4) weeks while unilaterally and arbitrarily placed on unpaid suspension

 by Medxcel. Mr. Zenthofer has not been compensated for the wages lost by being

 wrongfully placed on unpaid suspension and ultimately not recalled by Medxcel.

       669.   Mr. J. Zenthofer’s unjustified suspension and the failure to recall him

 to work impacted his financial stability and caused significant stress and anxiety.

 When Mr. J. Zenthofer recognized he was not being recalled to work, and considered

 he had been constructively discharged, he took a lower paying job. Despite finding

 subsequent employment, Mr. Zenthofer is unable to acquire medical insurance until

 he completes his probationary period. With the rising costs of living, Mr. Zenthofer

 cannot afford his medication without medical insurance and has been left with little

 choice but to forego his medication.

                    ADDITIONAL FACTUAL ALLEGATIONS

 A.    The COVID-19 Pandemic

       670.   By Spring 2020, the Alpha variant of the novel coronavirus SARS-CoV-

 2 had spread around much of the world including in the United States.




                                          139
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22     Page 140 of 208 PageID #:
                                          140



       671.   In response, Ascension Health began implementing mitigation

 procedures for its workforce, including the following requirements for its employees:

              (a)   daily personal assessments of both personal health (including
                    temperature, symptoms, etc.) and required disclosure of any
                    potential exposure to others with COVID-19,

              (b)   daily onsite temperature testing,

              (c)   periodic COVID-19 testing,

              (d)   the obligation to not work when symptomatic or potentially
                    exposed to COVID-19 pursuant to CDC Guidelines,

              (e)   submission to any required contact tracing,

              (f)   handwashing and hygiene, and

              (g)   use of personal protective equipment (PPE), including masking,
                    face shields, gowns, and disposable gloves as required under the
                    circumstances.

       672.   The foregoing mitigation procedures appear to have been highly

 effective in preventing the spread of the SARS-CoV-2 virus and its variants within

 Ascension Health facilities.

       673.   Many Ascension Health employees, including Plaintiffs and other

 employees of Ascension Health and employees of the Ascension Entities, are

 unaware of any cases of documented transmission of the SARS-CoV-2 virus and/or

 its variants from any Ascension Health employee to another Ascension Health

 employee or to a patient (or any Ascension Entities employee to another Ascension

 Entities employee or to a patient).




                                         140
Case 1:22-cv-01097-JPH-MG         Document 1 Filed 05/27/22          Page 141 of 208 PageID #:
                                            141



        674.   This is not surprising, robust research attributes prevention of

 transmission of the virus in a hospital setting to mitigation procedures such as

 those listed above. 13

        675.   Since the early days of the pandemic, three separate COVID-19

 vaccines have been developed and authorized for use in the United States. The FDA

 issued an Emergency Use Authorization (“EUA”) for the Pfizer-BioNTech vaccine on

 December 11, 2020. A week later, the FDA issued a second EUA for the Moderna

 COVID-19 vaccine. Finally, the FDA issued an EUA for the Johnson & Johnson

 COVID-19 vaccine on February 27, 2021.

        676.   On August 23, 2021, the FDA issued full approval for the Pfizer

 vaccine Comirnaty for individuals 16 years of age and older. Pfizer’s EUA also

 remains in place.

        677.   To date, the FDA has not yet issued any other approvals for either the

 Moderna or Johnson & Johnson vaccine.).



 13 See collection of scientific studies cited in CMS Interim Final Rule (cited in the Federal

 Register at 86 Fed. Reg. 61,570 (Nov. 5, 2021)) submitted in Plaintiffs’ Appendix as
 Exhibits 63 to 71 ((App. 63 at 1-30; App. 64 at 1-2; App. 65 at 1-9; App. 66 at 1-20; App.
 67 at 1-20; App. 68 at 1-13; App. 69 at 1-4; App. 70 at 1-13; and App. 71 at 1-7)
 “Hospital-Acquired SARS CoV-2 Infection: Lessons for Public Health,” Aaron Richterman,
 M.D. et al, 324 JAMA, 2155–56 (2020) (App. 64 at 1-2) available at:
 https://jamanetwork.com/journals/jama/fullarticle/2773128; see also “Hospital-acquired
 COVID-19 tends to be picked up from other patients, not from healthcare workers,” Science
 Daily, (Aug. 24, 2021) (App. 74 at 1-3) available at:
 https://www.sciencedaily.com/releases/2021/08/210824083504.htm; “Study Shows Low Risk
 of COVID-19 Transmission in Hospital Among Patients Undergoing Surgery,” New York-
 Presbyterian Newsroom (Feb. 24, 2021) (App. 73 at 1-3) available at:
 https://www.nyp.org/news/study-shows-low-risk-of-covid-19-transmission-in-hospital-
 among-patients-undergoing-surgery; “Could We Do Better on Hospital Acquired COVID-19
 In a Future Wave?” David Oliver, 372 BMJ (Jan 13, 2021) (App. 72 at 1-2) available at:
 https://www.bmj.com/content/372/bmj.n70.


                                               141
Case 1:22-cv-01097-JPH-MG         Document 1 Filed 05/27/22         Page 142 of 208 PageID #:
                                            142



          678.   The Pfizer, Moderna and Johnson & Johnson vaccines were all

 developed to address the Alpha variant, the original strain of the SARS-CoV-2

 virus.

          679.   On July 27, 2021, the same date that Ascension Health adopted its

 vaccine mandate, the U.S. CDC released updated guidance which included a

 recommendation for “everyone in areas of substantial or high transmission to wear

 a mask in public indoor places, even if they are fully vaccinated.” 14

          680.   CDC issued this new guidance due to recent developments, including

 new data “that the Delta variant was more infectious and was leading to increased

 transmissibility when compared with other variants, even in some vaccinated

 individuals.” 15

          681.   “As of August 28, 2021, the Delta variant of concern (B.1.617.2) [was]

 the predominant variant in the United States, with 99% of sequenced specimens

 being identified as Delta.” 16

          682.   From the time that Ascension Health announced its vaccination

 mandate through the time Plaintiffs were suspended without pay on November 12,




 14 “Delta Variant: What We Know About the Science,” CDC website (updated Aug. 26, 2021)

 (“CDC Delta Variant Resource”), available at: https://www.cdc.gov/coronavirus/2019-
 ncov/variants/delta-variant.html (App. 45 at 1-3).
 15 Id. (emphasis added).
 16 “Science Brief: COVID--19 Vaccines and Vaccination,” CDC website (updated Sept. 15,

 2021), available at: https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/fully-
 vaccinated-people.html (hereafter “CDC Brief”). (App. 89 at 1-20).


                                              142
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22          Page 143 of 208 PageID #:
                                           143



 2021, the Delta variant remained the predominant variant of SARS-CoV-2 in the

 U.S. 17

           683.   As of October 27, 2021, the CDC’s “Nowcast” model which seeks to

 track recent proportions of circulating variants in the United States reported that

 the Delta variant comprised 99.6% of the variants recently detected throughout the

 U.S. 18

           684.   As of October 27, 2021, the Nowcast model found the prevalence of the

 original Alpha variant to be 0.0% nationally. 19

           685.   The CDC data tracker information for Indiana for the week of

 October 23, 2021, likewise, reported the Delta variant predominance at over 99%

 and the Alpha variant at 0.03%. 20

           686.   It was well understood from late July 2021 when Ascension Health’s

 vaccine mandate was announced that the Delta variant was “spreading in settings

 where there is high vaccine coverage[.]” 21



 17 This is in line with the experience in other western countries. See, e.g., “SARS-CoV-2

 variants of concern and variants under investigation in England, Technical Briefing 20”
 Public Health England (Aug. 6, 2021), (“England Public Health Briefing”) (App. 57 at 1-44)
 available at:
 https://assets.publishing.service.gov.uk/government/uploads/system/uploads/attachment_da
 ta/file/1009243/Technical_Briefing_20.pdf (“Delta variant accounted for approximately 99%
 of sequenced and 98% genotyped cases from 25 July to 31 July 2021”).
 18 CDC COVID-19 Data Tracker, Variant Proportions, CDC website (for week ending Oct.

 23, 2021) (App. 46 at 1-5), available at: https://COVID-19.cdc.gov/COVID-19-data-
 tracker/#variant-proportions.
 19 Id.
 20 Id.
 21 “Vaccinated and unvaccinated individuals have similar viral loads in communities with a

 high prevalence of the SARS-CoV-2 delta variant,” University of Wisconsin (July 31, 2021)
 (App. 88 at 1-13) (“University of Wisconsin Study”) at 1; available at:
 https://www.medrxiv.org/content/10.1101/2021.07.31.21261387v1.


                                              143
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22         Page 144 of 208 PageID #:
                                           144



        687.     The high transmissibility of the Delta variant among those who had

 been vaccinated was confirmed repeatedly in research studies accessible to

 Ascension Health and St. Vincent. 22

        688.     These studies indicated that vaccinated individuals were susceptible to

 infection with the Delta variant and presented a risk of transmitting SARS-CoV-2

 to others. 23

        689.     Ascension Health admitted that at the time its mandate was adopted

 Ascension Health had no data regarding the effectiveness of the Johnson & Johnson

 and Moderna vaccines against the Delta variant. 24

        690.     Ascension Health conceded at that time that “recent data has shown

 that there has been an increase in breakthrough infections in vaccinated

 individuals related to the Delta variant.” 25

        691.     The researchers in a University of Wisconsin Study within the relevant

 time frame concluded that, “a substantial proportion of individuals with SARS-CoV-

 2 vaccine breakthrough infections during [their] study period ha[d] levels of SARS-




 22 See, e.g., Wisconsin Study at 2-3, available at: ; “Outbreak of SARS-CoV-2 B.1.617.2

 (Delta) Variant Infections Among Incarcerated Persons in a Federal Prison — Texas, July–
 August 2021,” CDC (Sept. 24, 2021) (App. 50 at 1-11) (“CDC Prison Study”) at 1 (“During a
 COVID--19 outbreak involving the Delta variant in a highly vaccinated incarcerated
 population, transmission rates were high, even among vaccinated persons.”); available at:
 https://www.cdc.gov/mmwr/volumes/70/wr/mm7038e3.htm.
 23 University of Wisconsin Study at 2-3.
 24 Questions and Answers about Ascension’s Associate COVID--19 Vaccination Policy (added

 October 4, 2021) (not publicly available, available only on the Ascension intranet) at 8.
 (App. 12 at 1-12).
 25 Id.




                                             144
Case 1:22-cv-01097-JPH-MG         Document 1 Filed 05/27/22          Page 145 of 208 PageID #:
                                            145



 CoV-2 RNA in nasal secretions . . . consistent with the ability to transmit the virus

 to others.” 26

        692.      Studies that Ascension Health and the Ascension Entities had access

 to had found that once an individual contracts the Delta variant there was “limited

 difference in viral load between those who are vaccinated and unvaccinated.” 27

        693.      In other words, it was known to Ascension Health and Ascension

 Entities at the time that a vaccinated person may be as contagious as a non-

 vaccinated person once they contract the Delta variant. 28

        694.      CDC Director Dr. Rochelle Walensky stated on October 8, 2021, about

 COVID-19 vaccines that, “what they cannot do any more is prevent transmission.” 29

        695.      The inability of the COVID-19 vaccines to prevent the transmissibility

 of SARS-CoV-2, particularly as to highly transmissible variants of concern, was well

 known by late July 2021 when Ascension Health adopted its vaccine mandate 30 and

 knowledge of this limitation of the vaccines was known to Ascension Health when it



 26 University of Wisconsin Study at 2.
 27 England Public Health Briefing at 35; accord University of Wisconsin Study at 2-3.
 28 Id., CDC Prison Study at 3 (“During a COVID--19 outbreak in a federal prison involving

 the highly transmissible SARS-CoV-2 Delta variant, transmission was high among
 vaccinated and unvaccinated persons. . . the duration of positive serial test results was
 similar between these two groups, and infectious virus was cultured from both vaccinated
 and unvaccinated participants.”).
 29 CDC Director, Dr. Rochelle Walensky, Oct. 8, 2021, available at:

 https://youtu.be/swlUv2SbmT8 .
 30 As of July 2021, there were eight SARS-CoV-2 variants considered to pose threats to

 human society. Among these is the Lambda variant currently spreading in Chile where the
 vaccination rate is “relatively high . . . suggesting that the Lambda variant is proficient in
 escaping from the antiviral immunity elicited by vaccination.” “SARS-CoV-2 Lambda
 variant exhibits higher infectivity and immune resistance,” Izumi Kimura et al., (July 28,
 2021) at 4. Id. (App. 53 at 1-31), available at:
 https://www.biorxiv.org/content/10.1101/2021.07.28.454085v1.


                                              145
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22         Page 146 of 208 PageID #:
                                           146



 forged ahead with the wholesale denial of religious exemptions claiming that “risk”

 justified rejecting religious exemptions en masse.

        696.   Research over the summer of 2021 confirmed the transmissibility of

 the SARS-CoV-2 virus. A study available as preprint from University of Wisconsin-

 Madison demonstrated “[t]esting a subset of these low-Ct samples revealed

 infectious SARS-CoV-2 in 15 of 17 specimens (88%) from unvaccinated individuals

 and 37 of 39 (95%) from vaccinated people” suggested continued risk of

 transmission. 31 Additionally, on October 29, 2021, researchers from the UK

 National Health Institute published their findings noting that “Nonetheless, fully

 vaccinated individuals with breakthrough infections have peak viral load similar to

 unvaccinated cases and can efficiently transmit infection in household settings,

 including to fully vaccinated contacts.” 32

        697.   As a result, there existed significant scientific consensus that because

 of the risk of breakthrough infections, reliance upon PPE and mitigation efforts

 such as Ascension Health employees had practiced for nearly two years, continued

 to be essential for both vaccinated and unvaccinated persons. 33 These mitigation


 31 “Shedding of Infectious SARS-CoV-2 Despite Vaccination,” Riemersma, Kasen K., et al.,

 (Oct. 15, 2021) (App. 59 at 1-12), available at:
 https://www.medrxiv.org/content/10.1101/2021.07.31.21261387v5.
 32 “Community transmission and viral load kinetics of the SARS-CoV-2 delta (B.1.617.2)

 variant in vaccinated and unvaccinated individuals in the UK; a prospective, longitudinal,
 cohort study,” Singanayagam, Anika et al., Lancet Infect., Dis. (Oct. 28, 2021) (App. 54 at
 1-13), available at: https://www.thelancet.com/journals/laninf/article/PIIS1473-
 3099(21)00648-4/fulltext.
 33 See, e.g., Wisconsin Study at 3; CDC Prison Study at 1 (“Even with high vaccination

 rates, maintaining multicomponent prevention strategies (e.g., testing and masking for all
 persons and prompt medical isolation and quarantine for incarcerated persons) remains
 critical to limiting SARS-CoV-2 transmission in congregate settings where physical
 distancing is challenging.”).


                                               146
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22         Page 147 of 208 PageID #:
                                          147



 measures needed to continue to be practiced whether a hospital had a vaccination

 mandate or not. As scientists at the University of Wisconsin observed:

               [T]he finding of high SARS-CoV-2 viral loads in vaccinated
               individuals has important implications for risk assessment and
               mitigation. . . . Vaccinated individuals, particularly those who
               may have high levels of community or occupational exposure to
               SARS-CoV-2, should be encouraged to continue frequent testing,
               especially when symptomatic, to limit community spread.
               Continued adherence to non-pharmaceutical interventions, such
               as masking and distancing, will remain important for both
               vaccinated and unvaccinated individuals because we cannot
               predict which vaccinated individuals will experience
               breakthrough infections with high viral loads. This somewhat
               unexpected finding also underscores the uncertainty about the
               long-term performance of SARS-CoV-2 vaccines. While vaccines
               continue to provide outstanding protection against severe
               disease and mortality, the durability of this protection cannot be
               reliably predicted. Therefore, it is essential for public health
               policy to encourage vaccination while also planning for
               contingencies, including diminished long-term protection. 34

                                   The Pfizer Vaccine

        698.   The FDA issued an EUA for the Pfizer-BioNTech BNT162b2 (“Pfizer”

 or “Pfizer-BioNTech”) vaccine on December 11, 2020. 35

        699.   Peer reviewed research linked on the Pfizer website initially reported a

 95% effectiveness rate of the Pfizer–BioNTech mRNA COVID-19 vaccine BNT162b2

 against the Alpha variant of the SARS-CoV-2 virus. 36




 34 University of Wisconsin Study at 3 (emphasis added).
 35 “Pfizer-BioNTech COVID--19 Vaccine Frequently Asked Questions,” U.S. FDA website

 (accessed Oct. 28, 2021) (“U.S. FDA Pfizer FAQs”). (App. 47 at 1-10).
 36 “Impact and effectiveness of mRNA BNT162b2 vaccine against SARS-CoV-2 infections

 and COVID--19 cases, hospitalizations, and deaths following a nationwide vaccination
 campaign in Israel: an observational study using national surveillance data,” The Lancet
 (May 5, 2021), (App. 55 at 1-11) available at:
 https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(21)00947-8/fulltext.


                                             147
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22         Page 148 of 208 PageID #:
                                           148



        700.   However, other researchers reported a lower effectiveness rate for the

 Pfizer vaccine against the Alpha variant of SARS-CoV-2, such as the 76% rate for

 the Pfizer shot reported January – July 2021 by the Mayo Clinic Health System. 37

        701.   A gradual decline in efficacy of the Pfizer vaccine against SARS-CoV-2

 is observed over a 6-month period. 38

        702.   A study in the Lancet reflected a decline in the Pfizer vaccine’s

 effectiveness against infections “from 88% (95% CI 86–89) during the first month

 after full vaccination to 47% (43–51) after 5 months.” 39

        703.   The Pfizer vaccine was less effective against the Delta variant than

 against the original Alpha variant.

        704.   The Mayo Clinic found only a 42% effectiveness rate for the Pfizer

 vaccine during July 2021 in its Minnesota patients when the prevalence of the Delta

 variant in Minnesota had increased to over 70% and the Alpha variant prevalence

 had diminished to only 13% of infections. 40




 37 “Comparison of two highly-effective mRNA vaccines for COVID--19 during periods of

 Alpha and Delta variant prevalence,” Mayo Clinic (Aug. 8, 2021) (App. 87 at 1-29),
 available at: https://www.medrxiv.org/content/10.1101/2021.08.06.21261707v1.full.pdf
 38 “Safety and Efficacy of the BNT162b2 mRNA COVID--19 Vaccine through 6 Months,”

 New England Journal of Medicine (Sept. 15, 2021) (App. 58 at 1-13) at 1; available at:
 https://www.nejm.org/doi/pdf/10.1056/NEJMoa2110345?listPDF=true; “Effectiveness of
 mRNA BNT162b2 COVID--19 vaccine up to 6 months in a large integrated health system in
 the USA: a retrospective cohort study,” Lancet (Oct. 16, 2021) at 1. (App. 86), available at:
 https://www.thelancet.com/action/showPdf?pii=S0140-6736%2821%2902183-8.
 39 Id.
 40 “Comparison of two highly-effective mRNA vaccines for COVID--19 during periods of

 Alpha and Delta variant prevalence,” Mayo Clinic (Aug. 8, 2021) (App. 87 at 1-29),
 available at: https://www.medrxiv.org/content/10.1101/2021.08.06.21261707v1.full.pdf.


                                             148
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22       Page 149 of 208 PageID #:
                                          149



        705.    Another study found a 43.3% effectiveness rate for the Pfizer vaccine in

 the United States in September 2021. 41

        706.    In the CDC Prison Study, the CDC researchers found that among fully

 vaccinated persons without a prior SARS-CoV-2 infection 85% of Pfizer-BioNTech

 recipients contracted the virus. 42 In other words, only 15% of those individuals

 vaccinated with the Pfizer vaccine did not contract COVID-19.

        707.    Ascension Health regularly relies upon and republishes on the

 Ascension Health website FDA data and information concerning the COVID-19

 vaccines. 43

        708.    Throughout the relevant time frame the FDA reported that “[d]ata are

 not yet available to inform about the duration of protection that the [Pfizer] vaccine

 will provide.” 44

        709.    According to the FDA, “It is not known if the [Pfizer] vaccine protects

 against asymptomatic SARS-CoV-2 infection.” 45


 41 “SARS-CoV-2 vaccine protection and deaths among US veterans during 2021,” Cohn,

 Barbara A., et al., Science (Nov. 4, 2021) (App. 83 at 1-12), available at:
 https://www.science.org/doi/10.1126/science.abm0620.
 42 CDC Prison Study at 2.
 43 For instance, information found in Ascension’s “Frequently asked questions: COVID-19

 vaccination,” (App. 14 at 1-32) available at: https://healthcare.ascension.org/COVID--
 19/COVID-19-vaccine) under the question: “Is one vaccine preferred (or safer) than
 the other? Does it matter which one I take?” (at p. 4) is identical in wording to
 information found on the FDA’s webpage: U.S. FDA Janssen FAQs (App. 82 at 1-7) in
 response to the question on the FDA website: “Is it possible to make comparisons
 about the effectiveness among the three COVID--19 vaccines that the FDA has
 authorized for emergency use to date?”), available at: https://www.fda.gov/emergency-
 preparedness-and-response/coronavirus-disease-2019-covid-19/janssen-covid-19-vaccine-
 frequently-asked-questions.
 44 “Pfizer-BioNTech COVID--19 Vaccine Frequently Asked Questions,” U.S. FDA website

 (accessed Oct. 28, 2021) (“U.S. FDA Pfizer FAQs”). (App. 47 at 1-10).
 45 Id.




                                            149
Case 1:22-cv-01097-JPH-MG         Document 1 Filed 05/27/22       Page 150 of 208 PageID #:
                                            150



          710.    The FDA acknowledged that there is no current scientific evidence that

 the Pfizer COVID-19 vaccine will reduce transmission of the SARS-CoV-2 virus. The

 FDA website reported:

                  Most vaccines that protect from viral illnesses also reduce
                  transmission of the virus that causes the disease by those who
                  are vaccinated. While it is hoped this will be the case, the
                  scientific community does not yet know if the Pfizer-BioNTech
                  COVID-19 Vaccine will reduce such transmission. 46

                                   The Moderna Vaccine

          711.    The FDA issued an EUA for the Moderna mRNA-1273 COVID-19

 vaccine on December 18, 2020. 47

          712.    Moderna “vaccine efficacy against SARS-CoV-2 Delta [variant] wanes

 over time; [and] there are limited data on the impact of durability of immune

 responses on protection.” 48

          713.    By October 2021 it could be said that, “[r]ecent studies in the United

 Kingdom, United States, and Qatar have shown reduced efficacy of mRNA-based

 vaccines against asymptomatic and symptomatic, but not severe, [Delta variant]

 infection.” 49


 46 Id.
 47 “Moderna COVID--19 Vaccine Frequently Asked Questions,” U.S. FDA website (“U.S.

 FDA Moderna FAQs”) (App. 48 at 1-5), available at: https://www.fda.gov/emergency-
 preparedness-and-response/coronavirus-disease-2019-COVID--19/moderna-COVID--19-
 vaccine-frequently-asked-questions.
 48 “Protection from SARS-CoV-2 Delta one year after mRNA-1273 vaccination in nonhuman

 primates is coincident with an anamnestic antibody response in the lower airway,”
 Researchers from the National Institute of Allergy and Infectious Diseases in Bethesda,
 Emory University School of Medicine in Atlanta, Bioqual Inc. in Rockville, and Moderna
 Inc. in Cambridge (Oct. 24, 2021) (“Moderna Research Study”) (App. 56) at 1; available at:
 https://www.biorxiv.org/content/10.1101/2021.10.23.465542v1.full.
 49 Id.




                                              150
Case 1:22-cv-01097-JPH-MG         Document 1 Filed 05/27/22          Page 151 of 208 PageID #:
                                            151



        714.   In the CDC Prison Study, CDC researchers had found that among fully

 vaccinated persons without a prior SARS-CoV-2 infection 54% of Moderna

 recipients contracted the virus. 50

        715.   Another study found a 58.0% effectiveness rate for the Moderna

 vaccine in the United States in September 2021. 51

        716.   Throughout the relevant time frame the FDA reported that “[d]ata are

 not yet available to inform about the duration of protection that the [Moderna]

 vaccine will provide.” 52

        717.   According to the FDA, “It is not known if the [Moderna] vaccine

 protects against asymptomatic SARS-CoV-2 infection.” 53

        718.   The FDA acknowledged that there is no current scientific evidence that

 the Moderna COVID-19 vaccine will reduce transmission of the SARS-CoV-2 virus.

 The FDA website reported:

               Most vaccines that protect from viral illnesses also reduce
               transmission of the virus that causes the disease by those who
               are vaccinated. While it is hoped this will be the case, the
               scientific community does not yet know if Moderna COVID-19
               Vaccine will reduce such transmission. 54




 50 CDC Prison Study at 2.
 51 “SARS-CoV-2 vaccine protection and deaths among US veterans during 2021,” Cohn,

 Barbara A., et al., Science (Nov. 4, 2021) (App. 83 at 1-12), available at:
 https://www.science.org/doi/10.1126/science.abm0620.
 52 Id.
 53 U.S. FDA Moderna FAQs.
 54 Id.




                                               151
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22       Page 152 of 208 PageID #:
                                          152



                          The Johnson & Johnson Vaccine

       719.   The FDA issued an EUA for the Johnson & Johnson (also known as

 “Janssen”) COVID-19 vaccine on February 27, 2021. 55

       720.   In the clinical trial upon which the FDA based its EUA for the Johnson

 & Johnson vaccine, “the vaccine was approximately 67% effective in preventing

 moderate to severe/critical COVID-19 disease occurring at least 14 days after

 vaccination and 66% effective in preventing moderate to severe/critical disease at

 least 28 days after vaccination.” 56

       721.   Another study found a 13.1% effectiveness rate for the Johnson &

 Johnson vaccine in the United States in September 2021. 57

       722.   Throughout the relevant time frame the FDA reported that “[d]ata are

 not yet available to inform about the duration of protection that the [Johnson &

 Johnson] vaccine will provide.” 58

       723.   According to the FDA, “It is not known if the [Johnson & Johnson]

 vaccine protects against asymptomatic SARS-CoV-2 infection.” 59




 55 “Janssen COVID--19 Vaccine Frequently Asked Questions,” U.S. FDA website, (“U.S.

 FDA Janssen FAQs”) (App. 82 at 1-12), available at: https://www.fda.gov/emergency-
 preparedness-and-response/coronavirus-disease-2019-covid-19/janssen-covid-19-vaccine-
 frequently-asked-questions,.
 56 U.S. FDA Janssen FAQs.
 57 “SARS-CoV-2 vaccine protection and deaths among US veterans during 2021,” Cohn,

 Barbara A., et al., Science (Nov. 4, 2021) (App. 83 at 1-12), available at:
 https://www.science.org/doi/10.1126/science.abm0620.
 58 Id.
 59 U.S. FDA Janssen FAQs.




                                           152
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22        Page 153 of 208 PageID #:
                                           153



          724.   The FDA acknowledged that there is no current scientific evidence that

 the Johnson & Johnson COVID-19 vaccine will reduce transmission of the SARS-

 CoV-2 virus. The FDA website reported:

                 Most vaccines that protect from viral illnesses also reduce
                 transmission of the virus that causes the disease by those who
                 are vaccinated. While it is hoped this will be the case, the
                 scientific community does not yet know if Janssen COVID-19
                 Vaccine will reduce such transmission. 60

                                    Natural Immunity

          725.   Israeli researchers in a large study 61 conducted during the summer of

 2021 (and issued in late August 2021) “in one of the most highly COVID-19–

 vaccinated countries in the world, examined medical records of tens of thousands of

 Israelis, charting their infections, symptoms, and hospitalizations between 1 June

 and 14 August, when the Delta variant predominated in Israel” 62 and found natural

 immunity stronger and longer lasting that that induced by the Pfizer vaccine. These

 researchers concluded:

                 This study demonstrated that natural immunity confers longer
                 lasting and stronger protection against infection, symptomatic
                 disease and hospitalization caused by the Delta variant of
                 SARS-CoV-2, compared to the BNT162b2 two-dose vaccine-
                 induced immunity. Individuals who were both previously



 60 Id.
 61 See “Comparing SARS-CoV-2 natural immunity to vaccine-induced immunity:

 reinfections versus breakthrough infections,” Maccabie Healthcare Services (Aug. 25, 2021)
 (“Israel Study”) at 3 (App. 49 at 1-32), available at:
 https://www.medrxiv.org/content/10.1101/2021.08.24.21262415v1.full-text.
 62 “Having SARS-CoV-2 once confers much greater immunity than a vaccine—but

 vaccination remains vital,” Science (Aug. 26, 2021), available at:
 https://www.science.org/content/article/having-sars-cov-2-once-confers-much-greater-
 immunity-vaccine-vaccination-remains-vital. (App. 85 at 1-6)


                                            153
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22         Page 154 of 208 PageID #:
                                          154



                infected with SARS-CoV-2 and given a single dose of the vaccine
                gained additional protection against the Delta variant. 63

        726.    The Israel Study found that “never-infected people who were

 vaccinated in January and February were, in June, July, and the first half of

 August, six to 13 times more likely to get infected than unvaccinated people who

 were previously infected with the coronavirus. In one analysis, comparing more

 than 32,000 people in the health system, the risk of developing symptomatic

 COVID-19 was 27 times higher among the vaccinated, and the risk of

 hospitalization eight times higher.” 64

        727.    Charlotte Thålin, a physician and immunology researcher at Danderyd

 Hospital and the Karolinska Institute in Stockholm who studies immune responses

 to SARS-CoV-2, said the Israel Study is “a textbook example of how natural

 immunity is really better than vaccination.” 65

        728.    Several Plaintiffs have recovered from the COVID-19 virus and

 acquired natural immunity confirmed by antibody testing. Despite the evidence for

 natural immunity, Ascension Health did not take into account natural immunity in

 assessing the religious exemption requests of the Ascension Entities employees and

 other Ascension Health associates.




 63 Israel Study at 3.
 64 “Having SARS-CoV-2 once confers much greater immunity than a vaccine—but

 vaccination remains vital,” Science (Aug. 26, 2021), available at:
 https://www.science.org/content/article/having-sars-cov-2-once-confers-much-greater-
 immunity-vaccine-vaccination-remains-vital. (App. 85 at 1-6).
 65 Id.




                                            154
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22        Page 155 of 208 PageID #:
                                           155



                       CMS Interim Final Rule with Comment

        729.   On November 5, 2021, the Centers for Medicare & Medicaid Services

 (CMS) of the U.S. Department of Health & Human Services released a proposed

 interim final rule with comment (i.e., “IFC”) it referred to as “Medicare and

 Medicaid Programs; Omnibus COVID-19 Health Care Staff Vaccination” (hereafter,

 the “IFC”).

        730.   The IFC became effective as of January 4, 2022.

        731.   The IFC applies to a vast variety of “21 types of providers and

 suppliers, ranging from hospitals to hospices and rural health clinics to long term

 care facilities (including skilled nursing facilities and nursing facilities, collectively

 known as nursing homes).” 66 Many of these providers do not have in place the

 robust COVID-19 mitigation measures employed at Ascension Health facilities or

 require stringent compliance with masking measures, as the IFC points out.

        732.   Citing several studies, 67 the IFC confirms that mitigation measures

 (such as masking, COVID-19 testing, etc.) are “highly effective” at preventing


 66 86 Fed. Reg. 61,556 (Nov. 5, 2021).
 67 “Incidence of Nosocomial COVID--19 in Patients Hospitalized at a Large US Academic

 Medical Center,” Rhee, Chanu, et al., JAMA (Sept 9, 2020) (App. 65 at 1-9) (“Findings In
 this cohort study of 9149 patients admitted to a large US academic medical center over a
 12-week period, 697 were diagnosed with COVID--19. In the context of a comprehensive
 and progressive infection control program, only 2 hospital-acquired cases were detected: 1
 patient was likely infected by a presymptomatic spouse before visitor restrictions were
 implemented, and 1 patient developed symptoms 4 days after a 16-day hospitalization but
 without known exposures in the hospital. Meaning These findings suggest that overall risk
 of hospital-acquired COVID--19 was low and that rigorous infection control measures may
 be associated with minimized risk.”), available at:
 https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2770287; “Risk Factors
 Associated With SARS-CoV-2 Seropositivity Among US Health Care Personnel,” Jacob,
 Jesse T., et al., JAMA (Mar. 10, 2021) (App. 70 at 1-13) (“Findings In this cross-sectional
 study of 24 749 HCP in 3 US states, contact with an individual with known coronavirus


                                            155
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22         Page 156 of 208 PageID #:
                                          156



 COVID-19 transmission in healthcare settings “when implemented correctly and

 consistently,” stating:

               Because SARS–CoV–2, the virus that causes COVID-19–19
               disease, is highly transmissible, Centers for Disease Control and
               Prevention (CDC) has recommended, and CMS reiterated, that
               health care providers and suppliers implement robust infection
               prevention and control practices, including source control
               measures, physical distancing, universal use of personal
               protective equipment (PPE), SARS–CoV–2 testing,
               environmental controls, and patient isolation or quarantine.
               Available evidence suggests these infection prevention and
               control practices have been highly effective when implemented
               correctly and consistently. 68

        733.   However, the IFC recommends a vaccination mandate across all 21

 types of CMS-regulated healthcare facilities because, according to the IFC,

 “[s]tudies have also shown . . . that consistent adherence to recommended infection

 prevention and control practices can prove challenging—and those lapses can place

 patients in jeopardy.” 69

        734.   The IFC reports that, “[i]n outbreaks reported from acute care settings

 in the U.S. following implementation of universal masking, unmasked exposures to

 other health care workers were frequently implicated.” 70




 disease 2019 (COVID--19) exposure outside the workplace was the strongest risk factor
 associated with SARS-CoV-2 seropositivity, along with living in a zip code with higher
 COVID--19 incidence. None of the assessed workplace factors were associated with
 seropositivity. Meaning In this study, most risk factors associated with SARS-CoV-2
 infection among HCP were outside the workplace, suggesting that current infection
 prevention strategies in health care are effective in preventing patient-to-HCP
 transmission in the workplace.”), available at:
 https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2777317.
 68 86 Fed. Reg. 61,557 (Nov. 5, 2021).
 69 Id.
 70 Id. (emphasis added).




                                            156
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22         Page 157 of 208 PageID #:
                                           157



        735.   The IFC relies upon six (6) studies of COVID-19 transmission in

 healthcare settings to support its conclusion that consistent adherence to masking

 and non-vaccination mitigation measures are “challenging.” 71 These six studies are


 71 “Nursing home staff networks and COVID--19,” Chen, M. Keith, et al., (Dec. 28, 2020)

 (App. 71 at 1-7) (Using analysis of smartphone data collected from March 13 – May 31,
 2020, from nursing home workers, this study concluded that a significant cause of COVID--
 19 outbreaks were nursing home workers that worked at more than one facility. The study
 recommended workers be restricted to working at a single facility, that testing of workers
 be increased and “allocation of PPE, testing, and other preventive measures should be
 targeted thoughtfully, recognizing the current potential for transmission across homes.”),
 available at: https://www.pnas.org/content/pnas/118/1/e2015455118.full.pdf; “Hospital-
 Acquired SARS-CoV-2 Infection Lessons for Public Health,” Richterman, Aaron, et al.,
 JAMA. 2020;324(21):2155-2156 (Nov. 13, 2020) (App. 64 at 1-2) (study noting the success
 of masking in reducing COVID--19 transmission in healthcare settings and recommending
 universal eye protection during clinical encounters, COVID-19 testing and concluding
 “[t]hrough these measures, transmission could be further minimized (and perhaps even
 eliminated)”);, available at: https://jamanetwork.com/journals/jama/fullarticle/2773128;
 “State-wide Genomic Epidemiology Investigations of COVID--19 Infections in Healthcare
 Workers – Insights for Future Pandemic Preparedness, Watt, Anne E., et al., (Sept. 8,
 2021) (App. 67 at 1-30) (reporting results of genome sequencing on 765 COVID--19 cases in
 Victoria, Australia between March and October 2020 to identify source of healthcare worker
 infections with COVID--19 and identified major contributors to be mobility of staff and
 patients between wards and facilities and behaviors of individual patients; makes the case
 for more usage of genome sequencing in healthcare investigations), available at:
 https://www.medrxiv.org/content/10.1101/2021.09.08.21263057v1.full-text; “Transmission of
 community- and hospital-acquired SARS-CoV-2 in hospital settings in the UK: A cohort
 study,” Mo, Yin, et al., (Oct. 12, 2021) (App. 66 at 1-20) (study of data from 4 teaching
 hospitals in the UK from Jan. – Oct. 2020 concluded that exposure to another patient who
 had acquired the virus while in the hospital was associated with an additional 8 infections
 per 1000 patients while exposure to an infectious healthcare worker was associated with
 substantially lower infection risks of 2 per 1000 patients; the researchers noted that over
 the time period of the study use of PPE increased such that from June onwards there was
 universal masking, social distancing, isolation of exposed patients and healthcare workers,
 etc.; authors approved suggestion of others that “enhanced PPE for [healthcare workers]
 and ventilation may play a role” in limiting transmission), available at:
 https://journals.plos.org/plosmedicine/article?id=10.1371/journal.pmed.1003816;
 “Healthcare-associated COVID--19 in England: a national data linkage study,”
 Bhattacharya, Alex, et al., (Feb. 19, 2021) (App. 67 at 1-30) (study reviewed hospital
 admission records and national test data in England from Jan. 2, 2020 to Aug. 31, 2020;
 authors reported that up to 15% of COVID--19 infections from hospitalized patients
 probably came about from infection while in healthcare, no attempt was made to ascertain
 whether such infections arose from healthcare workers or other patients; authors noted
 that “[t]he overall effect of . . . limitations [to the study] will likely have been to over-
 estimate probable and definite hospital-onset case numbers,” noting that this period


                                             157
Case 1:22-cv-01097-JPH-MG           Document 1 Filed 05/27/22             Page 158 of 208 PageID #:
                                              158



 reproduced in Plaintiffs’ Appendix and briefly described and linked above in

 footnote 89.

        736.    None of these six studies recommend vaccination as a means of

 reducing COVID-19 transmission in healthcare facilities, and it appears none of the

 research cited in the IFC presents data from a controlled study seeking to measure

 whether vaccination alters risk of healthcare workers transmitting the SARS-CoV2

 virus in a hospital setting.

        737.    Instead, all six studies recommend focusing upon diligent use of PPE

 and other mitigation measures, including primarily masking, and COVID-19 testing

 to identify asymptomatic infections for healthcare workers. 72

        738.    In terms of masking, one study relied upon in the IFC pointed to

 “findings [that] suggest that overall hospital transmission of SARS-CoV-2 in the




 covered a time with little preparedness for the pandemic, the authors observed that
 preparedness in the UK should be better due to “comprehensive guidelines for infection
 prevention . . . pre-admission testing of . . . patients . . . [and weekly] screen[ing] [of] staff . .
 . in periods of higher community prevalence”), available at:
 https://www.medrxiv.org/content/10.1101/2021.02.16.21251625v1.full-text; “Occupational
 COVID--19 exposures and secondary cases among healthcare personnel, Ibiebele, Jessica, et
 al., Am J Infect Control. 2021 Oct; 49(10): 1334–1336 (Aug. 8, 2021) (App. 69 at 1-4) (study
 conducted from Jun. 1 – Dec. 31, 2020, primarily analyzed 1,655 cases where a healthcare
 worker was exposed to COVID--19 from a patient that did not wear a cloth face covering or
 facemask and the healthcare worker was unmasked or was masked but did not wear eye
 protection and was within 6 feet of the case for at least 15 minutes and cases-known as Tier
 1 cases-and 311 cases where a healthcare worker was in in contact with an aerosol-
 generating procedure (AGP) and did not wear an N95 respirator (or equivalent), eye
 protection, gown and gloves-none as Tier 2 cases; authors recommended “[m]itigation
 factors must include widespread testing and adherence to isolation precautions and PPE
 guidelines including maintaining physical distancing when masks must be removed around
 other employees”), available at: https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8349432/.
 72 See studies at fn. 88 above.




                                                 158
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22       Page 159 of 208 PageID #:
                                           159



 setting of universal masking is likely rare, even during periods of high community

 prevalence.” 73

          739.   This paper cited an example of “[a] detailed contact tracing study of

 226 patients exposed to health care workers with confirmed COVID-19 during the

 surge in Boston found only 1 possible transmission, and this was in the context of a

 30-minute encounter during which both patient and health care worker were

 unmasked.” It also referenced, “a complementary analysis of the same hospital

 system, [where] researchers found no convincing cases of in-hospital transmission

 among more than 9000 admitted patients after implementation of universal

 masking for staff and patients.” 74

          740.   The study concluded, “[w]hat is clear is that these hospital-based

 outbreaks have not revealed a failure of universal masking, but rather challenges in

 systems such as inadequate support to maintain masking adherence and basic

 human nature, in which individuals tire of masking. In particular, breakdowns

 have occurred in small workrooms and during mealtime in facilities that were not

 designed to allow adequate physical distancing during a respiratory pandemic.” 75

          741.   All six studies analyzed data from 2020 when the Alpha variant was

 the primary strain of COVID-19; none discuss the more transmissible Delta variant;

 none suggest that use of masking, targeted use of N95 masks, appropriate hygiene

 and PPE, pre-work health assessments and temperature checks, along with regular


 73 See Richterman, Aaron, Hospital-Acquired SARS-CoV-2 Infection: Lessons for Public

 Health, JAMA 2155 (Dec. 1, 2020) (Ex. 64 at 1-2).
 74 Id.
 75 Id.




                                             159
Case 1:22-cv-01097-JPH-MG          Document 1 Filed 05/27/22         Page 160 of 208 PageID #:
                                             160



 COVID-19 testing (all regular practices at Ascension Health facilities) are

 insufficient to eliminate any material risk of healthcare workers transmitting

 COVID-19 in a hospital setting.

        742.   Thus, the studies upon which CMS relied in its IFC support Plaintiffs’

 position that mitigation measures that were already in place in Ascension Health

 facilities, and to which they strictly adhered, were reasonable accommodations

 which would have allowed them to continue working with patients without

 suspension on November 12, 2021, and without any materially increased risk to

 patients or the workplace.

        743.   The IFC requires compliance with Title VII and other federal anti-

 discrimination laws, including that “employers following CDC guidelines and the

 new requirements in this IFC may . . . be required to provide appropriate

 accommodations, to the extent required by Federal law, for employees who request

 and receive exemption from vaccination because of a . . . sincerely held religious

 belief, practice, or observance.” 76

 B.     Ascension Vaccine Mandate 77

        744.   On July 27, 2021, Ascension Health’s President and CEO, Joe

 Impicciche, sent an announcement to all Ascension Health employees (i.e.,

 “associates”), stating in part:

               Like many health systems across the country, including in many
               of our markets, we are moving to require our associates to be
               vaccinated against COVID-19 . . .

 76 86 Fed. Reg. 61,569 (Nov. 5, 2021).
 77 As used in this section, the term “Ascension” refers collectively to Ascension Health, Inc.

 and Ascension – St. Vincent.


                                              160
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22        Page 161 of 208 PageID #:
                                          161




               Tens of thousands of Ascension Health associates have already
               been vaccinated with the available vaccines, as have millions of
               people across the country and the world. But we must do more to
               overcome this pandemic as we provide safe environments for
               those we serve.

               Ascension Health will require that all associates be vaccinated
               against COVID-19, whether or not they provide direct patient
               care, and whether they work in our sites of care or remotely.

               This includes associates employed by subsidiaries and partners;
               physicians and advanced practice providers, whether employed
               or independent; and volunteers and vendors entering Ascension
               Health facilities. 78

 (emphasis added).
        745.   Mr. Impicciche’s motive for imposing a vaccine mandate is that he

 believes “there is a moral obligation to make use of the vaccines” and “increasing

 the utilization rate of COVID-19 vaccination . . . is a moral imperative.” (emphasis

 added). 79

        746.   Ascension Health’s vaccine mandate is even more encompassing than

 the IFC. The IFC does not apply to those who work remotely. 80 However, Ascension

 Health’s mandate does apply to those working remotely.

        747.   Ascension Health’s mandate is absolute in every way—there is no

 alternative for periodic testing, mask wearing, targeted use of N95 masks, etc., even



 78 Joe Impicciche (Ascension President and CEO) Letter to Ascension Associates re. COVID-

 19 Vaccination, (July 27, 2021) (App. 10 at 1-2).
 79 Joe Impicciche (Ascension President and CEO) Letter to Employees re: Pope Francis’

 statement COVID-19 vaccination and “act of love” and moral obligation, (Aug. 19, 2021)
 (App. 11 at 1-12).
 80 86 Fed. Reg. 61,570 (Nov. 5, 2021) (“Individuals who provide services 100 percent

 remotely, such as fully remote telehealth or payroll services, are not subject to the
 vaccination requirements of this IFC.”).


                                            161
Case 1:22-cv-01097-JPH-MG         Document 1 Filed 05/27/22          Page 162 of 208 PageID #:
                                            162



 for employees who have already had COVID-19 and still enjoy immunity from the

 disease. Employees must choose vaccination or face suspension leading to certain

 termination.

 C.     Plaintiffs’ Sincerely Held Religious Beliefs 81

        748.    The statement of Ascension Health’s President and CEO that there is

 a moral obligation of everyone to receive a COVID-19 vaccine is directly at odds

 with the sincerely held religious beliefs of the Plaintiffs.

        749.    Ascension Health has not challenged the sincerity of Plaintiffs’

 religious beliefs.

        750.    Plaintiffs’ beliefs easily fit within the common understanding of

 religious beliefs under Title VII which is “that a religious belief is a belief that is

 considered religious ‘in [the] person’s own scheme of things’ and is ‘sincerely held.’”

 Adeyeye, 721 F.3d at 448 (quoting Redmond v. GAF Corp., 574 F.2d 897, 901 n. 12

 (7th Cir.1978)).

 D.     Ascension Health’s Religious Exemption Process82
        751.    Ascension Health informed all its employees that it offered religious

 exemptions to its COVID-19 vaccine mandate.

        752.    Ascension Health’s Questions and Answers about Ascension Health’s

 Associate COVID-19 Vaccination Policy (“Ascension Health Vaccination Policy

 Q&A”) provides:


 81 As used in this section, the term “Ascension” refers collectively to Ascension Health, Inc.

 and Ascension – St. Vincent.
 82 As used in this section, the term “Ascension” refers collectively to Ascension Health, Inc.

 and Ascension – St. Vincent.


                                              162
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22        Page 163 of 208 PageID #:
                                          163



               In those instances when someone may not be able to get the
               COVID-19 vaccine because of a medical condition or strongly
               held religious belief, we will provide a process for requesting an
               exemption. Requests for exemptions will be reviewed by
               members of Associate and Occupational Health, Human
               Resources, and Mission Integration. The exemption application
               will be available the week of August 16. Exemption applications
               are due by October 1 to allow time for review. A decision will be
               made and shared with you by October 12 on the status of the
               exemption request. 83

        753.   Ascension Health’s announcement of a religious exemption process is

 in line with EEOC guidance on private employers issuing COVID-19 vaccine

 mandates. See What You Should Know About COVID-19 and the ADA, the

 Rehabilitation Act, and Other EEO Laws §§ K.1 & K.2., EEOC (May 28, 2021),

 https://www.eeoc.gov/wysk/what-you-should-know-about-COVID-19-and-ada-

 rehabilitation-act-and-other-eeo-laws.

        754.   Ascension Health repeatedly stated that if an employee was not

 vaccinated by November 12, 2021, they will be “suspended pending further

 investigation” and that “failure to comply will be deemed a voluntary resignation of

 the associate.” 84

        755.   Associates were told that all decisions regarding exemptions are made

 at Ascension Health’s national level and cannot be changed at the local level.

 Ascension Health managers explained to associates this policy meant that




 83 Ascension Vaccination Q&A at 8-9 (added July 30, 2021) (App. 12) (“When can I send in

 an exemption and what is the process?”).
 84 Ascension Vaccination Q&A at 11 (added July 28, 2021) (App. 12) (“What happens to an

 associate who declines to be vaccinated against COVID-19?”).


                                            163
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 164 of 208 PageID #:
                                         164



 associates denied a religious exemption who did not submit to COVID-19

 vaccination would be terminated on or about November 12, 2021.

       756.   The understanding that Ascension Health associates who did not get a

 COVID-19 vaccine by November 12, 2021, would be terminated on or about that

 date was reinforced by Ascension Health emails until November 5, 2021.

       757.   On November 5, 2021, Ascension Health, for the first time,

 communicated to all associates that, those not approved for exemptions who did not

 take a COVID-19 vaccine would be suspended on November 12, 2021, and then

 terminated on January 4, 2022:

              Ascension Health’s requirement for all associates and medical
              staff members to receive the COVID-19 vaccine by Nov. 12,
              2021, remains in effect. Associates and medical staff members
              who do not meet this requirement will be suspended. However,
              in alignment with the Centers for Medicare & Medicaid Services
              (CMS) timeline, associates will be reinstated if they complete
              and upload documentation of their fully vaccinated status by
              Jan. 4, 2022. Failure to meet this requirement will be considered
              a voluntary resignation. 85

       758.   Ascension Health set a deadline of October 1, 2021, for requests for

 exemptions from its vaccine mandate to be submitted. Ascension Health also set the

 same October 1 date as the deadline to apply for exemptions to Ascension Health’s

 Influenza vaccine requirement.

       759.   The October 1 submission deadline chosen by Ascension Health

 provided only six-weeks to process all requests for exemptions from COVID-19 and

 Influenza vaccination before the November 12, 2021, deadline for associates to be


 85 11/5/2021 email from Nick Ragone, Chief Marketing and Communications Officer

 (Ascension), Subject: An Important Message Regarding COVID-19 Vaccination.


                                          164
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 165 of 208 PageID #:
                                         165



 vaccinated. However, because two of the three vaccines require about a two-week

 period between injections, this meant that Ascension Health allotted only about a

 month to process all religious exemptions across its nationwide network.

       760.   Plaintiffs all applied before the October 1 deadline for religious

 exemptions from the COVID-19 vaccine.

                     Ascension Health’s Resign to Apply Ploy

       761.   Ascension Health forced applicants for an exemption from its COVID-

 19 vaccine mandate to use a cumbersome online application system that (1) limited

 the words they could provide when requesting an exemption and (2) made it appear

 that exemptions from the vaccine mandate were entirely at Ascension Health’s

 discretion because Ascension Health associates were told that they were required to

 either: (a) take the vaccine or (b) “resign” from employment if their exemption

 request was not approved.

       762.   The automated online religious exemption application interface

 created by Ascension Health asked applicants to click a drop down stating: “’I Agree’

 to voluntarily resign if my request is denied and I do not comply.”

       763.   Through this method Ascension Health actively sought to require its

 employees to prejudice or limit their Title VII rights (or to believe that they had

 waived their Title VII rights, including their right to contest Ascension Health’s

 exemption decision) merely to be able to request an exemption from Ascension

 Health’s vaccine mandate.




                                           165
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22       Page 166 of 208 PageID #:
                                           166



       764.      Ascension Health’s “resign” requirement messaging was thereafter

 followed up on by Ascension Health managers who asked exemption applicants

 when they were going to “resign.”

       765.      On November 5, 2021, Ascension Health notified its associates that

 any associates not vaccinated by November 12, 2021, “will be suspended” and that

 failure to be vaccinated by January 4, 2022, “will be considered a voluntary

 resignation.”

       766.      Ascension Health’s coercive effort to leverage the exemption process

 from the outset as a tool to limit its associates’ rights and encourage them to

 (a) believe they had to resign if an exemption was not granted to them, or

 (b) abandon the exemption process, and (c) had the effect of making some employees

 believe that the exemption process was entirely at Ascension Health’s discretion,

 and (d) discouraged Ascension Health employees from asserting their rights under

 Title VII.

    Ascension Health’s First Week in October Religious Exemption Denials

       767.      Ascension Health told associates that exemption applications would be

 available the week of August 16 and due by October 1.

       768.      Plaintiffs submitted their applications for exemption but all received

 denials.

       769.      No associate was contacted by Ascension Health’s exemption

 processors to ask any questions about accommodations or to discuss their

 application in any way.




                                             166
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22        Page 167 of 208 PageID #:
                                        167



       770.   It is apparent that Ascension Health outsourced its religious

 exemption processing.

       771.   Every exemption denial came from the same generic and anonymous

 email address: Ascension Healthprod@service-now.com.

       772.   No local input was permitted into Ascension Health’s religious

 exemption review process.

       773.   Ascension Health’s confusing exemption process created a sense of the

 inevitability of denials that put pressure on associates who had sought religious

 exemptions to capitulate and receive the vaccine.

       774.   By waiting until the first week in October or later to deliver denials

 Ascension Health put additional pressure on associates to capitulate and reduced

 the opportunity for associates to interact with Ascension Health as by the time

 denials were received only about three weeks remained before an associate would

 need to be vaccinated to comply with Ascension Health’s original November 12

 deadline.

       775.   Ascension Health’s convoluted exemption process discouraged some

 associates from even applying for a religious exemption.

       776.   For instance, after Plaintiff Patrick Fowler’s denial, faced with no

 other option, Mr. Fowler gave in to Ascension Health’s demands and took the

 vaccine soon after the denial of his application. Mr. Robert Runge was also coerced

 into taking the vaccine.




                                          167
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 168 of 208 PageID #:
                                         168



       777.   Ascension Health’s failure to fully assess or scrutinize initial religious

 exemption requests as required by Title VII and to instead deny initial exemption

 requests with little or no scrutiny, put applicants for religious exemption at

 immediate risk of termination and ratcheted up the pressure on those whose

 religious accommodation requests had been perfunctorily denied.

  Ascension Health’s Refusal to Engage in an Interactive Process with Those
                        Requesting Accommodation

       778.   At no time did Ascension Health engage any Plaintiff in give and take

 discussion about potential accommodations. Although several Plaintiffs tried to

 engage Ascension Health in dialogue, they were ignored and no face-to-face or

 verbal meetings on religious exemption accommodations took place with any

 Plaintiff. Due to Ascension Health’s disinterest in communicating with any Plaintiff

 about their request for religious exemption there was:

              (a)    No discussion about what mitigation measures any Plaintiff
                     used to prevent COVID-19 transmission;

              (b)    No discussion about what mitigation measures any Plaintiff
                     would be willing to use to prevent COVID-19 transmission;

              (c)    No discussion about the level of mitigation measures employed
                     by Ascension Health personnel in Plaintiff’s unit and hospital in
                     order to prevent COVID-19 transmission;

              (d)    No discussion about statistical data relating to transmission
                     rates in Plaintiffs unit or hospital;

              (e)    No discussion about what parts of Ascension Health facilities
                     any Plaintiff might be willing to avoid (such as breakrooms,
                     lounges, cafeterias, waiting rooms, etc.) as an accommodation;

              (f)    No discussion about the frequency of COVID-19 testing any
                     Plaintiff might agree to as an accommodation;




                                           168
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 169 of 208 PageID #:
                                         169



              (g)    No discussion about any prior exposure of Plaintiff to the SARS-
                     Co-V-2 virus;

              (h)    No discussion about antibody levels and other indicia of
                     immunity to the SARS-Co-V-2 virus that the Plaintiff might
                     have;

              (i)    No discussion about the Plaintiff’s reliability and why they could
                     be depended upon to rigorously employ mitigation measures;

              (j)    No discussion about the current level of community spread of
                     the SARS-Co-V-2 virus;

              (k)    No discussion about the vaccination rate in Plaintiff’s unit;

              (l)    No discussion about the vaccination rate in Plaintiff’s hospital;

              (m)    No discussion about the vaccination rate among Ascension
                     Health’s patients at Plaintiff’s healthcare facility;

              (n)    No discussion about the number of individuals with medical
                     exemptions who are caring for patients in Plaintiff’s unit, in
                     Plaintiff’s hospital and within the Ascension Health system;

              (o)    No discussion about policies and procedures of Plaintiffs who
                     exclusively provide telehealth or telemedicine services outside
                     the hospital setting and who do not have direct contact with
                     patients;

              (p)    No discussion about policies and procedures for Plaintiffs who
                     provide support services outside of the hospital setting and who
                     do not have contact with patients and staff; and

              (q)    No discussion about the lack of SARS-Co-V-2 virus
                     transmissions within Plaintiff’s unit.

       779.   As a result, no Plaintiff has reason to believe any of the foregoing

 topics or any other relevant factor was ever considered by Ascension Health in

 relation to any Plaintiff’s religious exemption request, and Plaintiffs reasonably

 believe that no such factors were considered by Ascension Health.




                                          169
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22        Page 170 of 208 PageID #:
                                           170



          Ascension Health’s “Out of the Blue” 7-Day Appeal Deadline

        780.     Many of the applicants for religious exemptions received a perfunctory,

 boilerplate email stating that their request for exemption had been denied, but this

 email confusingly stated that, although their request for exemption was denied, the

 associate had seven-days to submit additional information to Ascension Health.

        781.     Nothing about Ascension Health’s prior written instructions to its

 associates alerted them that those applying for exemptions would have an appeal

 opportunity, or that they could submit documents and information to Ascension

 Health outside the online submission process, or that an appeal process would give

 them 7-days to submit documents after denial of an application for exemption.

        782.     Notification to associates about the 7-day appeal period came “out of

 the blue” and was only contained in the email Ascension Health sent denying their

 request for religious exemption. It was not, for instance, referenced in Ascension

 Health’s Q&A document. In fact, from August onward the Q&A document told

 associates, “there will not be an appeal process.” 86

        783.     As a result, some Plaintiffs did not even become aware that they had

 received an email giving them only 7-days to appeal until several days into the

 short period.

        784.     The short 7-day deadline put further pressure on associates seeking

 religious exemptions.




 86 Ascension Vaccination Q&A at 5 (added August 16, 2021) (App. 12) (“If a request for

 exemption is denied is there an appeal process?”).


                                             170
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 171 of 208 PageID #:
                                         171



       785.   The notice that documentation could be submitted to Ascension Health

 was confusing because it followed a written denial of the associate’s application for

 exemption.

       786.   The notice did not explain why an associate should submit

 documentation given the associate’s exemption request had already been denied.

       787.   Moreover, Ascension Health’s perplexing communication did not

 explain what information Ascension Health might be looking for, or even how to

 submit the documentation.

       788.   The “out of nowhere” appeal and document submission process was

 another confusing aspect of the exemption process for associates and appears to

 have been intended to be that way, as it is difficult to believe that a corporation as

 large as Ascension Health going through a vaccine mandate rollout that had been

 ongoing for months – and supported by an outside workflow processing company –

 did not carefully think through the religious exemption process it would put

 applicants through.

       789.   Ascension Health surely could have invited the submission of

 documentation supporting an applicant’s exemption request at the outset of the

 process before Ascension Health had issued a denial of an associate’s exemption

 request had it wanted to.

       790.   Yet, Ascension Health chose instead to take requesters through a

 process that severely limited the word count of their initial request and did not

 initially provide a process for submitting documents, then only advised requesters




                                           171
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22      Page 172 of 208 PageID #:
                                          172



 of an opportunity to submit documentation after the requester’s application had

 been denied.

       791.     These confounding aspects of Ascension Health’s exemption process

 had at least two impacts: (a) they limited the number of religious exemption

 requesters who would submit documentation to only the most patient and

 persistent, and (b) they put additional time pressure on all applicants for

 exemptions, giving them a short deadline that they had no opportunity to plan for,

 and it perhaps induced some to abandon their request for exemption.

                  Ascension Health’s Run Out the Clock Strategy

       792.     Ascension Health’s chaotic exemption process was either an utter

 disaster of organization, coupled with a callous refusal to reasonably communicate

 with associates seeking religious exemptions, or a calculated effort to game

 associates into not pursuing their legal rights.

       793.     The unexpected out of the blue appeal process initially provided the

 Plaintiffs false hope that they might still convince Ascension Health of the merits of

 their claims. Yet, their requests were still denied.

       794.     Thus, the process Ascension Health chose to employ to process

 religious exemption requests ran many associates to the brink of suspension until

 just about a week before the November 12 deadline, as many Plaintiffs received

 virtually identical boilerplate emails confirming their exemption requests had been

 denied.




                                           172
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22      Page 173 of 208 PageID #:
                                        173



    Ascension Health’s Associate Suspension and “Voluntary Resignation”
       Maneuver and Last-Minute “Individualized Assessment” Emails

       795.   On November 5, 2021, after CMS issued its IFC Rule earlier in the

 day, Ascension Health sent an email informing associates that any associate who

 was unvaccinated by November 12 “will be suspended” and if they were not fully

 vaccinated by January 4, 2022, it would “be considered a voluntary resignation.”

       796.   This maneuver imposed additional hardship upon religious exemption

 requesters by imposing a two-month suspension without pay merely because they

 requested a religious exemption. It also extended by an additional two months the

 covenant not to compete of any suspended associate with a covenant not to compete.

 By imposing a suspension and then describing an associate’s termination

 inaccurately as a “voluntary resignation,” these characterizations made it more

 difficult for those who sought religious exemptions to obtain unemployment

 compensation.

       797.   Ascension Health’s last-minute creation of a 2-month mandatory

 suspension purgatory for applicants for religious exemption underscores the

 arbitrariness of Ascension Health’s original November 12, 2021, deadline for

 receiving the vaccine.

       798.   Also, between November 4-6, 2021, after they had already been

 notified that their exemption requests had been denied, many Plaintiffs received

 another unprompted, out of the blue, email.

       799.   This email repeated that the Plaintiff had been denied an exemption

 and then disingenuously stated that the associate had been denied based on an



                                         173
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 174 of 208 PageID #:
                                         174



 “individualized assessment,” without saying anything about what the alleged

 assessment entailed.

        800.   Ironically, the numerous “individualized assessment” emails sent out

 by Ascension Health were not individualized in any way. They were simply

 mechanized, mass-produced emails evidently sent merely to insert into the chain of

 emails received by each associate the magic words, “individualized assessment.”

        801.   Despite what the email claimed, however, Plaintiffs did not receive any

 truly individualized communication from Ascension Health in relation to their

 religious exemption requests addressing the individual circumstances of any

 Plaintiff.

          Ascension Health’s Last-Minute Religious Exemption U-Turn

        802.   After putting thousands of Ascension Health associates through the

 turmoil of unpaid suspensions and termination notices, on or about December 17,

 2021, Ascension Health began calling back to work thousands of suspended

 associates whose religious exemptions had been denied.

        803.   These call backs, initiated only a little over a month after so many

 individuals had been suspended without pay, were utterly inconsistent with the

 singular justification given associates for denying their religious exemptions which

 had uniformly been a claim of increased risk.

        804.   Ascension Health’s communications and explanations given for its call

 backs were less than fulsome. Associates were called by supervisors on scripted

 phone calls and most questions were unanswered or deferred to Human Resources.




                                           174
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22       Page 175 of 208 PageID #:
                                          175



         805.   In general, many associates were not even told that their religious

 exemptions had been granted but instead were simply advised they were being

 called back to work and given only a matter of days to decide whether to return to

 work.

         806.   Associates were told that if they did not promptly return, they would

 be considered to have voluntarily resigned.

         807.   If they asked Associates who were also informed they would not be

 repaid any of the wages they lost through Ascension Health’s unpaid suspensions.

         808.   Nor were any apologies issued by Ascension Health management for

 the considerable turmoil they put their healthcare workers through.

     Discriminatory Treatment of AGACNP-BC Maupin, CNM Monte, NP
    Stafford, and ANP Weisend: Lengthy Unpaid Suspension and Delayed
                               Termination

         809.   As explained above, despite unvaccinated, similarly situated, co-

 workers being recalled, AGACNP-BC Maupin, CNM Monte, NP Stafford, and

 ANP Weisend were not permitted to return to work.

         810.   Ultimately, AGACNP-BC Maupin was kept on unpaid suspension for

 thirty-nine (39) days, and St. Vincent attempted to run her one-year covenant not to

 compete period from her December 20, 2021 termination date.

         811.   CNM Monte was kept on unpaid suspension for seventy-two (72) days,

 and St. Vincent attempted to run her one-year covenant not to compete period from

 her January 22, 2022 termination date.




                                           175
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 176 of 208 PageID #:
                                         176



       812.   While NP Stafford has yet to receive written notice, she has learned

 that she was terminated on December 20, 2021 and was kept on unpaid suspension

 for thirty-nine (39) days.

       813.   Additionally, while ANP Weisend was temporarily recalled on

 December 26, 2021, nineteen (19) days later, on January 14, 2022, she was

 terminated “due to a reduction in force affecting [her] department,” information

 that upon information and belief, should have been known prior to her recall, at a

 minimum.

       814.   There is no reasonable explanation for St. Vincent’s and Ascension

 Health’s treatment of AGACNP-BC Maupin, CNM Monte, NP Stafford, and

 ANP Weisend, raising a strong inference of religious discrimination and/or

 retaliation for pursuing their religious rights.

                               CLASS ALLEGATIONS

        On behalf of Plaintiffs Mr. Chad Denney, Ms. Brenda Hartman,
        Mr. Chris Parr, Mr. Robert Runge, PA-C Amanda Thiergartner,
              ANP Alaynah Weisend, and Mr. Andrew Zenthofer,
                         and others similarly situated

       815.   Plaintiffs Nurse Heather King, Ms. Brenda Hartman, Mr. Chris Parr,

 Mr. Robert Runge, PA-C Amanda Thiergartner, ANP Alaynah Weisend, and

 Mr. Andrew Zenthofer are identified as potential class representatives to bring this

 class action under Rules 23(a) and (b) of the Federal Rules of Civil Procedure.

       816.   Through this action, Plaintiffs seek to represent a class of all current

 or past Ascension Health and/or St. Vincent Health employees who have requested




                                           176
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22          Page 177 of 208 PageID #:
                                        177



 or will request religious exemption or accommodation from Ascension Health’s

 COVID-19 vaccine mandate and have:

              (a)   been terminated, discharged or constructively discharged as a
                    consequence of not taking a COVID-19 vaccine, or

              (b)   resigned or left employment after announcement of Ascension
                    Health’s COVID-19 mandate, or

              (c)   been placed on unpaid suspension and recalled to work and not
                    paid the wages lost as a result of being placed on unpaid
                    suspension, or

              (d)   been placed on unpaid suspension and not paid the wages lost as
                    a result of suspension and never recalled to work, or

              (e)   received the COVID-19 vaccine against their religious beliefs in
                    fear of termination;

              (f)   received a COVID-19 vaccine following Ascension Health’s
                    denial of their request for a religious exemption; and

              (g)   received a dose of the COVID-19 vaccine against their religious
                    beliefs in fear of termination but did not receive the second
                    dosage;

       817.   Plaintiffs anticipate that they may ultimately seek three or more

 subclasses when they move for class certification, including:

              (a)   employees who sought religious accommodations and were
                    placed on unpaid suspension as a result of not receiving a
                    COVID-19 vaccine and were later asked to return to work but
                    not paid all wages lost as a result of being placed on unpaid
                    suspension;

              (b)   employees of St. Vincent Health with written employment
                    contracts who were denied religious exemptions to Ascension
                    Health’s vaccine mandate and were suspended and/or
                    terminated by St. Vincent Health for not receiving a COVID-19
                    vaccine and/or who received notice from St. Vincent Health or
                    Ascension Health that their employment would be suspended or
                    terminated if they did not receive a COVID-19 vaccine because
                    their application for religious exemption was denied; and



                                          177
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 178 of 208 PageID #:
                                         178



              (c)    employees of Ascension entities without a written employment
                     contract who were denied religious exemptions to Ascension
                     Health’s vaccine mandate and were suspended and/or
                     terminated by Ascension Entities for not receiving a COVID-19
                     vaccine and/or who received notice from Ascension Health
                     and/or Ascension Entities that their employment would be
                     suspended or terminated if they did not receive a COVID-19
                     vaccine because their application for religious exemption was
                     denied.

       818.   The class is so numerous that joinder of all members is impractical.

 While the exact class size is unknown to Plaintiffs at this time, it is expected to

 exceed 2,500 employees. The precise number and identification of the class

 members will be ascertainable from Ascension Health’s records during discovery.

       819.   There are questions of law and fact common to all members of the

 class. Those common questions include, but are not limited to, the following:

              (a)    Did Ascension Health and/or the Ascension Entities provide
                     their employees with an adequate mechanism for requesting an
                     accommodation when it required requests to be submitted
                     through an online system which limited the amount of
                     information that could be provided in support of an exemption
                     request and by an arbitrary date?

              (b)    Did Ascension Health and/or Ascension Entities comply with its
                     obligations under federal law to engage in the interactive
                     process when responding to each accommodation request?

              (c)    Did Ascension Health and/or Ascension Entities comply with its
                     obligations under federal law when it sought to require
                     associates to agree to resign if their religious exemption request
                     was denied by Ascension Health?

              (d)    Did Ascension Health and/or Ascension Entities comply with its
                     obligations under federal law when it issued accelerated denials
                     of applicants for religious exemptions and then offered them an
                     arbitrary seven (7) day appeal period in which to submit
                     additional evidence to Ascension Health?




                                           178
Case 1:22-cv-01097-JPH-MG   Document 1 Filed 05/27/22       Page 179 of 208 PageID #:
                                      179



             (e)   Did Ascension Health and/or Ascension Entities comply with its
                   obligations under federal law through providing its employees a
                   confusing and chaotic process for seeking religious exemptions?

             (f)   Was the uniform and perfunctory one-sentence justification that
                   Ascension Health gave all employees for denying their religious
                   exemption requests pretextual?

             (g)   Was the uniform and perfunctory one-sentence justification that
                   Ascension Health gave all employees for denying their religious
                   exemption requests sufficient to establish undue hardship?

             (h)   Did Ascension Health and/or Ascension Entities comply with its
                   obligations under federal law to reasonably accommodate
                   employees with religious objections to the vaccine mandate and
                   to not discriminate when it offered no accommodations and
                   denied religious exemption requests on the basis of alleged
                   increased risk while granting medical exemption requests?

             (i)   Did Ascension Health and/or Ascension Entities intentionally
                   pursue a strategy to terminate or not grant a religious
                   exemption for as many associates as possible who sought a
                   religious exemption to taking a COVID-19 vaccine?

             (j)   Was the statement of Ascension Health’s President and CEO,
                   made to all Ascension Health associates, that receiving COVID-
                   19 vaccination was a “moral obligation” and that increasing the
                   number of persons vaccinated was a “moral imperative” a motive
                   for Ascension Health’s denial of religious exemptions?

             (k)   Did Ascension Health and/or Ascension Entities engage in
                   religious discrimination when it told all Ascension Health and
                   Ascension Entities’ employees that they were morally required
                   to be vaccinated and then denied a high percentage of religious
                   exemption requests to Ascension Health’s vaccine mandate?

             (l)   Did Ascension Health and/or Ascension Entities retaliate
                   against employees who engaged in protected activity when it
                   initially responded to all or most exemption requests by denying
                   the request and then engaging in a common pattern of conduct
                   designed to discourage or dissuade employees from requesting
                   (or continuing to seek) an accommodation?

             (m)   Did Ascension Health and/or Ascension Entities retaliate
                   against employees who engaged in protected activity when it



                                        179
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 180 of 208 PageID #:
                                         180



                    purposefully and perfunctorily denied requests for religious
                    exemption without fully examining them?

              (n)   Did Ascension Health and/or Ascension Entities fail to
                    reasonably accommodate the religious exemption requests of
                    employees who had previously recovered from the SARS-CoV-2
                    virus when Ascension Health failed to consider immunity gained
                    from prior infection in evaluating religious exemption requests?

              (o)   Did Ascension Health and/or Ascension Entities violate federal
                    law by failing to repay (or causing its associated hospitals to fail
                    to repay) lost wages to employees who had sought religious
                    exemptions and who were placed on unpaid suspension?

              (p)   Did St. Vincent Health breach its employment contracts with its
                    employees by not maintaining reasonable written policies
                    related to religious exemptions and/or its Covid-19 vaccine
                    mandate and terminating Plaintiffs and those similarly situated
                    without cause?

              (q)   Did St. Vincent Health breach its employment contracts with its
                    employees by terminating employees for not complying with
                    unreasonable employer policies?

              (r)   Did St. Vincent Health breach its employment contracts with its
                    employees by terminating employees for allegedly not complying
                    with Ascension Health policies?

              (s)   Did St. Vincent Health breach its employment contracts with its
                    employees by placing employees on unpaid suspension?

              (t)   Did St. Vincent Health conspire with Ascension Health to
                    breach St. Vincent Health’s employment contracts with its
                    employees by not maintaining reasonable written policies
                    related to religious exemptions and/or its Covid-19 vaccine
                    mandate and conspire with Ascension Health to terminate
                    Plaintiffs and those similarly situated without cause?

              (u)   Did Ascension Health interfere with employment contracts with
                    St. Vincent?

       820.   Plaintiffs’ claims are typical of the claims of the class because they,

 like the class members, requested accommodations from Ascension Health’s and/or

 Ascension Entities’ vaccine mandate, and sought to maintain their employment


                                           180
Case 1:22-cv-01097-JPH-MG          Document 1 Filed 05/27/22     Page 181 of 208 PageID #:
                                             181



 with Ascension Health and/or Ascension Entities formally or effectively denied

 those requests without engaging in the interactive process and/or in breach of

 Plaintiffs’ contractual rights.

        821.   For the same reason, Plaintiffs will fairly and adequately protect the

 interests of the class.

        822.   The questions of law or fact common to the members of the class

 predominate over any questions affecting only individual members, and a class

 action is superior to other available methods for fairly and efficiently adjudicating

 Plaintiffs’ claims. Joinder of all members is impracticable.

                                         COUNT I

                   Violation of Title VII, 42 U.S.C. § 2000e, et seq.

                       Religious Discrimination—Retaliation

        On behalf of all named Plaintiffs and others similarly situated

        823.   Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

        824.   Title VII prohibits Ascension Health and the Ascension Entities from

 retaliating against an employee for engaging in protected activity. See Boston v.

 U.S. Steel Corp., 816 F.3d 455, 464-65 (7th Cir. 2016).

        825.   Plaintiffs engaged in protected activity when they requested (or sought

 to request) religious accommodations from Ascension Health’s vaccine mandate.

        826.   Attempting to leverage access to the religious application process itself

 to require Ascension Health and/or Ascension Entities’ employees to sign away their

 Title VII rights and “voluntarily resign” if Ascension Health denied their




                                            181
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 182 of 208 PageID #:
                                         182



 application is itself retaliatory and an attempt to limit the Title VII rights of those

 requesting religious accommodation.

       827.   Ascension Health’s “voluntarily resign” ploy is further evidence of the

 lack of good faith inherent in Ascension Health’s handling of its vaccine mandate

 exemption process.

       828.   The lack of face-to-face or telephonic communication with requesters

 about the circumstances in which they work or other relevant matters raises an

 inference that little or no inquiry or individualized evaluation was given to the

 requests.

       829.   Ascension Health’s pattern and practice of sitting on associates’

 exemption requests for lengthy periods ranging up to 50 days and then responding

 with the same perfunctory, pro forma, denials that everyone else received also

 supports the conclusion that no individualized inquiry was undertaken as to any

 religious exemptions.

       830.   Further, springing an arbitrary additional seven-day period to submit

 additional information to Ascension Health after the associate’s initial request for

 exemption had already been denied suggests that Ascension Health did not operate

 the religious exemption process in good faith.

       831.   These actions did, and were intended to, coerce Plaintiffs and other

 employees to either forgo their religious beliefs and receive the COVID-19 vaccine or

 abandon or not fully document their applications for religious exemption.




                                           182
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 183 of 208 PageID #:
                                         183



       832.    Ascension Health’s cumbersome, chaotic, and confusing religious

 exemption process constituted retaliation towards associates seeking religious

 exemptions.

       833.    Ascension Health’s discriminatory treatment of religious

 accommodation requests—arbitrarily cutting off the deadline for submitting

 religious accommodations while at the same time granting requests for medical

 accommodation—supports an inference that Ascension Health planned to not grant

 religious accommodation requests and that the religious exemption process was a

 charade.

       834.    Further, Ascension Health’s false characterization of Plaintiffs as

 being “suspended” was coercive, prejudicial to Plaintiffs, and in retaliation for

 Plaintiffs seeking a religious exemption.

       835.    Ascension Health’s and Ascension Entities’ refusal to pay Plaintiffs for

 the wages they lost while purportedly suspended without pay was the result of the

 arbitrary and illegal failure to earlier grant religious exemptions to Plaintiffs and

 violated Title VII.

       836.    Ascension Health’s false characterization of Plaintiffs as voluntarily

 resigning effective January 4, 2022, was prejudicial and in retaliation for Plaintiffs

 seeking a religious exemption.

       837.    Further, Ascension Health’s emails sent to Plaintiffs claiming that

 “individualized assessment[s]” of their circumstances had occurred were false and




                                             183
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22        Page 184 of 208 PageID #:
                                           184



 were intended to mislead Plaintiffs and dissuade them and others similarly situated

 from pursuing their rights under Title VII.

        838.    Plaintiffs’ religious beliefs and their protected activity of seeking a

 religious exemption were the causes of Ascension Health’s adverse employment

 actions.

        839.    By retaliating against Plaintiffs for engaging in protected activity,

 i.e., filing requests for religious exemption and seeking accommodation, Ascension

 Health has violated Title VII. This violation has harmed and continues to harm

 Plaintiffs.

        840.    The Ascension Entities are fully responsible for the discriminatory

 conduct of Ascension Health because the Ascension Entities permitted Ascension

 Health to handle vaccination procedures and the religious exemption process in

 relation to St. Vincent employees.

        841.    Plaintiffs have filed charges with the EEOC complaining of these

 retaliatory and unlawful actions on a class wide basis.

        842.    Wherefore, Plaintiffs request that the Court grant them the relief

 requested in their prayer for relief below.

                                         COUNT II
                    Violation of Title VII, 42 U.S.C. § 2000e, et seq.

               Religious Discrimination—Direct and Indirect Methods

         On behalf of all named Plaintiffs and others similarly situated

        843.    Plaintiffs restate the foregoing paragraphs as if set forth fully herein.




                                             184
Case 1:22-cv-01097-JPH-MG          Document 1 Filed 05/27/22     Page 185 of 208 PageID #:
                                             185



        844.    Pursuant to 42 U.S.C.A. § 2000e-2(a)(1) it is “an unlawful employment

 practice for an employer. . . to discharge any individual . . . because of such

 individual’s . . . religion[.]”

        845.    The Supreme Court has observed that this “intentional discrimination

 provision prohibits certain motives, regardless of the state of the actor’s knowledge,”

 E.E.O.C. v. Abercrombie & Fitch Stores, Inc., 575 U.S. 768, 773 (2015), and that

 “Title VII does not demand mere neutrality with regard to religious practices [of

 employees]—that they be treated no worse than other practices. Rather, it gives

 them favored treatment[.]” Id. at 775.

        846.    “Title VII has been interpreted to protect against requirements of

 religious conformity and as such protects those who refuse to hold, as well as those

 who hold, specific religious beliefs.” Equal Opportunity Emp. Comm’n v. United

 Health Programs of Am., Inc., 213 F. Supp. 3d 377, 391 (E.D.N.Y. 2016) (citation

 omitted).

        847.    Therefore, Title VII will support a claim for “reverse religious

 discrimination: that defendants subjected claimants to discrimination by imposing

 religious practices and beliefs on claimants.” Id.

        848.    “Title VII . . . protects employees from discrimination because they do

 not share their employer’s religious beliefs.” Id. at 392.

        849.    Thus, for example, “[a]n employer discriminating against any non-

 Catholic violates the anti-discrimination laws no less than an employer




                                            185
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22         Page 186 of 208 PageID #:
                                          186



 discriminating only against one discrete group[.]” Mandell v. Cty. of Suffolk,

 316 F.3d 368, 378 (2d Cir. 2003).

        850.   In connection with Ascension Health’s vaccination mandate, Ascension

 Health’s President and CEO stated in official communications to all Ascension

 Health associates that it is a “Catholic . . . moral imperative” to “increase[e] the

 utilization rate of COVID-19 vaccination” 87 and that Ascension Health’s vaccine

 mandate furthers this goal.

        851.   Ascension Health’s effort to impose an allegedly “Catholic . . . moral

 imperative” upon employees and require them to set aside their personal religious

 beliefs on pain and penalty of losing employment is overtly discriminatory.

        852.   Title VII prohibits Ascension Health from requiring its employees

 conform to a religious belief that COVID-19 vaccination is a “moral imperative.”

        853.   Ascension Health’s inhospitable view of the religious beliefs of

 employees who find taking the COVID-19 vaccines to be morally objectionable and

 contrary to their religious practices supports an inference that Plaintiffs were

 discriminated against based on their refusal, on religious grounds, to receive a

 COVIS-19 vaccine and due to their applying for religious exemption.

        854.   Additional evidence of Ascension Health’s discrimination and animus

 towards those unwilling to receive a COVID-19 vaccine due to sincerely held




 87 Joe Impicciche (Ascension President and CEO) Letter to Associates re: Pope Francis’

 statement COVID-19 vaccination and “act of love” and moral obligation, (Aug. 19, 2021)
 (App. 11 at 1-12).


                                            186
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 187 of 208 PageID #:
                                         187



 religious beliefs is Ascension Health’s handling of religious exemption requests in

 comparison to its treatment of exemption requests based on secular reasons.

       855.   Ascension Health’s discriminatory treatment in the handling of

 religious exemption requests vis-à-vis medical exemption requests, i.e., favoring

 medical exemptions while disfavoring religious exemptions, presents a classic case

 of reverse discrimination. See, e.g., Dahl v. Bd. of Trustees of W. Michigan Univ.,

 No. 21-2945, 2021 WL 4618519, at *5 (6th Cir. Oct. 7, 2021) (discrimination in the

 handling of COVID-19 vaccination requirements for student-athletes vs. no

 vaccination requirement for non-athletes).

       856.   Reliance on a pretextual or insufficient reason for its adverse

 employment decisions raises an inference of discrimination.

       857.   Further evidence of Ascension Health’s bias and discrimination

 against Plaintiffs is the perfunctory and plainly pretextual reason given every

 applicant denied a religious exemption.

       858.   The totality of the circumstances related to Ascension Health’s

 cumbersome, chaotic, and confusing religious exemption process also supports an

 inference of religious discrimination.

       859.   It is now clear that the reason given by Ascension Health for not

 providing accommodation (i.e., “increased risk”) was pretextual as Ascension Health

 did not consider individualized information about Plaintiffs relevant to risk.

       860.   To try to cover up Ascension Health’s failure to individually assess the

 circumstances of religious exemption applicants, on or about November 4-6, 2021,




                                           187
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22        Page 188 of 208 PageID #:
                                          188



 weeks after most requesters had already received notification their request for

 religious exemption had been denied, representatives of Ascension Health sent

 Plaintiffs, and many others similarly situated, identical, robotic, boilerplate, emails

 from a centralized email address, Ascension Healthprod@service-now.com, stating

 that an “individualized assessment” of the circumstances surrounding each

 associate’s religious exemption request had been undertaken.

       861.   However, making a claim of “individualized assessment” in mass

 produced emails sent to scores of religious exemption applicants from an

 anonymous email address does not make it so.

       862.   These last-minute emails are in fact an admission by Ascension Health

 that an individualized assessment should have been conducted, and indeed was

 required by Title VII to have been conducted but was not.

       863.   These emails further demonstrate that knowing that Ascension Health

 had not fulfilled its legal obligations to Plaintiffs and others similarly situated,

 Ascension Health representatives sought to cover up Ascension Health’s serial

 failures to comply with Title VII.

       864.   It is reasonable to infer from the totality of the circumstances that

 Ascension Health did not bother engaging in an interactive process with those

 seeking religious exemption because Ascension Health intended to discriminate

 against those seeking religious exemptions and never intended to provide them with

 a reasonable accommodation.




                                            188
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 189 of 208 PageID #:
                                         189



       865.   Ascension Health and/or the Ascension Entities discriminated against

 Plaintiffs by failing to grant them religious exemptions and then putting them on

 unpaid suspensions.

       866.   By discriminating against Plaintiffs because of their sincerely held

 religious beliefs and their decisions to apply for religious exemptions Ascension

 Health and/or the Ascension Entities violated Title VII, and this violation has

 harmed and continues to harm Plaintiffs.

       867.   The Ascension Entities are fully responsible for the discriminatory

 conduct of Ascension Health because the Ascension Entities permitted Ascension

 Health to handle vaccination procedures and the religious exemption process in

 relation to the Ascension Entities’ employees and these Ascension Entities carried

 out Ascension Health’s directive to suspend unvaccinated employees without pay.

       868.   Plaintiffs have filed charges with the EEOC complaining of these

 unlawful actions on a class wide basis.

       869.   Wherefore, Plaintiffs request that the Court grant them the relief

 requested in their prayer for relief below.

                                      COUNT III
                  Violation of Title VII, 42 U.S.C. § 2000e, et seq.

              Religious Discrimination—Failure to Accommodate

        On behalf of all named Plaintiffs and others similarly situated

       870.   Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

       871.   Title VII prohibits Ascension Health from discriminating against

 employees based on their religion. This “include[s] all aspects of religious


                                           189
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22         Page 190 of 208 PageID #:
                                          190



 observance and practice, as well as belief, unless an employer demonstrates that he

 is unable to reasonably accommodate an employee’s . . . religious observance or

 practice without undue hardship on the conduct of the employer’s business.”

 42 U.S.C. § 2000e(j).

       872.   “The intent and effect of this definition was to make it an unlawful

 employment practice . . . for an employer not to make reasonable accommodations,

 short of undue hardship, for the religious practices of his employees and prospective

 employees.” Trans World Airlines, Inc. v. Hardison, 432 U.S. 63, 74 (1977).

       873.   The employer must carry the burden of proving undue hardship.

 42 U.S.C. § 2000e(j); EEOC Religious Accommodation Regulation, 29 C.F.R. §

 1605.2(b) and (c)(1).

       874.   For many Plaintiffs, Ascension Health has provided a one-sentence

 justification for its denial of Plaintiffs’ requests for religious exemptions:

              “Due to the nature of your role, approving this accommodation
              poses undue hardship to the organization due to increased risk
              to the workplace and patient safety.”

       875.   Ascension Health’s perfunctory explanation is vague and prevents or

 dissuades applicants from proposing potential accommodations. For instance, the

 phrase “this accommodation” is not specific and does not identify the

 accommodation(s) that Ascension Health is stating would impose an undue

 hardship.




                                            190
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22      Page 191 of 208 PageID #:
                                         191



       876.   For the other Plaintiffs, no justification was provided beyond Ascension

 Health’s mere denial and demand to comply with the vaccination requirement by

 November 12, 2021.

       877.   As there was no dialogue with any Plaintiff, the explanation given, or

 the lack thereof, by Ascension Health is not meaningful. Because there was no

 dialogue there was no discussion of accommodations. Therefore, a Plaintiff could not

 know to which accommodation Ascension Health was referring.

       878.   Also, Ascension Health’s statement that there is a hardship “to the

 organization due to increased risk to the workplace and patient safety” is vague,

 conclusory, and of no explanatory value. Ascension Health does not explain, and has

 never explained to any Plaintiff, how a risk to workplace and patient safety is

 increased by the associate not receiving a COVID-19 vaccine, particularly

 considering the many protections against COVID-19 transmission already in place

 in Ascension Health facilities.

       879.   Throughout the religious exemption process neither Ascension Health

 nor the Ascension Entities provided a cogent explanation of its position, and never

 communicated relevant facts and reasoning upon which it relies, so that Plaintiffs

 could assess Ascension Health’s one-sentence justification and meaningfully

 respond to it.

       880.   The undue hardship analysis requires an employer to engage in an

 individualized assessment of each employee’s circumstances. This is clear from the

 statutory language requiring the employer to demonstrate inability to “reasonably




                                          191
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22         Page 192 of 208 PageID #:
                                         192



 accommodate an employee’s . . . religious observance or practice without undue

 hardship.” 42 U.S.C. § 2000e(j) (emphasis added). The reference to “an employee’s”

 makes clear that the undue hardship analysis is to be unique to the employee and

 to that employee’s circumstances.

       881.    “A mere assumption that many more people, with the same religious

 practices as the person being accommodated, may also need accommodation is not

 evidence of undue hardship.” EEOC Religious Accommodation Regulation,

 29 C.F.R. § 1605.2(c) (1).

       882.   Thus, while it may have been expedient for Ascension Health to

 provide the same single-sentence justification, or no justification at all, to every

 religious exemption requester in the country, under Title VII it was not permissible

 for Ascension Health to do that alone and meet the requirements of the statute.

       883.   As explained above, Ascension Health is aware of its duty to conduct

 individualized assessments and sought to cover-up its failure to do so with last-

 minute, boilerplate emails to all religious exemption applicants.

       884.   Each Plaintiff had unique circumstances relevant to the undue

 hardship analysis that should have been undertaken to address their situation. Yet,

 they were all treated with the same one-size fits all approach. Thus, this aspect of

 Ascension Health’s Title VII approach was insufficient as well.

       885.   For example, although the named Plaintiffs work for Ascension Health

 and/or the Ascension Entities in some compacity, they work in different hospitals,

 some work remote, within different care units within those hospitals. Each Plaintiff




                                           192
Case 1:22-cv-01097-JPH-MG        Document 1 Filed 05/27/22     Page 193 of 208 PageID #:
                                           193



 had different job functions. Further, the hospitals have differing patient bases. In

 fact, some Plaintiffs had no interaction with patients. Each of these factors and

 others impact assessment of risk levels. Yet, Plaintiffs received the same, identical,

 one-sentence justification or no justification.

       886.   There is nothing which suggests to Plaintiffs that the statutorily

 required individualized assessment of undue hardship was undertaken by

 Ascension Health and/or the Ascension Entities, let alone that any assessment of

 their circumstances was accurate. Further, Ascension Health and/or the Ascension

 Entities’ failure to engage in an interactive process and conduct individualized

 assessments demonstrates that the statutory process for determining undue

 hardship was not followed by Ascension Health and/or the Ascension Entities.

       887.   The foregoing demonstrates that Ascension Health’s approach was

 procedurally flawed. However, the content of Ascension Health’s repetitive one-

 sentence justification given to many Plaintiffs and many other Ascension Health

 associates, and the simple avoidance of any justification, confirms that it was

 substantively flawed as well.

       888.   “An employer must . . . present evidence of undue hardship” and not

 “rely merely on speculation,” Smith v. Pyro Min. Co., 827 F.2d 1081, 1085–86 (6th

 Cir. 1987), and the lack of substantive content in Ascension Health’s one-sentence

 justification (and indeed in every communication Ascension Health sent Plaintiffs)

 demonstrates that Ascension Health has not established undue hardship.




                                           193
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 194 of 208 PageID #:
                                         194



       889.    Merely, stating that there is increased risk to the workplace and

 patient safety without explaining why and without providing evidentiary support

 cannot be sufficient to meet Ascension Health’s obligation under Title VII to

 establish undue hardship. Establishing “undue hardship” requires assessment of

 actual circumstances at the employer’s place of business and of proposed and

 potential accommodations, and Ascension Health’s robotic, one-sentence

 justification used throughout the country and in myriad contexts demonstrates that

 Ascension Health did not do the work of assessing undue hardship. For the other

 Plaintiffs with no explanation, Ascension Health simply ignored its required

 assessment.

       890.    Undue hardship analysis must start with an analysis of proposed

 accommodations. As explained above, neither Ascension Health nor the Ascension

 Entities identified potential accommodations. Therefore, Ascension Health did not

 reach the first step of analyzing accommodations. An employer violates Title VII if

 it fails to attempt an accommodation after accommodation is requested. EEOC v.

 Arlington Transit Mix, Inc., 957 F.2d 219, 222 (6th Cir. 1991) (“[a]fter failing to

 pursue [a voluntary waiver of seniority rights] or any other reasonable

 accommodation, the company is in no position to argue that it was unable to

 accommodate reasonably [plaintiff’s] religious needs without undue hardship.”);

 EEOC v. Ithaca Indus., Inc., 849 F.2d 116 (4th Cir. 1988) cert denied 488 U.S. 924

 (1988) (same).




                                           194
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22         Page 195 of 208 PageID #:
                                         195



       891.   An employer must demonstrate attempted accommodation before it

 claims undue hardship as a defense. See, e.g., Redmond v. GAF Corp., 574 F.2d 897,

 901-2 (7th Cir. 1978); Shaffeld v. Northrop Worldwide Aircraft Serv. Inc., 373 F.

 Supp. 937, 944 (M.D. Ala. 1974). Ascension Health’s one-sentence justification

 demonstrates that it did not consider potential accommodations.

       892.   However, it is clear Ascension Health could have considered

 accommodations beyond even those mitigation measures that are already in place in

 Ascension Health facilities, and there are reasonable accommodations Ascension

 Health could have implemented to accommodate Plaintiffs.

       893.   In May 2021, the EEOC issued guidelines addressing the COVID-19

 vaccines and rights and obligations of employers, titled “What You Should Know

 About COVID-19 and the ADA, the Rehabilitation Act, and Other EEO Laws –

 Technical Assistance Questions and Answers” (hereafter “EEOC COVID-19

 Guidance”). The EEOC COVID-19 Guidance provides “examples of reasonable

 accommodations or modifications that employers may have to provide to employees

 who do not get vaccinated due to disability; religious beliefs, practices, or

 observance; or pregnancy.” Reasonable accommodations the EEOC has identified as

 potentially not imposing an undue hardship on the employer include requiring the

 unvaccinated employee entering the workplace to:

       (1)     wear a face mask,

       (2)     work at a social distance,

       (3)     work a modified shift,




                                            195
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 196 of 208 PageID #:
                                        196



       (4)    get periodic tests for COVID-19,

       (5)    be given the opportunity to telework, or

       (6)    accept a reassignment.

 EEOC COVID-19 Guidance, K.2.
       894.   For some 20 months Ascension Health has had the opportunity to test

 many relevant accommodations in the hospitals in which Plaintiffs are employed,

 including daily assessments of personal health and potential exposure, availability

 of targeted COVID-19 testing, protocols requiring non-work when symptomatic or

 potentially exposed to COVID-19, contact tracing, handwashing and hygiene, use of

 PPE, including masking (such as N-95 masks in appropriate circumstances), face

 shields, gowns, and disposable gloves as required under the circumstances.

       895.   In addition, there are other accommodations that are potentially

 available. For instance, the EEOC has specifically identified testing of employees

 before they enter the workplace. The EEOC COVID-19 Guidance states, “an

 employer may choose to administer COVID-19 testing to employees before initially

 permitting them to enter the workplace and/or periodically to determine if their

 presence in the workplace poses a direct threat to others.” EEOC COVID-19

 Guidance, A.6.

       896.   Before summarily rejecting Plaintiffs’ requests for religious exemptions

 Ascension Health was required to analyze the potential available accommodations

 in a real-world context. Had it done so, it would have found accommodations that

 would eliminate undue hardship. Therefore, Ascension Health’s assertion that




                                         196
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22       Page 197 of 208 PageID #:
                                          197



 undue hardship exists justifying denial of Plaintiffs’ religious exemption requests is

 in error.

        897.   Ascension Health’s and/or Ascension Entities action of bringing

 thousands of unvaccinated employees back to work demonstrates that there existed

 means of accommodating Plaintiffs’ requests for religious exemptions on or about

 (and before) November 12, 2021, which was the day Plaintiffs were placed on

 unpaid suspension.

        898.   Plaintiffs lost substantial wages as a result of Ascension Health and/or

 Ascension Entities not granting them religious exemptions and instead placing

 them on unpaid suspension.

        899.   Ascension Health’s and/or Ascension Entities’ failure to grant religious

 exemptions as required by Title VII resulted in injury to Plaintiffs and others

 similarly situated, including, but not limited to:

               (a)    Suspensions without pay, in most instances lasting for six weeks
                      or more;

               (b)    Deterioration in job skills;

               (c)    Lost bonus pay;

               (d)    Lost seniority;

               (e)    Loss of preferential shifts and other adverse impacts on working
                      conditions;

               (f)    Loss of wages; and

               (g)    Extreme stress and anxiety.

        900.   In some instances, the refusal of religious exemptions led to employees,

 including some Plaintiffs, receiving vaccines against their religious beliefs. In all



                                            197
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22        Page 198 of 208 PageID #:
                                         198



 instances, the refusal of religious exemptions led to the employee’s job being placed

 in jeopardy with associated stress, anxiety and emotional trauma.

       901.   AGACNP-BC Maupin, CNM Monte, NP Stafford, and ANP Weisend

 have been further harmed by not being recalled to work, which has cost them

 additional wages.

       902.   St. Vincent Health is fully responsible for the discriminatory conduct of

 Ascension Health because St. Vincent Health permitted Ascension Health to handle

 vaccination procedures and the religious exemption process in relation to

 St. Vincent employees.

       903.   Plaintiffs have filed charges with the EEOC complaining of these

 discriminatory and unlawful actions on a class wide basis.

       904.   Wherefore, Plaintiffs request that the Court grant them the relief

 requested in their prayer for relief below.

                                      COUNT IV

    Breach of Written Employment Contracts—Against St. Vincent Health

    On behalf of Plaintiffs AGACNP-BC Maupin, CNM Monte, NP Stafford,
       PA-C Thiergartner, ANP Weisend and others similarly situated

       905.   Plaintiffs restate the foregoing paragraphs as if fully set forth herein.

       906.   AGACNP-BC Maupin, CNM Monte, NP Stafford, PA-C Thiergartner,

 and ANP Weisend have valid written contracts of employment with St. Vincent

 Health containing “for cause” termination provisions.

       907.   With respect to compliance with employer policies, Appendix E-3.2(h)

 of the respective employment contracts of CNM Monte, NP Stafford, and



                                           198
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 199 of 208 PageID #:
                                         199



 PA-C Thiergartner authorize “for cause” termination upon “repeated failure or

 refusal after ten (10) days’ notice and an opportunity to cure, to comply with any

 reasonable written Policy(ies) of Employer.” Appendix E-3.2(h) (emphasis added).

       908.   The term “Policies of Employer” or “Policies” is expressly defined by

 Article 1.1 of the employment contracts of CNM Monte, NP Stafford, and

 PA-C Thiergartner to “mean the personnel policies and other written policies,

 practices, and procedures of Employer and/or St. Vincent Health, Inc. (the “Health

 Ministry”) and the bylaws and rules of the medical staff(s) of all hospitals and

 facilities where Provider has privileges.”

       909.   With respect to compliance with employer policies, Appendix E-4.2(i)-

 (j) of the respective employment contracts of AGACNP-BC Maupin and

 ANP Weisend authorize “for cause” termination upon “repeated failure or refusal to

 comply with any written Policy(ies) of Employer” only “after notice of the same and

 failure to cure such breach within ten (10) days.” Appendix E-4-2(i)-(j). (emphasis

 added).The term “Policies of Employer” or “Policies” is expressly defined by Article

 1.1 of the employment contracts of CNM Monte, NP Stafford, and PA-C

 Thiergartner to “mean the personnel policies and other written policies, practices,

 and procedures of Employer and/or St. Vincent Health, Inc. (the “Health Ministry”)

 and the bylaws and rules of the medical staff(s) of all hospitals and facilities where

 Provider has privileges.”

       910.   The term “Policies of Employer” or “Policies” is expressly defined by

 Article 1.1 of the employment contracts of AGACNP-BC Maupin and ANP Weisend




                                              199
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 200 of 208 PageID #:
                                         200



 to “mean the personnel policies and other written policies, practices, and procedures

 of Employer, AMG, and/or St. Vincent Health, Inc. (the “Health Ministry”) and the

 bylaws and rules of the medical staff(s) of all hospitals and facilities where Provider

 has privileges.”

       911.   The term “Policies of Employer” or “Policies” does not include policies

 of Ascension Health.

       912.   The term “Employer” is defined in the introductory paragraph of

 St. Vincent’s standard employment contracts, including those entered into with

 AGACNP-BC Maupin, CNM Monte, NP Stafford, PA-C Thiergartner, and

 ANP Weisend.

       913.   The contracts of AGACNP-BC Maupin, CNM Monte, NP Stafford,

 PA-C Thiergartner, and ANP Weisend do not authorize suspension without pay.

       914.   However, on November 12, 2021, St. Vincent Health placed

 AGACNP-BC Maupin, CNM Monte, NP Stafford, PA-C Thiergartner, and

 ANP Weisend on suspension without pay and stopped paying them in violation of

 their written employment contracts.

       915.   As a result of the suspension without pay breach of their employment

 contracts AGACNP-BC Maupin, CNM Monte, NP Stafford, PA-C Thiergartner, and

 ANP Weisend lost a minimum of six (6) weeks’ wages.

       916.   NP Stafford continued to lose additional wages as she continues to be

 on suspension without pay and has not been given final written notice of purported

 termination by St. Vincent until their effective termination dates.




                                           200
Case 1:22-cv-01097-JPH-MG           Document 1 Filed 05/27/22   Page 201 of 208 PageID #:
                                              201



        917.   On January 26, 2022, St. Vincent sent CNM Monte a Notice of

 Administrative Suspension informing her that she was “in violation of Hospital

 Policy and all of your privileges are administratively suspended, effective

 immediately” (the “Notice of Administrative Suspension). The Notice of

 Administrative Suspension is submitted as Exhibit 126 in Plaintiffs’ Appendix of

 Exhibits, and this Notice of Administrative Suspension is incorporated herein by

 reference as if fully set forth.

        918.   In CNM Monte’s Notice of Administrative Termination, it states:

               Ascension announced a COVID-19 vaccination requirement on
               July 27, 2021 (the "Vaccine Requirement") which required you to
               be vaccinated against COVID-19 and submit documentation of
               your vaccination status no later than November 12, 2021, or be
               approved for a medical or religious exemption. All Ascension
               hospitals have since adopted a policy that requires associates
               and credentialed providers and medical staff members to be
               vaccinated for the safety of patients and visitors, staff, and the
               community. Additionally, the federal government is now
               requiring health care workers at participating Medicare and
               Medicaid facilities to be vaccinated.

               Several communications were sent to you regarding the Vaccine
               Requirement. As of today, you have not submitted
               documentation of your COVID-19 vaccination status or received
               approval for an exemption.

               Consequently, you are in violation of Hospital Policy and
               all of your privileges are administratively suspended,
               effective immediately. Of note, as this suspension is
               administrative in nature and not a professional review action,
               this suspension will not be reported to the National Practitioner
               Data Bank (NPDB) or state licensing agency.

        919.   On November 19, 2021, St. Vincent sent AGACNP-BC Maupin,

 NP Stafford, PA-C Thiergartner, and ANP Weisend a Notice of Breach of

 Employment Agreement purporting to initiate the ten-day notice period for


                                             201
Case 1:22-cv-01097-JPH-MG       Document 1 Filed 05/27/22      Page 202 of 208 PageID #:
                                          202



 termination of their written employment contracts with St. Vincent (the

 “Termination Notice”). The Termination Notices are submitted as Exhibits 126-129

 in Plaintiffs’ Appendix of Exhibits, and the Termination Notices are incorporated

 herein by reference as if fully set forth.

        920.   AGACNP-BC Maupin, NP Stafford, PA-C Thiergartner, and

 ANP Weisend’s Termination Notice states:

               As you know, Ascension announced a COVID-19 vaccination
               requirement on or about July 27, 2021 (the “Vaccine
               Requirement”) which required you to be fully vaccinated against
               COVID-19 and submit documentation of your vaccination status
               no later than November 12, 2021 or be approved for an
               exemption by this same date.

               You have not submitted documentation of your COVID-19
               vaccination status or been approved for an exemption as of
               today. We are writing to notify you that you are in breach of the
               Agreement for failure to comply with Ascension policies.
               You are administratively suspended without pay as of today and
               will remain on an unpaid suspension until you have complied
               with the Vaccine Requirement or your employment is
               terminated.

        (emphasis added).

        921.   It is clear from the face of the Notice of Administrative Suspension and

 Termination Notices that St. Vincent Health is in breach of its written contracts

 with NP Maupin, CNM Monte, NP Stafford, PA-C Thiergartner, ANP Weisend.

        922.   The written employment contracts of CNM Monte, NP Stafford, and

 PA-C Thiergartner do not permit suspension or termination based on alleged non-

 compliance with “Ascension Health policies.” Rather, their written employment

 contracts provide that CNM Monte, NP Stafford, PA-C Thiergartner can only be


                                              202
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 203 of 208 PageID #:
                                        203



 terminated after written notice for non-compliance “with any reasonable written

 Policy(ies) of Employer.”

       923.   Further, the written employment contracts of AGACNP-BC Maupin

 and ANP Weisend do not permit suspension or termination based on alleged non-

 compliance with Ascension Health policies.” Rather, their written employment

 contracts provide that AGACNP-BC Maupin and ANP Weisend can only be

 termination after written notice for non-compliance with “any written Policy(ies) of

 Employer.”

       924.   AGACNP-BC Maupin, CNM Monte, NP Stafford, PA-C Thiergartner,

 and ANP Weisend’ s employer is St. Vincent Health, and they have not entered into

 an employment contract with Ascension Health, therefore, pursuant to their written

 contracts with St. Vincent they cannot be suspended or terminated for allegedly not

 complying with “Ascension Health policies”.

       925.   Nor can they be suspended without pay under the plain terms of the

 contracts.

       926.   Further, Ascension Health’s “Vaccine Requirement” alleged in the

 Termination Notices is not set forth in a written policy provided to St. Vincent

 Health employees. Ascension Health issued letters, press releases, Q&As and other

 information about “associates” taking the Covid-19 vaccines, however, Plaintiffs are

 unaware of a written policy issued by Ascension Health on the topic.

       927.   Third, even if Ascension Health’s Covid-19 practices are applicable to

 CNM Monte, NP Stafford, and PA-C Thiergartner, they are not “reasonable”




                                          203
Case 1:22-cv-01097-JPH-MG      Document 1 Filed 05/27/22       Page 204 of 208 PageID #:
                                         204



 policies and were not administered reasonably as required by their written

 employment contracts.

       928.    The manner in which religious exemptions for St. Vincent Health

 employees have been administered has not been reasonable.

       929.    For example, discriminating against the unvaccinated with religious

 objections and terminating them, while permitting others who are unvaccinated,

 such as those with medical exemptions, to continue to care for patients is not

 reasonable.

       930.    It is also not reasonable to ignore the natural immunity of those who

 have previously recovered from COVID-19.

       931.    Nor is it reasonable to ignore the substantial evidence that vaccination

 will not materially change the risk of transmission of COVID-19 in healthcare

 facilities and yet refuse religious exemptions to the COVID-19 vaccines on the

 ground that failure to receive the vaccines increases risks to patients and the

 workplace.

       932.    AGACNP-BC Maupin was given final written notice of termination by

 St. Vincent as specified in section E-4.2 of his Employment Agreement. However,

 that notice was invalid to terminate her contract as explained above. Therefore,

 St. Vincent continues to be in breach of AGACNP-BC Maupin’s Employment

 Agreement which has not been properly terminated for any valid reason.

       933.    CNM Monte was given final written notice of termination by

 St. Vincent as specified in section E-3.2 of her Employment Agreement. However,




                                          204
Case 1:22-cv-01097-JPH-MG     Document 1 Filed 05/27/22       Page 205 of 208 PageID #:
                                        205



 that notice was invalid to terminate her contract as explained above. Therefore,

 St. Vincent continues to be in breach of CNM Monte’s Employment Agreement

 which has not been properly terminated for any valid reason.

       934.   NP Stafford was not given written notice of termination by St. Vincent

 as specified in Section E-3.2 of her Employment Agreement. Therefore, St. Vincent

 continues to be in breach of NP Stafford’s Employment Agreement, which has not

 been properly terminated.

       935.   Furthermore, NP Stafford has been kept on unpaid suspension since

 November 12, 2021, in violation of her written employment contract with

 St. Vincent Health.

       936.   Regarding ANP Weisend, while St. Vincent purports that it was due to

 a reduction in force, on information and belief, there was no reduction in force and

 this was not an accurate reason for ANP Weisend’ s termination. Therefore,

 St. Vincent continues to be in breach of ANP Weisend’s Employment Agreement.

       937.   AGACNP-BC Maupin, CNM Monte, NP Stafford, and ANP Weisend

 have suffered lost wages and other injuries as a result of the foregoing wrongful

 breaches of their written employment contracts.

       938.   AGACNP-BC Maupin, CNM Monte, NP Stafford, and ANP Weisend

 continue to be damaged by St. Vincent Health’s refusal to pay them wages due

 under their Employment Agreement which has not been properly terminated.

       939.   PA-C Thiergartner was recalled.




                                          205
Case 1:22-cv-01097-JPH-MG         Document 1 Filed 05/27/22        Page 206 of 208 PageID #:
                                            206



           940.   AGACNP-BC Maupin, CNM Monte, NP Stafford, and ANP Weisend

 lost the opportunity to continue to practice medicine during the period of their

 purported suspension without pay which resulted in a deterioration of their skills, a

 loss of experience, and a loss of seniority which has had a detrimental impact on

 their careers.

           941.   AGACNP-BC Maupin, CNM Monte, NP Stafford, and ANP Weisend

 continue to be further damaged by St. Vincent Health’s refusal to allow them to

 practice medicine at St. Vincent Hospital as required by their Employment.

           942.   Wherefore, Plaintiffs request that the Court grant them the relief

 requested in their prayer for relief below.

                                   PRAYER FOR RELIEF
      For the foregoing reasons, Plaintiff requests that the Court grant the following

 relief:

           1.     Certify this action as a class action under Rules 23(a) and (b) of the
                  Federal Rules of Civil Procedure;

           2.     Certify at least three (3) subclasses: (1) employees who sought religious
                  accommodations and were placed on unpaid suspension as a result of
                  not receiving a COVID-19 vaccine and were later asked to return to
                  work but not paid all wages lost as a result of being placed on unpaid
                  suspension; (2) employees of St. Vincent Health with written
                  employment contracts who were denied religious exemptions to
                  Ascension Health’s vaccine mandate and were suspended and/or
                  terminated by St. Vincent Health for not receiving a COVID-19 vaccine
                  and/or who received notice from St. Vincent Health or Ascension
                  Health that their employment would be suspended or terminated if
                  they did not receive a COVID-19 vaccine because their application for
                  religious exemption was denied; and (3) employees of Ascension
                  Entities without a written employment contract who were denied
                  religious exemptions to Ascension Health’s vaccine mandate and were
                  suspended and/or terminated by Ascension Entities for not receiving a
                  COVID-19 vaccine and/or who received notice from Ascension Health


                                              206
Case 1:22-cv-01097-JPH-MG    Document 1 Filed 05/27/22        Page 207 of 208 PageID #:
                                       207



             and/or Ascension Entities that their employment would be suspended
             or terminated if they did not receive a COVID-19 vaccine because their
             application for religious exemption was denied.

       3.    Declare that Ascension Health and the Ascension Entities have
             violated Title VII by failing to properly assess whether the requested
             accommodations to its COVID-19 vaccine mandate sought by Plaintiffs
             satisfy the “undue burden” threshold;

       4.    Declare that Ascension Health and the Ascension Entities have
             violated Title VII by discriminating against employees who have
             sought religious exemptions to the vaccine mandate by failing to
             provide reasonable accommodations to Ascension Health’s COVID-19
             vaccine mandate;

       5.    Declare that Ascension Health and the Ascension Entities have
             violated Title VII by retaliating against employees who engaged in
             protected activity;

       6.    Declare that Ascension Health and the Ascension Entities Vincent
             violated Title VII by suspending without pay employees who sought
             religious exemptions and did not receive COVID-19 vaccination;

       7.    Declare that St. Vincent Health has breached written contracts with
             its employees by suspending and/or terminating them for not
             complying with Ascension Health’s vaccination mandate.

       8.    Declare that St. Vincent Health has breached written contracts with
             these employees by suspending them without pay, a remedy not
             provided for in the contracts.

       9.    Declare that St. Vincent Health did not adopt a written vaccination
             policy.

       10.   Declare that St. Vincent Health’s administration of any vaccination
             policy was unreasonable.

       11.   Enter injunctive relief providing for one or more of the following:

             (a)   Granting Plaintiffs’ request for religious exemptions to the
                   COVID vaccines;

             (b)   Removing from each Plaintiff’s personnel file any reference to
                   any suspension, discipline or termination for cause;

             (c)   Invalidating any Plaintiff’s covenant not to compete with any
                   Ascension Entity;



                                         207
Case 1:22-cv-01097-JPH-MG    Document 1 Filed 05/27/22        Page 208 of 208 PageID #:
                                       208



             (d)   Reinstating each Plaintiff to a position that is comparable or
                   better than the position they occupied on or about November 12,
                   2021 (including, but not limited to, in terms of hours, pay,
                   seniority, benefits, shifts and other incidents of employment;
                   and/or

             (e)   Any other injunctive relief necessary to afford any Plaintiff full
                   relief.

       12.   Award Plaintiffs, and those similarly situated, damages, including lost
             wages due to unpaid suspension, lost wages due to wrongful discharge
             or constructive discharge, back pay, reinstatement or front pay, pre-
             judgment and post-judgment interest, punitive damages, and
             compensatory damages, including, but not limited to, damages for pain
             and suffering, mental and emotional distress, suffering and anxiety,
             reductions in wages, expenses costs and other damages due to
             Defendant’s wrongful conduct.

       13.   Award Plaintiffs reasonable attorneys’ fees and costs; and

       14.   Grant any other relief that the Court deems just, proper, and
             equitable.

       15.   Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs
             demand a jury trial on all issues upon which there is a federal right to
             a jury trial.

 Dated: May 27, 2022
                                       Respectfully Submitted,

                                       KROGER, GARDIS & REGAS, LLP

                                       /s/ William Bock, III
                                       William Bock, III, Atty. No. 14777-49
                                       Adam R. Doerr, Atty. No. 31949-53
                                       Allyse E. Wirkkala, Atty. No. 31815-49

                                       ATTORNEYS FOR PLAINTIFFS AND THE
                                       PROPOSED CLASS

 KROGER, GARDIS & REGAS, LLP
 111 Monument Circle, Suite 900
 Indianapolis, IN 46204
 Phone: (317) 692-900



                                         208
